                                                     SO ORDERED.


                                                      Dated: July 18, 2022




   1
   2                                                 Daniel P. Collins, Bankruptcy Judge
                                                     _________________________________
   3
   4                     UNITED STATES BANKRUPTCY COURT
   5                             DISTRICT OF ARIZONA
   6
   7   In re:                             )          Chapter 11 Proceedings
                                          )
   8
       POTENTIAL DYNAMIX LLC,             )       Case No.: 2:11-bk-28944-DPC
   9                                      )
                   Debtor.                )       Adversary No.: 2:13-ap-00799
  10
                                          )
  11   TIMOTHY H. SHAFFER, Chapter        )
       11 Trustee,                        )
  12
                                          )               UNDER
  13               Plaintiff,             )         ADVISEMENT ORDER
                                          )
  14
       v.                                 )
  15                                      )       [NOT FOR PUBLICATION]
       AMAZON SERVICES, LLC,              )
  16                                      )
  17               Defendant.             )
                                          )
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                              1

Case 2:13-ap-00799-DPC   Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19      Desc
                         Main Document Page 1 of 145
   1                             TABLE OF CONTENTS
       I.         SUMMARY OF LAWSUIT AND COURT FINDINGS ........................................ 5
   2
       II.        INTRODUCTION .................................................................................................... 7
   3
       III.       JURISDICTION ..................................................................................................... 12
   4
       IV.        POTENTIAL DYNAMIX’S BANKRUPTCY ...................................................... 12
   5   V.         ADVERSARY PROCEEDING PROCEDURAL HISTORY ............................... 15
   6        A. The Complaint and Answer.................................................................................... 15
   7        B. Amazon’s Counterclaims ....................................................................................... 16
   8        C. Discovery Disputes ................................................................................................ 16

   9
            D. Motions for Summary Judgment ............................................................................ 16
            E. Motions in Limine .................................................................................................. 18
  10
       VI.        THE TRIAL ........................................................................................................... 19
  11
            A. Trial Exhibits .......................................................................................................... 19
  12        B. Trustee’s Witnesses ................................................................................................ 20
  13           1. Timothy Shaffer. ................................................................................................. 20
  14           2. Serena Morones .................................................................................................. 21
  15              a) Morones’ Damages Report .............................................................................. 22
  16              b) Morones February 5, 2021, Declaration .......................................................... 27
                  c) Morones’ Direct, Cross and Re-Direct Examinations ..................................... 32
  17
               3. Thomas Azzarelli ................................................................................................ 38
  18
               4. Justin Ice ............................................................................................................. 39
  19
               5. Tasha Bachand. ................................................................................................... 41
  20           6. Jeff Moore. .......................................................................................................... 43
  21           7. Eric Soder............................................................................................................ 44
  22           8. Jeffrey Cone. ....................................................................................................... 45
  23           9. Stephen Ashworth. .............................................................................................. 46
               10. Sean Lawcock. .................................................................................................... 47
  24
               11. Daniel A. Bellino ................................................................................................ 49
  25
            C. Motion for Directed Verdict ................................................................................... 49
  26
            D. Amazon’s Witnesses .............................................................................................. 50
  27           1. Tasha Bachand .................................................................................................... 50
  28           2. E. Weiant Williams ............................................................................................. 52
                                                                          2

Case 2:13-ap-00799-DPC                 Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                       Desc
                                       Main Document Page 2 of 145
              a) Williams’ Rebuttal Report of September 14, 2020 ......................................... 52
   1
              b) Williams Declaration ....................................................................................... 57
   2
              c) Williams’ Cross and Re-Direct Examinations ................................................ 58
   3
           3. Timothy Shaffer .................................................................................................. 60
   4       4. Justin Ice ............................................................................................................. 61
   5       5. Jeff Moore ........................................................................................................... 63
   6       6. Eric Soder............................................................................................................ 64
   7       7. Jeffrey Cone ........................................................................................................ 66

   8
           8. Stephen Ashworth ............................................................................................... 67
           9. Thomas Reilly ..................................................................................................... 68
   9
           10. Sean Lawcock ..................................................................................................... 69
  10
           11. Daniel A. Bellino ................................................................................................ 70
  11     E. Post-Trial Proceedings ........................................................................................... 71
  12     F. Tentative Under Advisement Order ....................................................................... 72
  13   VII. ANALYSIS OF TRUSTEE’S CAUSES OF ACTION ......................................... 72
  14     A. Count 1: Failure to Turnover Estate Property Pursuant to § 542(a) ...................... 72
  15       1. Legal Analysis .................................................................................................... 72
           2. Conclusion on Turnover Claims ......................................................................... 73
  16
         B. Count 2: Violation of the Automatic Stay Pursuant to § 362 ................................ 73
  17
           1. Legal Analysis .................................................................................................... 73
  18
           2. Conclusion on the Stay Violation Claims ........................................................... 77
  19     C. Count 3: Breach of Contract................................................................................... 77
  20       1. Legal Analysis .................................................................................................... 77
  21       2. Burden of Proof................................................................................................... 78
  22          a) Burden Shifting ............................................................................................... 79
              b) Conclusions Regarding Burden of Proof......................................................... 82
  23
           3. Findings Regarding Breach of Contract and Damages....................................... 83
  24
              a) Calculating Replacement Value ...................................................................... 83
  25
              b) Cutoff Date of January 31, 2014 ..................................................................... 84
  26       4. Amazon’s Contract Breach ................................................................................. 86
  27          a) The Settlement Data Was Not Introduced Into Evidence. .............................. 86
  28          b) Plaintiff’s Proven Inventory Damages. ........................................................... 90

                                                                      3

Case 2:13-ap-00799-DPC             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                       Desc
                                   Main Document Page 3 of 145
               c) The Court’s Analysis of Codes Used by Amazon and the Impact on Claimed
   1
               Damages. ................................................................................................................ 92
   2
                (1)     Code M. ........................................................................................................ 92
   3
                (2)     Code D. ........................................................................................................ 94
   4
   5            (3)     Code Q. ........................................................................................................ 95
   6           d) Unpaid Refunds. .............................................................................................. 97
   7           e) Sales Proceeds Not Remitted to Debtor. ......................................................... 98
               f) Trustee Did Not Carry Its Burden of Proof on the Basis of Amazon’s
   8
               Motivation for Termination of the Contract........................................................... 99
   9           g) Unclean Hands................................................................................................. 99
  10           h) Money Claimed Owing by Debtor to Amazon. .............................................. 99
  11         5. Conclusion on Breach of Contract Claims ....................................................... 100
  12     D. Prejudgment Interest on Damages........................................................................ 100
               a) Legal Analysis ............................................................................................... 101
  13
               b) Conclusion on Prejudgment Interest ............................................................. 103
  14
       VIII. SUMMARY OF CONCLUSIONS ...................................................................... 103
  15
       IX.     ORDER ................................................................................................................ 104
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                                       4

Case 2:13-ap-00799-DPC              Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                        Desc
                                    Main Document Page 4 of 145
   1   I.      SUMMARY OF LAWSUIT AND COURT FINDINGS
   2           This Adversary Proceeding 1 involves a nine count Complaint 2 brought by Timothy
   3   H. Shaffer, Trustee of the Chapter 11 Debtor, Potential Dynamix, LLC against Amazon
   4   Services, LLC on July 9, 2013. Over the course of this Adversary Proceeding, Plaintiff’s
   5   claims have been boiled down to claims for (1) breach of contract, (2) turnover of property
   6   to Plaintiff, and (3) a claim for a violation of the bankruptcy automatic stay.
   7           Plaintiff alleges Debtor placed roughly 6.4 million units of product in Amazon’s
   8   hands for sale on Amazon’s online platform but was only paid by Amazon for
   9   approximately 5.9 million units. Plaintiff contends (and Defendant does not disagree) that
  10   the average retail price of these products was $22 per unit from which Debtor was paid
  11   $16.31 per unit and Amazon received $5.69 per unit. The heart of the parties’ disputes
  12   concern Amazon’s accounting related to the inventory the Debtor placed with Amazon
  13   over the course of their eight-year relationship. Plaintiff contends Amazon has the burden
  14   of demonstrating where all its inventory went, and that Plaintiff is entitled to recover
  15   $16.31 for every unaccounted unit placed in Amazon’s hands. Plaintiff seeks breach of
  16   contract and turnover damages of $2,869,663 plus interest at 12% per annum from the
  17   midpoint of their relationship. Amazon contends Plaintiff carries the burden of proving all
  18   matters pertinent to the claimed breach of contract and Plaintiff’s damages and that
  19   Plaintiff failed to do so. The Court resolves the burden of proof issues in favor of
  20   Defendant.
  21           Plaintiff’s final claim is for damages Debtor sustained when Amazon violated the
  22   bankruptcy automatic stay 3 by terminating Debtor’s access to Amazon’s online sales
  23   platform on April 11, 2013. Years ago, this Court found that Amazon’s actions willfully
  24   violated the automatic stay. Plaintiff seeks stay violation damages of $732,000 plus
  25   interest from the date of judgment.
  26
  27   1
         Defined terms in this Order are summarized in Attachment 1.
       2
         DE 1. “DE” means docket entry in Adversary No. 2:13-ap-00799-DPC (“Adversary Proceeding”).
  28   3
         11 U.S.C. § 362(a).

                                                           5

Case 2:13-ap-00799-DPC         Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                       Desc
                               Main Document Page 5 of 145
   1            Following years of discovery and motion practice, these matters finally came to
   2   trial in 2021. The trial was conducted virtually on the Court’s ZoomForGovernment
   3   platform. 4 Once the four-day trial concluded, the parties briefed certain issues. The Court
   4   held oral argument on those briefs. The Court issued a tentative ruling and invited the
   5   parties’ critiques. On February 24, 2022, the Court heard oral argument on the parties’
   6   critiques. After oral arguments, the Court took this matter under advisement.
   7            After reviewing the contracts between the parties, the vast amount of Amazon’s
   8   inventory control data, the expert reports and other exhibits 5 submitted at trial and after
   9   hearing and/or reading the testimony of numerous witnesses as well as considering the
  10   parties’ pleadings and 122-page Joint Pretrial Statement, 6 this Court finds that Amazon is
  11   liable to Plaintiff in the amount of $668,484 on account of damages it caused to Debtor
  12   when it violated the stay by terminating Debtor’s access to Amazon’s online platform.
  13   The Court also finds Amazon breached its Contract with Debtor by failing to pay or
  14   turnover to Debtor 20,405 units of product which were placed in Amazon’s hands by
  15   Debtor but, as of March 31, 2015, had never been returned to Debtor or paid for by
  16   Amazon. Nothing produced to this Court indicates these units were unsellable. Debtor
  17   should have been able to realize $16.31/unit from the sales of these units. Amazon
  18   breached its Contract with Debtor with respect to the 20,405 units and is liable to Debtor
  19   for the sum of $332,806. 7 Judgment shall be awarded against Amazon and in Plaintiff’s
  20   favor on these claims in the aggregate amount of $1,001,290. Attorney’s fees will not be
  21   awarded to either party as neither sought fees in connection with this Adversary
  22   Proceeding. Debtor’s stay violation damages were unliquidated so this Court will not
  23   award prejudgment interest on the stay violation damages but Debtor’s breach of contract
  24
  25
  26   4
         Counsel for both sides (and their staff) masterfully conducted this virtual trial at about the time COVID infections
       were reaching their 2021 post-holiday peak.
  27   5
         Attachment 2 is the list of Exhibits admitted at trial.
       6
         DE 332.
  28   7
         20,405 x $16.31/unit.

                                                                 6

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                              Desc
                                  Main Document Page 6 of 145
   1   damages were liquidated as of April 1, 2015, so interest shall accrue on the breach of
   2   Contract damages of $332,806 at 12% 8 per annum from April 1, 2015, until paid. 9
   3
   4   II.     INTRODUCTION
   5           Debtor was formed in 2006 in a basement in Springfield, Missouri by Bellino and
   6   Schmidt. 10 Later that same year, the company moved to Phoenix, Arizona. Bellino and
   7   Schmidt were each 50% members of the Debtor. 11 The business is sometimes referred to
   8   as “DAB.” 12
   9           The Debtor primarily sold health and personal care items and did so exclusively
  10   online via amazon.com through two programs offered by Amazon: (1) Amazon’s
  11   Merchant Fulfilled Network and (2) Amazon’s Fulfillment by Amazon Program 13 The
  12   relationship between the parties was governed by the Merchants@Amazon.com Program
  13   Agreement and the Amazon Services Business Solutions Agreement. 14 The FBA Program
  14   was governed by of the ABSA which is referred to as the FBA Agreement. 15 The FBA
  15   Agreement incorporates applicable “Program Policies.” 16 Included in these “Program
  16   Policies” are the “Inventory Adjustment” codes which were identified in the Seller Central
  17   “Help Page.” 17
  18           Through the Merchant Program, the Debtor offered items for sale on amazon.com
  19   but shipped the items itself and handled their own customer service. 18 Through the FBA
  20   8
         Under the parties’ contract, Washington law governs the contract. Washington’s statutory judgment rate is 12% per
       annum.
  21   9
         This Order constitutes the Court’s findings of fact and conclusions of law pursuant to Rule 7052 of the Rules of
       Bankruptcy Procedure.
  22   10
          Admin DE 219, pg. 4; Admin DE 80, pg. 1. “Admin DE” references a docket entry in the Debtor’s administrative
       bankruptcy proceeding, 2:11-bk-28944-DPC.
  23   11
          Admin DE 219, pg. 4. Even though the company moved to Phoenix, Arizona, it was organized under the laws of
       Nevada.
  24   12
          The initials of Bellino.
       13
          Admin DE 219, pg. 4. See also DE 332, pg. 14, ¶ 6.
  25   14
          DE 332, pg. 17, ¶ 24. Exhibit 1.
       15
          DE 332, pg. 18, ¶ 2.
  26   16
          Trial Ex. 1 at Bates page No. 1.0001.
       17
          These Adjustment Codes are found at Trial Ex. 2. These Adjustment Codes were revised by Amazon’s Bachand
  27   in 2018, well after the Amazon-Debtor relationship terminated. The Court will not consider these 2018 revisions.
       The 2018 revisions are found at Trial Ex. 261.
  28   18
          DE 332, pg. 14, ¶ 7.

                                                               7

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                           Desc
                                  Main Document Page 7 of 145
   1   Program, Debtor shipped inventory to Amazon and offered that inventory for sale on
   2   amazon.com and paid Amazon to receive, pick, pack, ship, and provide customer service
   3   for the Debtor’s products. 19
   4            Debtor started its relationship with Amazon in 2008 using the Amazon Merchant
   5   Program. In 2010, the Debtor switched from the Amazon Merchant Program to the FBA
   6   Program. 20 Debtor was unprepared for the problems that would follow with respect to
   7   Debtor’s internal systems and the new cost structures that came with the FBA Program.
   8   As a reseller of health and personal care products, Debtor sold 31,166 distinct products. 21
   9   It is the Court’s understanding that Debtor was one of Amazon’s biggest customers in
  10   terms of number of products listed for sale on amazon.com. 22
  11            Amazon assigned a unique number to each product. These numbers are known as
  12   “Amazon Standard Identification Number” 23 Each product also had its own “Stock-
  13   Keeping Units” barcode. Because other customers of Amazon also sold some of these
  14   exact same products (same ASIN, same SKU), Amazon mixed some of Debtor’s inventory
  15   with inventory owned by third parties. This “comingling” was approved by the Debtor
  16   and became a part of the process for fulfilling customer orders. 24 Since Amazon has
  17   fulfillment centers (warehouses) all over the world, if a customer of Debtor ordered a
  18   particular product, that sale might be fulfilled not by sending the customer a unit shipped
  19   by Debtor to Amazon at fulfillment center A, but rather, by a unit shipped to Amazon by
  20   a third party to fulfillment center B, which was closer to the customer’s desired delivery
  21   point.
  22
  23   19
          DE 332, pg. 15, ¶ 8.
       20
          Admin DE 219, pg. 5. This Disclosure Statement incorrectly notes Debtor moved from an Amazon fulfillment to
  24   a Merchant fulfillment. It was just the opposite, but the implications were the same: chaos ensued. See Reilly’s
       deposition testimony described below.
  25   21
          DE 332, pg. 18, ¶ 1.
       22
          See DE 396, pg. 65.
  26   23
          DE 332, pg. 18, ¶ 1.
       24
          “Comingling” is a “virtual” concept in that it refers to Amazon fulfilling a customer’s order with the most readily
  27   available product regardless of whether that product was shipped to Amazon by the Seller from which the customer
       bought the product. See DE 397, pg. 27-8. Physical comingling may also occur, but the Court understands that, in
  28   Debtor’s relationship with Amazon, comingling is more a “virtual” concept.

                                                                 8

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                             Desc
                                  Main Document Page 8 of 145
   1           Over the course of their eight-year relationship, 25 the Debtor placed 6,316,429
   2   product units into Amazon’s hands, 5,978,113 of which were sold. 63,445 of the sold
   3   units were the subject of refunds/sale reversals requested by the customer. Through
   4   January 31, 2014, 344,906 units were “Removed,” i.e., either destroyed by Amazon at
   5   Debtor’s request 26 or shipped back to Debtor at Debtor’s request. Debtor’s expert,
   6   Morones, noted that Debtor’s inventory was reduced by an additional 17,524 units through
   7   “Adjustments.” 27 This series of events led Debtor’s damages expert to set the following
   8   table in her Damages Report: 28
   9           (1)      Expected Ending Inventory
  10                    Transaction                     Units
                        Receipts                    6,316,429
  11                    Sales                     (5,978,113)
  12                    Customer Returns               63,445
                        Removals                    (344,906)
  13                    Adjustments                  (17,524)
  14
                        Expected Ending Inventory    39,331 Units 29

  15   These inventory related facts are uncontested. What is contested is Morones’ damages
  16   amounts referred to in her Report as (2) Reimbursable Adjustments, (3) Unpaid Refund
  17   Reimbursements, and (4) Sales Proceeds not remitted to Debtor. Amazon also challenges
  18   Trustee’s claim for prejudgment interest.
  19           Amazon was paid $128,224,650 from the sale of Debtor’s units and, in turn, paid
  20   Debtor $95,048,175 after taking its storage and handling fees of $33,176,475. Overall,
  21   the average sales price was $22 per unit of which the Debtor was paid $16.31 per unit and
  22   Amazon kept $5.69 per unit. These facts are uncontested.
  23           The complexity of this case centers around the massive volume of data pertaining
  24   to these units and whether the many, many coded transactions can be relied upon as
  25   25
          On October 22, 2013, Amazon finally terminated this relationship. See Ex. 144.
       26
          A unit might be destroyed, for example, if it was a consumable product whose useful life had expired.
  26   27
          Amazon contends that, by May 2015, the number of units reduced through “Adjustments” were 16,567. See
       DE 397, pg. 29 and Trial Ex. 5, ¶ 33, Table 2.
  27   28
          Ex. 7.
       29
          As of January 13, 2014. After that date, an additional 19,890 units were Removed. See § V(D) below for further
  28   discussion on this point.

                                                              9

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 9 of 145
   1   accurately describing what happened to those units. For example, did Debtor ship fully
   2   sellable units to Amazon? Did Amazon accurately input those units into Amazon’s
   3   electronic system? How many units were lost, stolen, damaged, expired, etc. while in
   4   Amazon’s possession? If a customer was refunded their purchase price did Amazon
   5   receive that unit back from the customer? Did Amazon pay Debtor the full amount due
   6   to the Debtor? . . . and on and on.
   7            As the parties’ relationship carried on, Amazon produced inventory, sales and
   8   payment data and posted it for Debtor to review on an electronic platform known as Seller
   9   Central. The information disseminated on Seller Central is referred to as the Seller Central
  10   Data. Within the body of Seller Central Data is a subset of information focused upon sales
  11   transactions. This is referred to as the Settlement Data. 30 While Amazon had a duty to
  12   provide data to Debtor contemporaneous with the event affecting Debtor’s inventory,31
  13   Amazon did not preserve all this data, nor did it apparently have the ongoing contractual
  14   obligation to do so. For its part, Debtor apparently never challenged the Seller Central
  15   Data 32 although Azzarelli testified that, prior to the Petition Date, Debtor did ask Amazon
  16   questions about Debtor’s perception that its inventory in Amazon’s hands was reported to
  17   be lower than Debtor thought it should be. 33
  18            As various events came to affect a given product unit, Amazon would enter a code
  19   applicable to the subject transaction or event. For example, a Code M indicates the unit
  20   is misplaced, Code D means the unit was destroyed and Code F notes the unit was found.
  21   Attached to this Order as Attachment 3 are two trial exhibits 34 reflecting the Amazon
  22
  23   30
          See DE 396, p. 61, ll. 4-13. See also Ashworth Deposition at 43:13-24.
       31
          Williams’ Testimony at trial.
  24   32
          Plaintiff has not suggested that Amazon has committed evidence spoilation, but Plaintiff’s lawyers were obviously
       displeased in this Adversary Proceeding that Amazon did not (could not?) produce a complete Seller Central Data
  25   set from the outset of the parties’ business relationship. During the discovery phase of this Adversary Proceeding,
       Amazon did produce the M15 Data in May 2015, but the M15 Data does not include Settlement Data. By the time
  26   this Adversary Proceeding was filed the Seller Central Data, according to Amazon employee Bachand, did not
       include a full or accurate set of the Settlement Data. The Court does not find, nor does the Trustee suggest, that the
  27   Debtor’s or Trustee’s challenges to Amazon’s inventory control or sales data was time barred.
       33
          Azzarelli Deposition at page 81.
  28   34
          Trial Exs. 2 and 147.

                                                                10

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                             Desc
                                  Main Document Page 10 of 145
   1   “Inventory Adjustment” codes and a description of the meaning of those codes. 35 One
   2   Inventory Adjustment code in particular was heavily used by Amazon, Code Q. Code Q
   3   signaled “Damaged – Miscellaneous.” Amazon assigned this code to reflect “a decrease
   4   of [Debtor’s] sellable inventory when damage cannot be attributable to a source.” 36 Yet
   5   the Inventory Adjustment codes in effect through 2013 (when the parties’ relationship
   6   terminated) do not reflect that Amazon disclaimed responsibility for Code Q units. At
   7   trial, Amazon did not take responsibility for Code Q units. 166,279 units were given a
   8   Code Q designation. 37 Much of the debate between the parties relates to Code Q units,
   9   especially the 147,968 sellable Code Q units. 38 Some Inventory Adjustment codes called
  10   for Debtor to bear the loss or cost or impact of a code designation to that unit. Other
  11   Inventory Adjustment codes called for Amazon to reimburse Debtor for the unit.
  12   Amazon’s Reimbursement to Debtor could be effectuated by paying the Debtor or adding
  13   that exact same kind of unit 39 to Debtor’s inventory.
  14           During the course of the discovery phase of this Adversary Proceeding, Amazon
  15   created a May 2015 transaction data report which came to be known as the M15 Data. 40
  16   The M15 Data is contained in gigantic Excel spreadsheets but is incomprehensible to all
  17   but the deepest data divers. To make matters more interesting, the M15 Data, while
  18   identified by Amazon as “the most complete information known to be available to account
  19   for Debtor’s units in the Fulfillment by Amazon Program,” 41 nevertheless does not contain
  20   all the data pertaining to all of Debtor’s inventory nor does the M15 Data perfectly match
  21   the Seller Central Data. 42 In particular, the M15 Data does not contain any unit sales data.
  22   35
          Morones Declaration, page 10, ¶ 26.
       36
          See Attachment 3.
  23   37
          At $16.31 per unit this is a matter of $2,413,470.
       38
          Exs. 131 (the M15 Data) and 161 (the Settlement Data).
  24   39
          Same ASIN and/or SKU.
       40
          Ex. 5, PDF page 8 of 87.
  25   41
          Ex. 5 (Williams’ Report), PDF page 8 of 87, ll. 1-4, citing at n.4, Amazon’s Amended Responses to Trustee’s
       Third Set of Discovery Requests, dated September 20, 2016, at 6. This document can be found at Trial Ex. 118 at
  26   Bates No. 118.0036. This document is defined as “Amazon’s September 20, 2016 Discovery Response.” See also
       Ex. 7 (Morones’ Damages Report), page 5 of 267, ¶ 9.
  27   42
          Amazon’s September 20, 2016 Discovery Response. This document makes clear that the M15 Data tracks the
       movement of “units.” It does not purport to deal with sales or payments. The Debtor and Trustee knew or should
  28   have known sales information was contained in the Settlement Data.

                                                             11

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                         Desc
                                Main Document Page 11 of 145
   1   That information is referred to as the Settlement Data. The Settlement Data is a subset of
   2   the Seller Central Data. Plaintiff and Defendant hired experts to make sense of the colossal
   3   volume of inventory data with an eye towards establishing (or refuting) Plaintiff’s breach
   4   of contract damages (and, therefore, turnover damages) caused by Amazon, if any.
   5
   6   III.    JURISDICTION
   7           The parties stipulated to this Court’s jurisdiction to enter final orders adjudicating
   8   and disposing of all core and non-core claims contained in the Trustee’s Complaint.43
   9   Additionally, this Court finds it has jurisdiction over this Adversary Proceeding pursuant
  10   to 28 U.S.C. § 1334 and 157(B)(2).
  11
  12   IV.     POTENTIAL DYNAMIX’S BANKRUPTCY
  13           Disagreements between Debtor’s owners, Bellino and Schmidt, arose along the
  14   way. This resulted in Schmidt filing a lawsuit in Arizona Superior Court, Maricopa County
  15   against the Debtor, Bellino, and Tara Bellino. 44
  16           After borrowing on its line of credit until it was 100% utilized and with sales
  17   plummeting and the Bellino versus Schmidt fight brewing, the Debtor quickly ran out of
  18   money. Debtor filed its chapter 11 bankruptcy 45 petition on October 13, 2011. 46
  19           Animosity between Bellino and Schmidt eventually made its way into this Court. 47
  20   Schmidt filed a Motion to Dismiss the Bankruptcy Proceeding 48 asserting his approval
  21   was not obtained prior to filing Debtor’s chapter 11 bankruptcy petition, as required by
  22   the Debtor’s operating agreement. Schmidt claimed he did not ratify the bankruptcy
  23
  24   43
          DE 60. See also DE 332, the Joint Pretrial Statement, Section I(c), page 16 of 122.
       44
          Admin DE 219, pg. 6 (case no. CV2011-014287). Bellino and Schmidt eventually settled the State Court lawsuit.
  25   Admin DEs 183 & 197.
       45
          The Bankruptcy Proceeding which was filed in this District at Case No. 2:11-bk-28944.
  26   46
          Admin DE 219, pg. 5–6; Admin DE 1. This date is referred herein as the Petition Date. The Bankruptcy Proceeding
       was initially assigned to Judge Charles G. Case. Upon his retirement, the case was reassigned to the undersigned on
  27   January 18, 2013.
       47
          Admin DE 219, pg. 6.
  28   48
          Admin DE 80.

                                                              12

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 12 of 145
   1   filing. 49 In its Response, Debtor alleged Schmidt forged Bellino’s signature on the
   2   Debtor’s operating agreement and that management rested with Bellino because he was
   3   the Debtor’s majority member. 50
   4            The ongoing dispute between Bellino and Schmidt was disruptive in the
   5   bankruptcy proceeding to the point that it caused the Official Committee of Unsecured
   6   Creditors 51 to request the appointment of a chapter 11 trustee to oversee the Debtor’s
   7   bankruptcy case. 52 Although Bellino and Schmidt disagreed on many things, they agreed
   8   that the appointment of a trustee was the best course for this Bankruptcy Proceeding. 53
   9   The Court approved the appointment of a chapter 11 trustee pursuant to Fed.R.Bankr.P.
  10   2007.1(c) and § 1104(a). 54 Subsequently, the Trustee was appointed as the Debtor’s
  11   chapter 11 trustee to administer the affairs of the Debtor’s bankruptcy estate. 55
  12            The Trustee filed a Disclosure Statement 56 and Plan 57 which provided for the
  13   assumption of the Contract between Amazon and the Debtor. A hearing on approval of
  14   the Disclosure Statement was held on April 29, 2013. 58 Although that hearing was
  15   continued to May 28, 2013, the hearing was vacated because, on April 12, 2013, Amazon
  16   unilaterally terminated the Contract, revoking the Debtor’s ability to sell its products on
  17   Amazon’s online platform. Amazon contended the Debtor was using Amazon’s platform
  18   to sell “restricted items,” as defined in Section 1.1 of the Contract. 59 The Trustee sought
  19   the Court’s intervention. 60 The Court ordered Amazon to immediately reinstate the
  20   49
          Admin DE 80.
       50
          Admin DE 86.
  21   51
          The United States Trustee appointed the Unsecured Committee on November 9, 2011, and later amended it due to
       the resignation of creditor Bias Distributors. Admin DEs 51 & 64. Prior to his judicial appointment, Paul Sala was
  22   hired as counsel for the Unsecured Committee. Admin DEs 72 & 77.
       52
          Admin DE 89.
  23   53
          Admin DE 102.
       54
          Admin DE 104.
  24   55
          Admin DE 110. The Trustee was selected by the UST.
       56
          Admin DE 219. Trial Ex. 222 introduced by Amazon is actually a disclosure statement filed in error at Admin.
  25   218. The Court takes judicial notice of the correct Disclosure Statement filed at Admin DE 219. The Court also takes
       judicial notice of all other pleadings filed in this Adversary Proceeding and on the administrative docket in Debtor’s
  26   Bankruptcy Proceeding to the extent those pleadings were not otherwise admitted into evidence at trial.
       57
          Admin DE 217.
  27   58
          Admin. DE 265.
       59
          Admin DE 243. Trustee’s Trial Exhibit 144 includes a copy of the April 11, 2013, letter terminating the Contract.
  28   60
          Admin DEs 243 and 244.

                                                                13

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                             Desc
                                  Main Document Page 13 of 145
   1   Contract and Debtor’s access to Amazon’s online platform. 61 Additionally, the Court
   2   found Amazon’s conduct constituted a willful violation of the bankruptcy automatic
   3   stay. 62 Due to Amazon halting Debtor’s access to Amazon’s online platform, Debtor was
   4   unable to sell its products on that platform from April 11, 2013 to April 26, 2013, a total
   5   of 15 days. 63
   6           After reinstating Debtor’s access to its online platform, Amazon filed a Motion for
   7   Relief from Stay seeking to terminate the Contract pursuant to § 362(d)(1). 64 Debtor, in
   8   turn, filed a Motion to Assume the Contract pursuant to § 365(a). 65 The Trustee sought
   9   summary judgment granting the Debtor’s Motion to Assume the Contract and denying
  10   Amazon’s Motion for Relief from Stay. 66 Amazon sought summary judgment opposing
  11   the assumption of the Contract and seeking relief from the automatic stay so it could
  12   terminate the Contract. 67 The Court granted summary judgment in favor of Amazon,
  13   holding the Debtor could not assume the Contract. 68 Amazon was granted stay relief to
  14   send the Debtor a letter terminating the Contract pursuant to Section 10.1(y) of the
  15   Contract. 69 On October 22, 2013, Amazon terminated its Contract with the Debtor.70
  16   Conceding defeat, in January 2014 the Debtor ceased operations. 71
  17
       61
          Admin DE 262.
  18   62
          Admin DE 262.
       63
          DE 332, pg. 16, ¶ 20.
  19   64
          Admin DE 253. The Unsecured Committee filed a Joinder in Support of Debtor’s Motion to Assume the Contract.
       Admin DE 276.
  20   65
          Admin DE 266.
       66
          Admin DE 318.
  21   67
          Admin DE 325.
       68
          Admin DE 364.
  22   69
          Admin DE 398. The Court’s order granting summary judgment in favor of Amazon was subsequently amended to
       revise the language in footnote 1, which now reads:
  23            Solely for the purpose of deciding these motions for summary judgment, the Trustee, to streamline
                the issues and advance the litigation process, does not dispute the facts recounted in this order.
  24            However, the Trustee states that "if this matter proceeds to trial, [he] may present evidence to the
                contrary." (Trustee’s Controverting Statement of Facts, Dkt. No. 333). Accordingly, the findings
  25            of fact and conclusions of law set forth in this decision are made for the purpose of deciding these
                cross-motions for summary judgment only and, except to the extent such findings are necessary
  26            predicates for the Court’s ultimate rulings on the cross-motions for summary judgment, shall not
                serve as res judicata, collateral estoppel or law of the case in other proceedings before this Court.
  27   70
          Ex. 144. Also, Trustee’s Trial Exhibit 152 includes a copy of the Termination Letter.
       71
          DE 332, pg. 17, ¶ 23. The most recent monthly operating report shows the Debtor’s total cash on hand to be $581.
  28   Admin DE 660.

                                                              14

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 14 of 145
   1           To this day, neither the Disclosure Statement nor the Plan have been approved or
   2   rejected by the Court. Nevertheless, Debtor remains in a chapter 11 proceeding.
   3
   4   V.      ADVERSARY PROCEEDING PROCEDURAL HISTORY
   5           A.       The Complaint and Answer
   6           Prior to commencement of this Adversary Proceeding, Debtor alleged that Amazon
   7   failed to account for a considerable amount of the Debtor’s inventory. 72 This contentious
   8   issue together with Amazon’s automatic stay violation drove the Trustee to file the
   9   Complaint. 73 The Court eventually dismissed Counts 4, 5, 6, 7, 8, and 9 of the Complaint
  10   (discussed further in Subsection D below). 74
  11           Only counts 1, 2, and 3 remain from the Trustee’s Complaint. Count 1 alleges
  12   Amazon failed to turnover estate property pursuant to 11 U.S.C. § 542(a). 75 Count 2
  13   alleges Amazon violated the automatic stay pursuant to 11 U.S.C. § 362. Count 3 alleges
  14   Amazon breached the Contract by terminating the Contract without sending a Notice of
  15   Material Default to the Debtor, by denying Debtor access to the Amazon platform, by not
  16   accounting and compensating Debtor for inventory placed in Amazon’s hands, by failing
  17   to store, maintain, preserve, and account for Debtor’s inventory and by failing to
  18   compensate for that inventory.
  19           Amazon filed an answer 76 that included two (2) counterclaims against the Trustee
  20   and asserted the Debtor had “unclean hands” because it first breached the Contract.
  21   Amazon’s Answer was later amended. 77 Amazon’s counterclaims allege that, to the extent
  22   Amazon demonstrates any liability to Amazon by the Debtor, the Trustee, and/or the
  23   Debtor’s bankruptcy estate, Amazon must be allowed to setoff or recoup such liability
  24
  25   72
          Admin DE 243, pg. 4, ¶ 12.
       73
          DE 1.
  26   74
          DE 91 dismissed counts 4, 6, 7, 8, and 9, and DE 348 dismissed count 5.
       75
          Unless indicated otherwise, statutory citations refer to the U.S. Bankruptcy Code (“Bankruptcy Code”), 11 U.S.C.
  27   §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037.
       76
          DE 5.
  28   77
          DE 35.

                                                              15

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 15 of 145
   1   against any liability which Amazon owes to the Debtor, the Trustee, or the Debtor’s
   2   bankruptcy estate. 78
   3
   4           B.       Amazon’s Counterclaims
   5           Amazon’s counterclaims were withdrawn before trial. 79 Amazon’s counterclaims
   6   are now hereby dismissed with prejudice.
   7
   8           C.       Discovery Disputes
   9           Over the course of this Adversary Proceeding, the Court had occasion to address
  10   numerous discovery disputes between the parties. 80 Those disputes were generally
  11   resolved without motions to compel or motions for protective orders. 81 No attorney’s fees
  12   or sanctions were awarded by the Court as a part of those discovery hearings nor did the
  13   Court reserve fee or sanctions awards for disposition at the end of this Adversary
  14   Proceeding.
  15
  16           D.       Motions for Summary Judgment
  17           Amazon moved for summary judgment on Counts 2, 3, 4, 6, 7, 8, and 9 of the
  18   Complaint. 82 The Trustee filed his Response 83 and Amazon filed its Reply. 84 On
  19   September 16, 2015, the Court issued an order granting summary judgment in favor of
  20   Amazon dismissing Counts 4, 6, 7, 8, and 9. 85 Additionally, the Court granted partial
  21   summary judgment on Count 2 (stay violation) to the extent it sought punitive damages.86
  22
       78
          DE 5, ¶¶ 11–14.
  23   79
          DE 332 at pg. 9 and DE 397 at pgs. 5-6.
       80
          By this Court’s count, it heard nine discovery disputes. See DEs 123, 156, 173, 182, 188, 209, 251, 335 and 358.
  24   81
          The Court’s procedure page and Local Rule 9013-1 require the parties meet and confer before calling the Court
       for a resolution of discovery issues on the spot, without the filing of motions to compel or for protective orders.
  25   82
          DE 52.
       83
          DE 72.
  26   84
          DE 88.
       85
          DE 91. Those counts were as follows: Count 4 – Breach of Implied Covenant of Good Faith and Fair Dealing;
  27   Count 6 – Injunction Against Further Stay Violations; Count 7 – Specific Performance; Count 8 – Negligence; and
       Count 9 – Intentional Interference with Business Expectancy.
  28   86
          DE 91.

                                                              16

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 16 of 145
   1           On November 20, 2020, the Trustee filed his motion for summary judgment,
   2   requesting the Court find that, in determining Amazon’s liability, the proper cutoff date is
   3   January 31, 2014 and the proper methodology requires an assessment of both “expected
   4   ending inventory” and “inventory shrinkage.” 87 The Trustee also requested the Court find
   5   that Amazon, at minimum, is liable to pay the Debtor the replacement value of 111,688
   6   units of damaged, lost, or missing inventory. 88 Amazon filed its Response. 89 The Trustee
   7   filed his Reply. 90 At its February 11, 2021 hearing, the Court denied the Trustee’s motion
   8   for summary judgment in all respects. 91 The Court specifically noted that it would not set
   9   a January 31, 2014 hard stop on the calculations of damages. 92 This is important in that
  10   Amazon “Removed” 19,890 units to Debtor after January 31, 2014. 93
  11           Amazon filed an additional motion for summary judgment seeking: (1) dismissal
  12   of Count 5 of the Complaint (accounting for the inventory); (2) dismissal of Count 3
  13   (breach of contract), contending the Debtor failed to provide accurate information to
  14   Amazon thereby materially breaching the contract and discharging further performance
  15   by Amazon; and (3) enforcement of the Contract’s limitation of liability clause. 94 The
  16   Trustee filed his Response 95 in opposition. Amazon filed its Reply. 96
  17           The Court heard oral arguments on February 11, 2021. 97 At that hearing, the Court
  18   (1) granted Amazon’s request to dismiss Count 5, (2) denied Amazon’s motion for
  19   summary judgment as to the contention that Debtor failed to provide it accurate
  20   information, and (3) took under advisement the issue pertaining to enforceability of the
  21   Limitation Clause. 98 On February 15, 2021, the Court issued an under-advisement order
  22   87
          DE 266.
       88
          DE 266.
  23   89
          DE 306.
       90
          DE 321.
  24   91
          DE 358.
       92
          DE 358.
  25   93
          The report from Amazon’s expert Williams contains a table reflecting unit totals through May 2015. See Trial
       Ex. 5, ¶ 33, table 2.
  26   94
          DE 272.
       95
          DE 303.
  27   96
          DE 322.
       97
          DE 358.
  28   98
          DE 358.

                                                             17

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                         Desc
                                Main Document Page 17 of 145
   1   denying Amazon’s request to enforce the Limitation Clause because (1) the Limitation
   2   Clause is unclear and unreasonable, (2) at the time the Contract was executed damages
   3   were not unascertainable, and (3) enforcing the Limitation Clause would violate public
   4   policy. 99
   5
   6            E.       Motions in Limine
   7            The Trustee filed his Motion in Limine to Preclude the Admission of “Deep Dive”
   8   Documents into Evidence. 100 Amazon filed its Response. 101                            The Trustee filed his
   9   Reply. 102 At the July 8, 2015, hearing, the Trustee briefly discussed the First Motion in
  10   Limine and advised it would not be argued at the hearing. 103 The hearing was then vacated,
  11   subject to call. The First Motion in Limine was never rescheduled. 104
  12            On November 20, 2020, Amazon filed its Motion in Limine to Exclude Unpleaded
  13   and Untimely Claims and Damages Theories. 105 On the same day, Amazon filed its
  14   Motion in Limine to Exclude the Testimony of Expert Serena Morones. 106 The Trustee
  15   filed his Responses to the Second Motion in Limine 107 and the Third Motion in Limine.108
  16   Amazon filed its Replies in Support of the Second Motion in Limine 109 and the Third
  17   Motion in Limine. 110
  18            At the January 21, 2021, hearing, the Court placed its findings and rulings on the
  19   record and denied the Third Motion in Limine because among other things, the Court
  20   concluded Morones possessed the requisite specialized knowledge called for under
  21
       99
          DE 346.
  22   100
           DE 49 filed April 13, 2015.
       101
           DE 62.
  23   102
           DE 84.
       103
           DE 89.
  24   104
           DE 89. Interestingly, at trial the Trustee sought to admit into evidence excerpts of the “Deep Dive” data and
       Amazon objected, asserting the excerpts were attached to Justin Ice’s deposition and he failed to establish foundation
  25   or authenticity. DE 332, Ex. A, pg. 3. The excerpts of the “Deep Dive” data were not admitted into evidence.
       105
           DE 268.
  26   106
           DE 270.
       107
           DE 283.
  27   108
           DE 285.
       109
           DE 317.
  28   110
           DE 319.

                                                                18

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                             Desc
                                  Main Document Page 18 of 145
   1   Rule 702(a) of the Federal Rules of Evidence, that her expert report was the product of
   2   reliable principles and methods, and that she reliably applied those principles and
   3   methods. If the Defendant believed Morones was not armed with sufficient data to form
   4   her expert opinions, the Court held that would be a matter best revealed through well-
   5   crafted cross-examination by Defendant’s counsel at trial. 111 Subsequently, at the
   6   February 11, 2021, hearing, the Court placed its findings and rulings on the record and
   7   denied the Second Motion in Limine. 112
   8
   9   VI.      THE TRIAL
  10            Beginning on February 16, 2021, and concluding on February 19, 2021, the Court
  11   conducted a four-day trial. Only four witnesses gave live testimony. The bigger end of
  12   witness testimony was introduced via video depositions and designated portions of
  13   deposition transcripts from 11 witnesses. The parties’ closing arguments were heard on
  14   February 24, 2021.
  15
  16            A.       Trial Exhibits
  17            The Parties’ Joint Pre-Trial Statement stipulated to the admission of Joint Exhibits
  18   1-12. 113 Plaintiff’s exhibits were marked 101-183 and were admitted by stipulation or
  19   order of the Court or denied admission by the Court, as described in Attachment 2 to this
  20   Order. Defendant’s exhibits were marked 201-264 114 and were admitted by stipulation or
  21   order of the Court or denied admission, as described in Attachment 2 to this Order,
  22   beginning at page 5 of 7.
  23
  24
  25
  26
       111
           DE 327.
  27   112
           DE 358.
       113
           332-1, p. 1 of 15. See also p. 1 of Attachment 2.
  28   114
           See DE 332, p. 124 of the PDF.

                                                               19

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19       Desc
                                  Main Document Page 19 of 145
   1         B.     Trustee’s Witnesses
   2                1.     Timothy Shaffer.
   3         (February 16, 2021, 1:17 pm through 2:24 pm).
   4         The Trustee’s testimony was live, but some deposition designations were also
   5   supplied.
   6         The Trustee testified that when he was appointed in January 2012 the Debtor was
   7   not profitable but became so by July 2012. The Debtor needed to achieve gross revenue
   8   of $1.5 million per month. That was happening by the 4th quarter of 2012. Not every
   9   month but on average. Debtor filed its Plan in early 2013 calling for 100% payment to its
  10   creditors. The Plan was going to be, in the Trustee’s estimation, widely supported by the
  11   Creditor’s Committee and the Debtor’s creditors generally.
  12         Once Amazon terminated Debtor’s use of its online platform in April 2013, Debtor
  13   never again reached gross sales of $1.5 million in any given month. Rather, Debtor’s
  14   gross sales thereafter failed to consistently reach $1.0 million per month. Amazon
  15   terminating Debtor’s access to Amazon’s online platform devastated Debtor’s working
  16   capital. Bellino and others reported to the Trustee that this termination severely spooked
  17   Debtor’s trade creditors who thereafter refused to supply product to the Debtor. Amazon
  18   eventually permanently terminated Debtor’s access to Amazon’s online channels in
  19   October 2013. This effectively put Debtor out of business because then Debtor had no
  20   other online channel on which it sold its products. After January 2014 Debtor no longer
  21   maintained a warehouse.
  22         In 2012, the Trustee was told by Azzarelli, Debtor’s contract CFO, that some of
  23   Debtor’s inventory was missing. Bellino told the Trustee that if the Debtor made
  24   inventory claims against Amazon it would hurt the Debtor. After Debtor made a demand
  25   upon Amazon for allegedly unaccounted inventory, Amazon eventually terminated
  26   Debtor’s access to the Amazon online sale platform.
  27         On cross-examination the Trustee acknowledged directing Bellino on
  28   December 15, 2012, to make a $1 million demand on Amazon for lost or unrecorded or

                                                  20

Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                           Main Document Page 20 of 145
   1   unaccounted inventory. 115 Instead, on December 17, 2012, Bellino made a $10.5 million
   2   claim against Amazon for the Debtor. Until his deposition, the Trustee was not aware of
   3   the magnitude of Bellino’s demand or that it conflicted with the Trustee’s direction.
   4            In a May 7, 2013, email from Bellino to the Trustee in which the Trustee asked
   5   when Bellino sent a $1 million demand to Amazon, Bellino simply said “12-17-2012”
   6   without mentioning that the actual demand he sent to Amazon was for $10.5 million. 116
   7            At trial Amazon focused at length on an email trail between Azzarelli and Bellino
   8   on April 23, 2013 117 concerning actual and projected revenue. While the Court admitted
   9   these Exhibits, the Court finds it provides no probative value to Amazon’s defense of
  10   Plaintiff’s claims.
  11            On cross-examination the Trustee re-confirmed that Amazon’s 15-day shutdown
  12   of Debtor’s access to the Amazon online platform shattered the confidence of Debtor’s
  13   creditors and damaged Debtor’s cash flow and capital position. Moreover, this shut down
  14   by Amazon caused three members of Debtor’s Creditor’s Committee to withdraw their
  15   earlier support of Debtor’s Plan. 118 The Creditor’s Committee’s counsel confirmed this
  16   fact to Trustee.
  17            Plaintiff’s counsel did not offer a re-direct examination of the Trustee.
  18
  19                     2.       Serena Morones
  20            (February 16, 2021, 2:37 pm to February 17, 2021, 1:03 pm).
  21            Except for a portion of her direct examination being supplied to the Court via her
  22   Declaration, Morones’ testimony was live.
  23            Morones’ direct testimony began with her 13-page Declaration 119 but additional
  24   direct and then her cross-examination and re-direct examination were live on the first and
  25   second days of trial. Morones was called as Plaintiff’s expert on Plaintiff’s damages.
  26   115
           Ex. 216.
       116
           Ex. 12.
  27   117
           Ex’s. 226-228.
       118
           Trial Transcript, February 16, 2021, at 1:22 p m.
  28   119
           Ex. 172, the “Morones Declaration.”

                                                               21

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19          Desc
                                  Main Document Page 21 of 145
   1   Morones’ Declaration pointed to her “Affirmative Expert Report” dated May 10, 2019,
   2   which is hereafter referred to as Morones’ Damages Report. 120
   3           The Court will first address Morones’ Damages Report, then Morones’
   4   Declaration, and finally her examinations at trial.
   5
   6                             a)       Morones’ Damages Report
   7           Morones’ Damages Report 121 is a PDF document totaling 267 pages. She charged
   8   Plaintiff at the rate of $475 per hour. 122 The Report itself is 28 pages but contains 6
   9   schedules (including numerous sub-schedules) and 3 attachments. Attachment A is
  10   Morones’ curriculum vitae. Attachment B is the list of documents she considered in
  11   preparing her Damages Report. Attachment C is a 26-page description of the basis for the
  12   Settlement Data and M15 together with 190 pages of schedules. Attachment C is a
  13   document describing how Morones came to sort the vast amount of data contained in the
  14   Settlement Data and the M15 Data and how these two heaps of data were sorted and
  15   merged to enable her to reach the conclusions made in Morones’ Damages Report. By
  16   way of an analogy, if the Damages Report was instead to answer the question, “what time
  17   is it?” then Attachment C is an answer to the question, “how was that clock built?”
  18           Attachment C indicates the Settlement Data includes (1) 747 text files containing
  19   624,370,359 records where each record row describes a single type of transaction for an
  20   order, (2) 696 Excel files containing 28,426,216 records with each row describing a single
  21   type of transaction for an order and (3) two “Comma Separated Values” containing
  22   1,804,115 records and 1,109,682 records, respectively. Some of the Excel and text files
  23   contain over 100,000 lines. Altogether, these data mountains describe 4,471,104 customer
  24   orders for 5,827,309 units which produced revenue totaling $128,224,650 of which
  25   $33,176,475 was paid to (retained by) Amazon to cover its fees and expenses. Morones
  26
  27   120
           Ex. 7.
       121
           Id.
  28   122
           Morones’ bills through June 14, 2019, forward at Ex. 202.

                                                               22

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19     Desc
                                 Main Document Page 22 of 145
   1   calculates that the average sales price per unit was $22, 123 of which Amazon retained $5.69
   2   per unit. 124 Debtor, in turn, was paid $95,048,175 or, on average, $16.31/unit. 125
   3           The first ten pages of Morones’ Damages Report discusses the parties and their
   4   litigation. Beginning at § V, ¶ 28, she digs into her analysis. As with her Declaration, she
   5   summarizes her damages formula as
   6           (1) Expected January 31, 2014, Ending Inventory
   7           + (2) Reimbursable Inventory Adjustments
   8           + (3) Unpaid Refund Reimbursements
   9           + (4) Sales Proceeds Not Remitted to Debtor
  10           – (5) Reimbursements Paid by Amazon
  11           = (6) Total Inventory Damage. These six calculation components are broken down
  12   in order below.
  13           1. Expected January 31, 2014, Ending Inventory
  14           To determine the January 31, 2014, ending inventory held by Amazon, Morones
  15   applied the inventory reconciliation formula described in Amazon’s Seller Central
  16   website. That formula is as follows:
  17                    Starting Inventory
                        + Receipts
  18
                        - Customer Orders
  19                    + Customer Returns
                        +/- Adjustments
  20
                        - Removals to Debtor
  21                    Expected Ending Inventory
  22           Looking at the M15 Data, Morones pegged the starting inventory as the total
  23   number of units placed by Debtor in Amazon’s hands (6,316,429) and reduced that by the
  24   Sales 126 (5,978,113), Removals (344,906) and Adjustments (17,524) and added to that
  25   sum Customer Returns (63,445) for a grand total of 39,331 units. This amount was
  26   123
           $128,224,650 sales revenue ÷ 5,827,309 units sold.
       124
           $33,176,475 paid to or retained by Amazon ÷ 5,827,309 units sold.
  27   125
           $95,048,175 paid to Debtor ÷ 5,827,309 units sold. These calculations appear in Ex. 7, Attachment C, Schedule
       1b at PDF page 31 of 267.
  28   126
           Customer Orders are referred in Morones’ Damages Report as “Sales.”

                                                             23

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 23 of 145
   1   multiplied by the average net price/unit ($16.31) 127 to reflect an amount of $641,521 due
   2   to Debtor.
   3
   4           2. Reimbursable Inventory Adjustment Transactions
   5           Morones counts as “Reimbursable Inventory” the amount of inventory damaged,
   6   lost or stolen while in Amazon’s custody. Paragraph F-4 of the Contract 128 specifies that
   7   Amazon is liable to Debtor for such events. Morones reviewed the M15 Data and
   8   concluded 72,357 units were reimbursable to Debtor, calculated as follows: 129
   9           Reimbursable Adjustments
               Warehouse Adjustments                       (from M15 Data)            28,409 units
  10
               Lost/Found Adjustments                      (from M15 Data)            39,253 units
  11           Mis-Received Adjustments                    (from M15 Data)              4,695 units
                                                                                    72,357 units 130
  12
  13           Units in the Warehouse Damage Adjustments category were placed there by
  14   Morones when she saw Amazon’s application of Codes 5, 6, 7, D or E. 131
  15           Units in Morones’ Lost/Found category were placed there because these units had
  16   an assigned Code of M (Misplaced) or F (Found). M and F Codes were offset against one
  17   another because M is a negative unit and F is a positive unit.
  18           Units in the Mis-Received category have a Code X designation reflecting that a
  19   unit was incorrectly added to inventory upon receipt. This would be a Non-Reimbursable
  20   Adjustment. The M15 Data showed 28,363 such units but Morones ascertained that 4,695
  21   of those units were not correctly designated with Code X but, rather, were items lost by
  22   Amazon. Morones came to this conclusion because 4,102 of Code X designations
  23   occurred over 30 days after the unit was received by Amazon and Amazon’s 30(b)(6)
  24   witness, Jeff Moore (“Moore”), said Code X designations should be promptly made when
  25   one Amazon employee checks in a unit and soon thereafter another Amazon employee
  26   127
           See Ex. 7, Schedule 1b.
       128
           Ex. 1, PDF page 31 of 38.
  27   129
           See Ex. 7, Schedules 2a, 2b and 2c.
       130
           72,357 x $16.31/units = $1,180,202
  28   131
           See the Amazon Code descriptions at Exs. 2 and 147 which are also attached hereto as Attachment 3.

                                                              24

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 24 of 145
   1   does the same. A Code X designation corrects the first person’s work. Morones also
   2   found 593 units with a Code X where there was no receipt of such unit. Morones assumes
   3   such units were lost in transit therefore obligating Amazon to pay for such lost units.
   4
   5              3. Unpaid Refund Reimbursements
   6              When Amazon refunded a customer’s purchase price the customer was generally
   7   supposed to return the item so Debtor could re-sell the unit. If the unit was never returned
   8   to Amazon, Morones claims it should not be back charged for the refund granted to the
   9   customer. Morones found that Amazon reimbursed Debtor for some but not all the
  10   unreturned refunds, leaving 27,255 units where Debtor was charged for refunds but not
  11   credited for returned inventory.
  12
  13              4. Sales By Amazon, Not Returned to Debtor
  14              Morones compared the M15 Data to the Settlement Reports which reflect
  15   Amazon’s payments to Debtor and found a difference of $1,156,495. She assumes
  16   Amazon did not pay Debtor these sales dollars. 132
  17
  18              5. Amazon Payments for Reimbursable Inventory Adjustments
  19              Based on testimony from Amazon’s employee Bachand, Morones concluded the
  20   M15 Data was not reliable on the question of the amount Amazon reimbursed to Debtor.
  21   Morones, therefore, looked at Settlement Reports to quantify these Reimbursements.
  22   Morones concluded that Amazon reimbursed Debtor $304,276 for damaged or lost units.
  23   This reduces Morones’ final calculated damage amount. 133
  24
  25
  26
  27
       132
             See Schedule 4 to Ex. 7.
  28   133
             See Schedule 5 to Ex. 7.

                                                       25

Case 2:13-ap-00799-DPC              Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19    Desc
                                    Main Document Page 25 of 145
   1           6. Interest Damages
   2           Morones added prejudgment interest at 12% per annum from the midpoint of the
   3   Amazon/Debtor relationship to arrive at a prejudgment interest damage amount of
   4   $2,906,22 through January 31, 2014.
   5
   6           7. Stay Violation Damages
   7           Morones notes this Court found Amazon violated the automatic bankruptcy stay
   8   when, without Court authority, it terminated Debtor’s access to Amazon’s online sales
   9   platform on April 11, 2013, and did not turn access back on until 21 days later. 134 Morones
  10   charts Debtor’s sales activity for the 15 months prior to April 11, 2013 and through
  11   October 22, 2013, the date of Amazon’s final shut down of Debtor’s access to the online
  12   sales platform. Morones calculated average monthly sales from November 2012 through
  13   March 2013, a time period of Debtor’s stabilized income performance. To that average
  14   Morones applied a .2% per month sales growth factor for the months of May 2013 through
  15   October 2013. October was then trimmed back because of the October 22, 2013, platform
  16   termination. Next, Morones looked at variable expenses 135 from November 2012 to
  17   March 2013. Those expenses were deducted from revenues to deduce a contribution
  18   margin profit of 9.7%. 136 Morones applied this 9.7% contribution margin profit to her
  19   projected lost revenues from May 2013 through October 22, 2013, to arrive at a lost profit
  20   damage amount of $732,000. 137
  21           All told, Morones’ Damages Report reflected Debtor’s inventory damages at
  22   $2,911,648, its stay violation damages at $732,000 and its prejudgment interest on
  23   inventory damages at $2,906,224 for a grand damage total of $6,549,871.
  24
  25
       134
           Ex. 7, page 22 of 267. Morones’ Declaration later corrected this time frame to correctly note the shutdown was
  26   15, not 21, days.
       135
           Variable expenses “include Cost of Sales, Outside Services – Lab or, Outside Services – Fulfillment, and
  27   Packaging Supplies.”
       136
           See Ex. 7, Schedule 6a.
  28   137
           See Schedule 6.

                                                              26

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                           Desc
                                 Main Document Page 26 of 145
   1                              b)        Morones February 5, 2021, Declaration
   2            Morones had 30 years of accounting experience including 23 years of work
   3   analyzing commercial damages and conducting forensic accounting investigations. She
   4   is based in Portland, Oregon. She was engaged by Plaintiff’s counsel to analyze whether
   5   Amazon owes Debtor for inventory entrusted to Amazon by Debtor during the course of
   6   its business relationship from January 1, 2008 to January 31, 2014. Much of Morones’
   7   Declaration rehashes the information contained in Morones’ Damages Report. She bases
   8   her damage calculations on the following formula: 138
   9
  10                     Expected Ending Inventory on Hand January 31, 2014
                    +    Reimbursable Inventory Adjustment Transactions
  11
                    +    Unpaid Refund Reimbursements
  12                +    Sale Proceeds Not Remitted to Debtor
                    –    Reimbursements Paid by Amazon
  13
                         Total Inventory Damage
  14
  15            Breaking down her damages formula, Morones reviewed the formula’s six
  16   components by calculating the following: 139
  17
  18            1. Expected Ending Inventory:
  19            Morones calculated Expected Ending Inventory through the following formula
  20   using the described data set: 140
  21         Inventory Units Received by Amazon from Debtor        (per M15 Data) 6,316,429
  22         - Inventory Units Sold                                (Per M15 Data) - 5,978,113
             - Inventory Units Returned by Customers               (per M15 Data) + 63,445
  23         - Inventory Units Removed back to Debtor    141
                                                                   (per M15 Data) - 344,906
  24         - Inventory Units Adjusted                                               - 17,524
             Total Expected Inventory Units as of January 31, 2014                      39,331
  25
  26
       138
           Ex. 7, page 14 of 267, ¶ 28.
  27   139
           Ex. 7, page 15 of 267, ¶31.
       140
           See Ex. 7, Schedules 1 and 1a.
  28   141
           Discussed below.

                                                          27

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19    Desc
                                  Main Document Page 27 of 145
   1           In analyzing “Expected Ending Inventory” Morones notes she was asked by
   2   Trustee’s counsel to investigate “Removals Back to Debtor” from October 23, 2013142
   3   through January 31, 2014. “Removals” occur generally when Debtor requested units be
   4   destroyed by Amazon or shipped back to Debtor. In either event, the units are Removed
   5   from Debtor’s inventory Debtor Amazon’s hands. Debtor might make these requests, for
   6   example, when a unit’s expiration date has come and gone. Counsel also asked her to
   7   review the amount of unsellable inventory as of January 31, 2014.
   8           Reviewing the M15 Data, Morones shows that Debtor’s “Removal” requests from
   9   October 1, 2013 to January 31, 2014 totaled 88,405 units but that Debtor canceled 23,995
  10   of those requests and that, after October 22, 2013 to November 31, 2014, Amazon shipped
  11   or destroyed 62,103 units. 143
  12           This exercise becomes interesting when Morones looked at the Seller Central
  13   Report of December 2013 144 which indicated that Debtor had 28,390 units in Amazon’s
  14   hands of which only 3,216 units were identified as unsellable and only 2,464 of those
  15   unsellable units were “expired.” Morones assumed this Seller Central Report accounted
  16   for inventory through December 31, 2013. Amazon employee Bachand testified that this
  17   report was a snapshot as of December 13, 2013. 145 Bachand also testified that, with respect
  18   to removals, there is a “creation date and a completion date of the removal. And the units
  19   can actually have been removed at any point during that time frame.” 146
  20           Unfortunately, Bachand’s testimony does not aid the Court in pinpointing how
  21   many units were removed after December 13, 2013 and before January 31, 2014. The
  22   Court finds the Debtor had 28,390 units in Amazon’s hands as of December 13, 2013. It
  23   is not clear, nor can the Court find how many units were removed between December 13,
  24   2013 and January 31, 2014. The M15 Report shows Debtor’s total inventory in Amazon’s
  25   hands was reduced in January 2014 by 12,055 units (10,850 of which were Removed).
  26   142
           The day after Amazon finally terminated its Contract with Debtor.
       143
           88,405 removals requested less 23,995 canceled removal requests = 62,103 units.
  27   144
           The December 2013 Seller Central report was apparently the last report which Morones received for review.
       145
           February 18, 2021, Trial Transcript at 153:11-12.
  28   146
           February 18, 2021, Trial Transcript at 153:14-19.

                                                              28

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 28 of 145
   1            Williams’ Rebuttal Report shows Amazon Removed 19,890 units after January 31,
   2   2014. Whether some of those removals were from a “creation date” (as Bachand would
   3   say) before January 31, 2014, is not clear. However, the Court finds the completion of
   4   those removals had to occur after January 31, 2014, because Williams’ Report tells us
   5   19,890 units were removed after January 31, 2014, i.e. the creation date and/or the
   6   completion date necessarily occurred after January 31, 2014. Units necessarily remained
   7   in Amazon’s hands until the completion date. The Court finds that Amazon held at least
   8   19,890 units of Debtor’s products as of January 31, 2014, and that the completion of
   9   Removal of all those units occurred after January 31, 2014.
  10
  11            2. Reimbursable Adjustments:
  12            Morones calculated Reimbursable Adjustments using the formula and the
  13   following described data set: 147
  14         Warehouse Adjustments by Amazon 148           (per M15 Data)                28,409 Units
                                                 149
  15         + Lost/Found Adjustments by Amazon            (per M15 Data)                39,253 Units
                                                       150
             + Mis-Received Adjustments Made by Amazon     (per M15 Data)                 4,695 Units
  16         Total Reimbursable Inventory Adjustments                                    72,357 Units
  17            This damage component is more fully discussed above where the Court reviews
  18   the Morones’ Damages Report.
  19
  20            3. Unpaid Refund Reimbursements:                                       12,000 Units 151
  21            (Per M15 Data and Seller Central Report 152)
  22            This damage component is more fully discussed above where the Court reviews
  23   Morones’ Damages Report.
  24
  25
       147
           Ex. 7, Tables 1 and 2a, 2b and 2c.
  26   148
           As reflected in Amazon inventory codes D, E, 5, 6 and 7.
       149
           As reflected in Amazon’s inventory codes M and F.
  27   150
           As reflected in Amazon’s inventory code X.
       151
           $195,721 ÷ $16.31/unit = 12,000 units.
  28   152
           The Seller Central Report is sometimes referenced as the Settlement Data.

                                                               29

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19              Desc
                                 Main Document Page 29 of 145
   1           4. Sales Proceeds Not Remitted by Amazon to Debtor:                            70,907 Units 153
   2           (Per M15 Data and Seller Central Report)
   3           Morones indicates this figure represents the difference between sale orders
   4   identified in the M15 Data as compared to the lesser amounts referenced in the Settlement
   5   Data. She assumes Amazon had not reported these sales to Debtor for these increased
   6   sales. Morones does note, however, that after delivering her Damages Report, Amazon
   7   accounted for the six 48-hour periods 154 where the Settlement Data had not been produced,
   8   which time period gaps largely accounted for this $1,756,495 differential. Armed with
   9   this new Settlement Data to fill in the Data Gap, Morones concedes her damage amount
  10   for the line item “Sales Proceeds Not Remitted” from Amazon to Debtor should be
  11   reduced to $172,851 155 from the $1,156,495 reflected in her Damages Report, so long as
  12   Amazon “satisfactorily authenticated the additional data.” This Court finds Amazon
  13   “satisfactorily authenticated the additional data” at trial. At best, Debtor’s damages for
  14   the “Sales Proceeds Not Remitted” total $172,851.
  15
  16           5. Reimbursements Made by Amazon to Debtor:                                    18,656 Units 156
  17           This damages component is more fully discussed above where the Court reviews
  18   Morones’ Damages Report.
  19
  20           6. Net Inventory Damage:              175,945 Units 157 @ $16.31/Unit = $2,869,663 158
  21           To her inventory damage amount Morones adds prejudgment interest of
  22   $3,460,578 through January 31, 2021. This prejudgment interest calculation is made at
  23   12% per annum at the “mid-term convention” between January 1, 2008 and January 31,
  24
  25
       153
           $1,156,495 ÷ $16.31/unit = 70,907 units.
  26   154
           This is referred to herein and in Williams’ Rebuttal Report as the “Data Gap.”
       155
           This equates to 10,598 units ($172,851 ÷ $16.31/unit).
  27   156
           $304,276 ÷ $16.31/unit = 18,656 units.
       157
           $2,869,663 ÷ $16.31/unit = 175,945 units.
  28   158
           This amount is down from the inventory damage of $2,911,648 reflected in Morones’ Damages Report.

                                                            30

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                        Desc
                                Main Document Page 30 of 145
   1   2021. From February 1, 2021, Morones would add a per diem rate of $943 159 to the
   2   Plaintiff’s inventory damages.
   3           Next, Morones analyzes what would happen if her net price of $16.31/unit
   4   attributable generally to Debtor’s products entrusted to Amazon instead also disallowed
   5   Amazon’s presumed fees and costs of $5.69/unit. 160 If Debtor were to be paid the full $22
   6   average sales price on “Expected Ending Inventory” Debtor’s damage number would
   7   increase by $223,999. 161 The Warehouse Adjustment damage number would increase by
   8   $161,647. 162 The Lost/Found Adjustment would increase by $223,350. 163 The Mis-
   9   Received Adjustments would increase by $26,715. 164
  10           Morones’ Declaration next turns her attention to perhaps the most hotly contested
  11   element of the Plaintiff’s case – Code Q Adjustments. Morones notes the Trustee is
  12   claiming inventory damages for all inventory listed with a Code Q, 165 where that inventory
  13   is also listed as sellable. While Morones notes the M15 Data shows 166,279 units as
  14   bearing a Code Q, only 147,968 units were reflected as sellable. At $16.31/unit damage
  15   to Debtor, Morones calculates the Code Q damages at $2,413,470. 166
  16           Morones’ Declaration takes umbrage with Amazon’s damage expert’s Rebuttal
  17   Report. Morones criticizes the September 14, 2020, report of Williams for allegedly (1)
  18   failing to factor in downward inventory adjustments over the duration of the parties’
  19   relationship, (2) not acknowledging Unpaid Refund Reimbursements, (3) ignoring unpaid
  20   sales, and (4) counting inventory transactions after January 3, 2014.
  21           Morones contends Williams deducts reimbursements from ending inventory rather
  22   than first adding adjustment transactions. This, she claims, results in a double deduction
  23   159
           Or $617 per day if Amazon “satisfactorily authenticated the” Gap Data.
       160
           Morones “assumed a net cost per unit of $22.00 reduced by $5.69 per unit to account for Amazon’s fees and
  24   costs.” This Court presumes that by “cost per unit” Morones means $22 is the price per unit paid by Debtor’s
       customers and that the $5.69 per unit reflects the amount Amazon would be entitled to retain from the $22 per unit
  25   sales price, all pursuant to the parties’ Contract.
       161
           39,331 units x $5.69/unit.
  26   162
           Morones say the increase would be $161,740 but 28,409 units x $5.69/unit = $161,647.
       163
           Morones says the increase would be $223,478 but 39,253 units x $5.69/unit = $223,350.
  27   164
           Morones says the increase would be $26,730 but 4,695 units x $5.69/unit = $26,715.
       165
           Also referenced as “Damaged-Miscellaneous.”
  28   166
           147,968 units at $16.31/unit is $2,413,358 not $2,413,470 as Morones indicates in her Declaration.

                                                              31

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                           Desc
                                 Main Document Page 31 of 145
   1   of liability transactions.            Moreover, since a large number of Amazon’s unit
   2   reimbursements show no money paid for those units, she quantifies reimbursements in
   3   dollars, not units, in contrast to what Williams does. 167 Morones notes that, although
   4   Amazon says it removed 19,980 units after January 31, 2014, the M15 Data shows that,
   5   as of March 31, 2015 (the last month of data reflected in the M15 Data), Amazon still held
   6   20,405 units.
   7           Finally, Morones’ Declaration criticizes Williams on his stay violation damages
   8   calculation, goes on to affirm her pre-judgment interest calculations and then notes her
   9   corrected inventory per diem rate. 168
  10           Summary: In conclusion, Morones’ Declaration contends Plaintiff’s damages total
  11   $4,868,556 169 or, if Amazon could not substantiate the Gap Data, $7,062,241. 170
  12
  13                             c)       Morones’ Direct, Cross and Re-Direct Examinations
  14           At the outset of Day 2 of the Trial, the Court addressed the admissibility of Exhibits
  15   247-252 and the Declaration of Amazon’s custodian of records, Ershad Junaid. Through
  16   hearing the arguments of counsel and comments by Morones, the Court learned that
  17   Exhibits 247 – 252 171 are six authenticated Amazon business records, each containing a
  18   vast amount of data covering approximately 87% of the payment data which was missing
  19   from the payment data Morones reviewed in preparing her Damages Report. Amazon’s
  20   expert Williams refers to this payment Data Gap in his Rebuttal Report. Exhibit 253
  21   contains highlighted records pertaining to the payment Data Gap. Junaid’s Declaration is
  22   Exhibit 262. The Court overruled Trustee’s objection to admitting these exhibits into
  23   evidence and granted Amazon’s request to admit Exhibits 247 – 253 plus Junaid’s
  24   Declaration (Ex. 262). Since these exhibits were authenticated as Amazon business
  25
       167
           Ex. 172, ¶ 28(b).
  26   168
           $617/day per Morones’ Declaration, down from $1,057 referred in Morones’ Damages Report, Schedule 1, Ex. 7.
       169
           Ex. 172 at page 6.
  27   170
           Ex. 172 at page 4.
       171
           The six documents collectively contain 15,845 pages of coding related to the Data Gaps of payment data missing
  28   from the Settlement Data reviewed by Morones.

                                                              32

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                           Desc
                                 Main Document Page 32 of 145
   1   records which fill 87% of the Data Gaps, Morones conceded that the damage component
   2   described as “Sales Proceeds Not Remitted to Debtor” is $172,851 172 not the $1,156,495
   3   figure referenced in Morones’ Damages Report.
   4           Morones noted in her live supplemental direct examination that the Seller Central
   5   Data reflected less inventory on hand than the M15 Data. She noted the Debtor could only
   6   seek Removal from Amazon’s inventory if it knew from the Seller Central Data that such
   7   inventory units were in Amazon’s possession. Her Exhibit 178 showed Seller Central
   8   Data indicated Amazon was holding 156,919 of Debtor’s inventory as of August 13, 2013,
   9   yet the M15 Data showed that between September 1, 2013 and January 31, 2014, there
  10   were requests to remove 164,629 units. Exhibit 179 showed M15 Data ending inventory
  11   figures at month end (August through December 2013) consistently showed more
  12   inventory than was reflected in the Seller Central Data. Exhibit 180, a document prepared
  13   by Morones, shows 3,555 more units ultimately Removed by Amazon than Seller Central
  14   indicated were held by Amazon on December 31, 2013. 173
  15           In Amazon’s cross-examination of Morones she acknowledged that, before
  16   working on this engagement, she had never worked on issues concerning Amazon’s
  17   inventory system. Morones acknowledged that a considerable amount of information that
  18   she considered in preparing Morones’ Damages Report was not listed in Attachment B of
  19   that Report. She also confirmed she failed to timely reveal to the Oregon Board of
  20   Accountancy a lawsuit filed against her. For this omission she was disciplined and
  21   required to pay a $250 fine. Morones also used a program created by Cone to help make
  22   sense of the Seller Central Data made available to Cone. That program was never
  23   produced by Plaintiff to Defendant. 174 She also acknowledged the Seller Central Data
  24   does not necessarily reflect month ending inventory figures but the M15 Data does.
  25   39,331 units are reflected in her Report as Ending Inventory for January 31, 2014. 175
  26   172
           See Ex. 172, Morones’ Declaration, ¶ 11, page 6, segment 4.
       173
           As noted above in the section discussing Morones’ Declaration, testimony from Amazon’s Bachand indicates why
  27   Exhibit 180 is flawed.
       174
           See Ex. 5, Fn. 8.
  28   175
           See Ex. 172, page 4.

                                                             33

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                Main Document Page 33 of 145
   1   Morones confirmed Sales Proceeds Not Remitted is $172,851 not the $1,156,495 units
   2   reflected in her Damages Report. 176 This difference is largely attributable to the Data
   3   Gaps in the Seller Central Data. Morones also acknowledged her original Damages
   4   Report failed to include an analysis of Code Q designated units. While Morones’
   5   Declaration remedied this omission, she indicates that, of the 166,279 units designated as
   6   Code Q in the M15 Data, 147,968 of those units are identified as sellable and should be
   7   included in Plaintiff’s damage amount.
   8            Morones admitted not factoring Code N or O transactions into her Damages Report.
   9   Morones confirmed the M15 Data does not contain data concerning payments by Amazon
  10   to Debtor. Such payment information is contained only in the Settlement Data subset of
  11   the Seller Central Data.
  12            Cross-examination concerning Morones’ stay violation damages revealed that,
  13   while her Damages Report twice indicated Amazon shut down Debtor’s access to the
  14   Amazon platform for 21 days, 177 the correct shut down time frame was 15 days. Cross-
  15   examination also delved into Debtor’s sales activity prior to November 2012, revealing to
  16   this Court that Debtor’s sales were stabilized, not as of November 2012, but instead back
  17   to July 2012. Cross-examination suggested some of Debtor’s May to October 2013 sales
  18   may have been forbidden to be sold on Amazon’s platform and that some of its products
  19   were priced far below normal prices.
  20            In her re-direct examination, Morones indicated that, after reviewing information
  21   from Williams’ Rebuttal Report which filled in a big portion of the Data Gaps, she revised
  22   her Amazon Reimbursements figure to ($305,611), from Morones’ Damages Report
  23   number ($304,276). This reduced her damages calculation by $1,335.
  24            Morones discussed Schedule 5 to Morones’ Damages Report 178 explaining that the
  25   Seller Central Data concerning Reimbursements paid by Amazon over the course of the
  26   parties’ relationship show Miscellaneous Adjustments and Balance Adjustments of
  27   176
           See Exs. 247 – 252.
       177
           Ex. 7, ¶¶ 21 and 56.
  28   178
           Ex. 7, page 39 of 267.

                                                       34

Case 2:13-ap-00799-DPC              Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                                    Main Document Page 34 of 145
   1   $304,276 while the M15 Data for the time frame show such adjustments as totaling
   2   $347,323. She said she would expect such M15 Data to be lower than the Seller Central
   3   Data because the Seller Central Data is complete, but the M15 Data is not. She was
   4   suggesting the M15 Data was incorrect in this regard.
   5           Morones reviewed Exhibit 9, a March 1, 2019, email from Trustee’s counsel to
   6   Amazon’s lawyer enclosing draft language to be included in the Disclosure Statement to
   7   the Trustee’s proposed chapter 11 Plan. The Disclosure language at page 8 of 16 mentions
   8   Amazon shut down Debtor’s access to its online platform on April 11, 2013, for 21 days.
   9   This was apparently picked up by Morones in her Damages Report 179 but is incorrect as
  10   the Debtor was shut out for 15 days, not 21.
  11           Morones next testified concerning Williams’ Rebuttal Report 180 where he says
  12   Code E inventory is removed from inventory as compared to Williams’ Declaration181
  13   where he said Code E inventory is not removed from inventory but, instead, destroyed
  14   (Code D) or moved out of inventory (Code O) and Reimbursed to Debtor.                 She
  15   understands Removals to be units returned to Debtor or destroyed. Many Removable units
  16   are unsellable. She understands Code E is a change from sellable to unsellable which item
  17   would later likely be Removed (destroyed or returned to Debtor). This change, however,
  18   does not reduce the overall number of inventory units. Morones had not observed an
  19   Amazon policy consistent with Williams’ revised opinion nor did she observe data which
  20   would bear out his revised opinion in Code E treatment.
  21           Morones was asked about Amazon’s demonstrative exhibit 182 which suggests the
  22   maximum number of unaccounted units is 36,972. She disagreed with this. Among other
  23   things she indicates “Removals” should total 10,284 more units so the unaccounted units
  24   would be 47,256 units, not 36,972 units.
  25
  26
       179
           Ex. 7, page 12, ¶ 23 and page 22, ¶ 56.
  27   180
           Ex. 5, ¶ 40.
       181
           Ex. 259, ¶ 32, Williams’ Declaration dated February 4, 2021.
  28   182
           Ex. 263.

                                                               35

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19     Desc
                                 Main Document Page 35 of 145
   1            Morones noted that inventory units can be destroyed via Code D or Removals.
   2   Williams, she says, indicates Code Q units are Removed not destroyed under a Code D as
   3   suggested by four of the Defendant’s demonstrative exhibit(s). 183
   4            Morones discussed the list of Amazon’s Fulfillment Reports, 184 which also
   5   provides an inventory formula from which Morones calculated Plaintiff’s damages. One
   6   of the Fulfillment Reports is described as Inventory Reports. 185 One of the Inventory
   7   Reports is a report called Inventory Adjustments. 186 This is where Amazon’s inventory
   8   codes are described and defined. These codes are important as there is much controversy
   9   regarding application of appropriate codes and what happens when a unit is coded one
  10   way or the other. The Inventory Adjustment Report is broken into the following code
  11   categories: (1) the adjustment reason codes, (2) the misplaced (M) and found (F) inventory
  12   codes, (3) the damaged inventory codes, (4) the unrecoverable inventory codes, (5) the
  13   inbound shipment received adjustments, (6) the software connections, (7) the transferring
  14   ownership codes and (8) the catalogue management codes.
  15            Morones discussed Codes F, M, D, E, K, U, Q. She never saw an explanation that
  16   Code Q (damaged-miscellaneous) or Code E (damaged at Amazon Fulfillment Center)
  17   units would eventually be given a Code D (destroyed). She noted that 168,526 187 units
  18   were given Code Q.
  19            Morones turned to her Declaration 188 at ¶ 18 where she shows that, as of
  20   December 31, 2013, Seller Central Data showed 28,390 units of which 3,216 were
  21   unsellable, most of which were expired not damaged.
  22
  23
  24
  25   183
           Ex. 264.
       184
           Ex. 148.
  26   185
           Ex. 171.
       186
           Ex. 147. See also Ex. 2. These are both attached to this Order collectively as Attachment 3.
  27   187
           This number is inconsistent with her Declaration which, at ¶ 26, says these were 166,279 Code Q units referenced
       in the M15 Report.
  28   188
           Ex. 172.

                                                               36

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 36 of 145
   1           Morones read Amazon’s discovery responses where it twice states that the M15
   2   Data “contains all of the relevant data necessary to evaluate and calculate the Debtor’s
   3   inventory over time in the Fulfillment by Amazon Program.” 189
   4           According to Morones, the Settlement Data, not the M15 Data, provided the best
   5   data on Reimbursements. She saw discrepancies in data produced in M15 Data as
   6   compared to the Settlement Data. Amazon did not produce to Plaintiff a full set of
   7   Settlement Data and the M15 Data does not provide all data concerning all the parties’
   8   transactions, especially financial transactions.
   9           Finally, Morones discussed units destroyed after January 2014. Her one-page
  10   Table 190 shows starting inventory per the M15 Data as 39,331 units, that in September
  11   2014 4,741 units were destroyed and as of March 2015 Amazon continued to hold 20,405
  12   units of Debtor’s inventory.
  13           According        to    Morones,        before       taking    into     consideration       Amazon’s
  14   Reimbursements to the Debtor or the 87% Data Gaps, which has now been filled by
  15   Amazon’s information, the Debtor’s inventory damages total $2,869,663. 191 Morones
  16   applied the following formula to determine this total 192:
  17                    Expected Ending Inventory                            $ 641,521
                        Reimbursable Adjustments                             $1,180,202
  18                    Unpaid Refund Reimbursements                         $ 195,721
  19                    Sale Proceeds not Remitted                           $1,156,495
                        Total Inventory Damage                               $2,869,663
  20
  21           Per Morones, after subtracting payments made by Amazon to the Debtor for
  22   Reimbursements and after subtracting the Data Gaps, which have now largely been filled,
  23   the Debtor’s net inventory damages total $1,875,208, before application of prejudgment
  24   interest. 193 Morones applied the following formula to determine this total 194:
  25   189
           Ex. 111, page 18, line 14 and Ex 116, page 11 at question 10, a October 30, 2018 letter from Amazon’s counsel
       to Plaintiff’s counsel.
  26   190
           Ex. 182.
       191
           Morones Declaration, page 4.
  27   192
           Id.
       193
           Morones Declaration, page 6.
  28   194
           Id.

                                                              37

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 37 of 145
                         Expected Ending Inventory                              $ 641,521
   1
                         Reimbursable Adjustments                               $1,180,202
   2                     Unpaid Refund Reimbursements                           $ 186,247
                         Sale Proceeds not Remitted                             $ 172,851
   3
                         Amazon Reimbursements                                  ($ 305,611)
   4                     Net Inventory Damage                                   $1,875,208
   5            Morones was the second, and last, live witness called by Plaintiff. 195
   6
   7                     3.       Thomas Azzarelli
   8            (February 17, 2021, 1:50 pm to 1:58 pm)
   9            Azzarelli’s testimony was given by videotape from his April 18, 2019, deposition
  10   played at trial plus additional designations. Although Exhibits were discussed in the
  11   Azzarelli deposition, those Exhibits were not attached to the Court’s copy of the written
  12   deposition transcript. 196
  13            Azzarelli was at some point an independent contractor hired to be the chief
  14   financial officer of Debtor. He was deposed on April 18, 2018. Azzarelli each month
  15   reviewed the Debtor’s inventory numbers and came to understand that Debtor’s inventory
  16   in the hands of Amazon was shrinking faster than sales of its units. Lost inventory and
  17   damaged inventory were discussed internally with employees of the Debtor. He did not
  18   know how much inventory was lost by Amazon, but it was “a lot.”
  19            Plaintiff introduced Azzarelli’s direct testimony by designating portions of his
  20   deposition conducted on April 18, 2019. Prior to filing bankruptcy, Debtor retained
  21   Azzarelli as a part-time consulting Chief Financial Officer (“Consulting CFO”) to the
  22   Debtor, and he stayed in that capacity through Debtor’s bankruptcy. His post-petition role
  23   as Consulting CFO was to provide consultation to Debtor’s management and to ensure the
  24   availability of experienced accounting and record maintenance during the pendency of the
  25   Chapter 11 proceedings.
  26
  27   195
           Attachment 4 is a list of all Plaintiff’s deposition designations from the depositions of Azzarelli, Bachand, Ice,
       Moore, Lawcock, Bellino, Ashworth, Soder, Cone, Reilly and Shaffer.
  28   196
           Those exhibits were, however, included in the List of Trial Exhibits. See DE 373.

                                                                38

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                             Desc
                                  Main Document Page 38 of 145
   1               In his deposition, Azzarelli testified that he was informed by Bellino of Amazon
   2   losing Debtor’s inventory and failing to properly reimburse Debtor. Azzarelli, however,
   3   never received a report regarding the allegedly lost inventory or reimbursements. Azzarelli
   4   spoke to Bellino’s character, noting Bellino had the desire and ability to grow Debtor into
   5   a successful company. Azzarelli also spoke to Shacklock’s character, stating she was very
   6   good at her position. Shacklock was the accounting manager for Debtor and she, along
   7   with Lawcock, Peeples, and Reilly, reviewed Debtor’s inventory each month. After
   8   determining what the inventory was, Shacklock adjusted the Debtor’s financial statements
   9   according to the value she determined it to be for financial reporting. According to
  10   Azzarelli, Shacklock stated Debtor’s inventory seemed to be shrinking in value, as
  11   reflected in the financial statements, which meant the inventory was going down faster
  12   than she imagined it would be based on revenues generated.
  13               The Court found Azzarelli’s testimony credible but not particularly revealing
  14   because he knew little about Debtor’s relationship with Amazon or Debtor’s inventory
  15   management.
  16
  17                        4.       Justin Ice
  18               (1:59 pm to 2:34 pm on February 17, 2021, and then from 9:10 am to 9:53 am on
  19   February 18, 2021.)
  20               Ice’s testimony was via videotape of his July 18, 2017, deposition clips played at
  21   trial plus additional designations from his 171-page deposition.
  22               Ice was an Investigation Specialist for Amazon. He worked specifically as a
  23   reimbursement specialist with the FBA Program. Ice testified about Amazon’s inventory
  24   processes and accountings — specifically, the Deep Dive and the M15 Data. The Deep
  25   Dive is what Amazon refers to as a thorough review of the Debtor’s top selling products.
  26   Ice indicated that Debtor’s inventory was stored in Amazon’s fulfillment center or
  27   warehouse in totes, bins, and shelves. He pointed to Ex. 154 197 as a graphic representation
  28   197
             See also the last page of Ex. 148. This exhibit is attached hereto as Attachment 5.

                                                                  39

Case 2:13-ap-00799-DPC              Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19               Desc
                                    Main Document Page 39 of 145
   1   of how one can determine the amount of its inventory in Amazon’s possession. Ice
   2   discussed the fact that Amazon needed to re-write programs so its computer data would
   3   provide better data to Amazon and its customers. Ice discussed the M15 Data but noted
   4   it does not attempt to reconcile Debtor’s inventory at Amazon. Among other things, the
   5   M15 Data does not contain all data concerning the parties’ sales transactions. Ice
   6   discussed ASIN flips or mergers, which happen when units with a certain ASIN # contain
   7   more than one SKU code. An ASIN # links product referenced on amazon.com to
   8   products in inventory in Amazon’s hands.
   9           Ice also discussed Amazon’s reimbursement process and the beginnings of the
  10   FBA Program. Ice detailed how and when Amazon would process reimbursements and
  11   explained different scenarios, which would trigger a reimbursement, like prohibited or
  12   unsellable products. With respect to the FBA Program, Ice acknowledged the FBA
  13   Program was started on the fly and improvements were necessary as the FBA Program
  14   grew because of gaps in information provided to sellers.
  15           Ice further testified about different adjustment codes used to help determine a
  16   seller’s inventory. Specifically, Code D is an adjustment code for destroyed products,
  17   which is used when a product is so badly damaged it cannot be shipped back to the seller.
  18   Code E stands for a change in the disposition of an item and would be used if a product
  19   was damaged while waiting to be sold at the Amazon warehouse. Code Q is a
  20   miscellaneous damage adjustment code used when Amazon is unable to determine the
  21   cause or source of the damage. 198 Code M is used when a product is missing from its
  22   designated location. Often missing product is placed in a holding account. Generally,
  23   within 30 days, Amazon would reimburse sellers for any missing products. A
  24   Reimbursement could take the form of payment to Debtor or new units credited to
  25   Debtor’s inventory at Amazon. Amazon would sometimes credit a seller’s account if there
  26   was inventory with the same FNSKU as the damaged product in the holding account.
  27
       198
          However, Ice testified that he did not know the criteria Amazon used to determine whether to apply Code Q to a
  28   given unit. Ice Deposition at 133:14-15. Code Q is discussed at length in § VII(c)(4) below.

                                                             40

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 40 of 145
   1   Transferring a product out of the holding account to a seller’s account is referred to as a
   2   Code N adjustment.
   3            Ice further discussed the Deep Dive and the reconciliation process he went through
   4   to try to determine why there were discrepancies between Debtor’s data and Amazon’s.
   5   Some information Ice looked at was not available because problems with ASIN flips, out
   6   of sync databases, and because the age of the information. Ice went through the M15 Data
   7   to validate the information and ensure the data sets were marginally close to the
   8   information he had pulled together during the reconciliation process. Ice acknowledged
   9   during his deposition that the M15 Data did not include all the information available
  10   because of the limited timeline and Debtor’s long history. Ice also testified that he recalled
  11   seeing reimbursements to Debtor for zero dollars but was unaware of the reason behind
  12   this. However, Ice did report to his manager and an Amazon attorney that the
  13   reimbursement information included in the M15 Data was underinclusive and was
  14   incomplete with respect to transactions prior to 2012.
  15            Finally, Ice testified about Amazon’s inventory tracking process and acknowledged
  16   that it would be nearly impossible to track an individual product from the time Amazon
  17   received it until the time it was sold. To track a product from inception to sale, a seller
  18   would have to perform additional research and connect where inventory adjustments
  19   occurred to certain time stamps. 199
  20
  21                     5.        Tasha Bachand.
  22            Bachand’s testimony in Plaintiff’s case was live at trial plus via clips from her
  23   March 26, 2019, videotaped deposition plus additional deposition transcript designations.
  24   Bachand was designated by Amazon to testify as its Fed. R. Civ. P. 30(b)(6) witness.
  25
  26
       199
          The Trustee analogizes this inventory accounting to one where a farmer deposits number of bushels of corn in a
  27   cooperative’s silo and later can sell that many bushels out of the silo. It will not be the same kernels of corn deposited
       and sold by the same farmer, but the cooperative should track the volume of deposits and removed corn. See DE
  28   396, p. 62.

                                                                  41

Case 2:13-ap-00799-DPC             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                Desc
                                   Main Document Page 41 of 145
   1          Bachand started working for Amazon in 2015, about two years after this Adversary
   2   Proceeding commenced. Bachand is an operations manager at Amazon. She was not called
   3   as an expert witness in this case although she knows more about the M15 Data than anyone
   4   at Amazon. Bachand first became involved in the Amazon/Trustee dispute in August
   5   2016. She has knowledge of Debtor’s inventory issues since 2011 but not before then.
   6   The M15 Data is Amazon’s best accounting of Debtor’s inventory, but it does not contain
   7   payment information. Payment information would be in the Seller Central Data,
   8   specifically in the Settlement Data.
   9          Bachand described Seller Central as an internal web portal where sellers can log in
  10   to view information about their account and see the disposition of their inventory which
  11   was delivered to Amazon. Seller Central also provided a formula for Debtor, and other
  12   sellers, to manage and reconcile its inventory. The formula was: “starting inventory
  13   balance
  14
             + received inventory
             - customer orders
  15         + returns
             +/- adjustments
  16
             - removals
  17         = ending inventory balance.”
  18   Debtor could have independently tracked its starting inventory balance, received
  19   inventory, and removals but as to the remaining components, Debtor would have to rely
  20   on Amazon to provide such information through Seller Central Data.
  21          Bachand explained the difference between physical and virtual inventory. Physical
  22   inventory is the inventory that is on the truck, in the tote, or in the bin. Virtual inventory
  23   is what is shown through Seller Central and various Amazon reports. Even though
  24   Amazon did regular checks on physical inventory to ensure it matched the virtual
  25   inventory records, Bachand stated it was possible for the virtual inventory shown on Seller
  26   Central to not always match the physical inventory at Amazon. She confirmed that, with
  27   respect to Debtor, there were times this happened.
  28

                                                    42

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19              Desc
                            Main Document Page 42 of 145
   1           Bachand explained adjustment codes are a virtual way of tracking the physical
   2   inventory. Employees in Amazon’s fulfillment centers decide which adjustment codes
   3   are used. The purpose of some of the adjustment codes are to make physical inventory and
   4   virtual inventory match. For example, software corrections are used to correct inventory
   5   discrepancies. She testified that software corrections reflected as Codes 1, 2, and J are not
   6   considered in calculating the ending inventory balance.
   7           Bachand explained Code X and Code Q and confirmed that there were 71,900 Code
   8   Q adjustments to Debtor’s inventory in July 2013. In reviewing the reimbursement chart
   9   from the M15 Data, Bachand testified that there is no information showing whether
  10   Amazon paid Debtor in product or dollars for inventory reimbursements that show up as
  11   zero.
  12
  13                 6.     Jeff Moore.
  14           (Video deposition shown at trial on February 18, 2021, beginning at 10:09 am and
  15   ending at 10:47 am plus deposition designations.)
  16           Amazon designated portions of Moore’s December 5, 2017, six-hour videotaped
  17   deposition testimony in response to designations offered by the Trustee. Moore’s direct
  18   examination was introduced through designations from his Fed. R. Civ. P. 30(b)(6)
  19   deposition on December 5, 2017.
  20           Moore is an Amazon employee who testified about Amazon’s inventory processes.
  21   He noted Debtor would not generally be given access to any of Amazon’s fulfillment
  22   centers. He discussed the M15 Data and indicated he worked on that with Ice until Ice
  23   left Amazon. Since then, he has worked on M15 Data issues with Bachand.
  24           Moore testified concerning the FBA Program’s inventory check-in process at
  25   Amazon’s distribution and fulfillment centers. Moore explained an associate scans
  26   inventory as it arrives and determines the seller and units included. During this process,
  27   an associate counts the units in each shipment and inspects the unit for damage. If a unit
  28   is damaged, the associate is to answer programmed questions in the internal software
                                                    43

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19             Desc
                            Main Document Page 43 of 145
   1   system. Based on the answers, a specific adjustment code is assigned. After the shipment
   2   is processed and checked for damage, the unit is placed in a tote (i.e., a plastic bin) and
   3   sent to shelving where a second associate will store the unit on the unit’s designated shelf.
   4   Moore explained if a seller wants to inspect their inventory at an Amazon center, an
   5   associate will generally conduct an audit of all the seller’s inventory upon that request.
   6          Moore further testified about the inventory reconciliation formula, which
   7   represents a seller’s ending inventory balance in Amazon’s fulfillment centers. Moore
   8   explained in detail the removal component of the formula, which is initiated by a seller’s
   9   unit return request. Any units not removed by a seller or sold to a customer would be
  10   returned to the seller when the seller stops selling through the FBA program.
  11          Moore also testified about different adjustment codes, which informs sellers
  12   through Seller Central about the status of their inventory at Amazon. Moore described
  13   Code X as a minus adjustment to inventory, meaning the number of units received were
  14   less than expected. Code X is assigned contemporaneously with the unit being discovered
  15   as missing. Moore also described Code M as the code assigned to missing units. If Code
  16   M is assigned to a unit, Moore stated Amazon would reimburse the seller within 30 days.
  17   Moore testified further on Amazon’s process of identifying commingled products and how
  18   missing and/or damaged units are handled. If a product is damaged and Amazon is
  19   responsible, the seller receives the sale price less the fees. If a customer returns a damaged
  20   product to the fulfillment center, an associate will conduct an analysis of the item through
  21   a programmed questionnaire in the internal software system. This will tell the associate
  22   whether Amazon or the seller is responsible for the damage.
  23
  24                 7.     Eric Soder.
  25          (Soder’s testimony was only by designated portions of his July 27, 2017,
  26   videotaped deposition plus designations from his 63-page deposition transcript.)
  27          Soder is a former Amazon employee who testified about Amazon’s inventory
  28   processes and the Debtor’s inventory management. Soder began his career with Amazon
                                                    44

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19              Desc
                            Main Document Page 44 of 145
   1   in 2008 as an account manager. In this role, Soder assisted sellers outside the FBA
   2   Program with Amazon’s website platform by helping navigate the website platform so
   3   sellers could list their products.
   4           Soder discussed ASIN which are designed to represent a product on Amazon’s
   5   website but not to track seller’s inventory. Soder further discussed Amazon’s ownership
   6   determination software, which helps determine where a missing unit belongs in Amazon’s
   7   warehouses. Soder explained the process of identifying missing and misplaced items in
   8   Amazon’s fulfillment centers and how missing units are assigned a missing adjustment
   9   code and reidentified products are assigned a Code F. Even if a missing product is found,
  10   a damaged adjustment code will be reported in Seller Central. Soder further testified about
  11   Amazon’s cycle-count time-period. After a certain time, referred to as a “cycle-count,”
  12   Amazon employees will rescan every barcode of every product in Amazon’s warehouse.
  13   The barcode will tell Amazon’s internal system what the unit is, but not who owns that
  14   unit.
  15
  16                  8.     Jeffrey Cone.
  17           (Cone’s direct testimony was by designated portions of his August 17, 2020,
  18   videotaped deposition plus designations from his 140-page deposition transcript.)
  19           The substance of Cone’s testimony was limited to foundation for the analysis
  20   underlying Morones’ Damages Report and to responding as a rebuttal witness.
  21           Cone was employed as a consulting expert witness by the Trustee. He testified by
  22   deposition as to his role in helping Morones understand the M15 Data and Seller Central
  23   Data used in Morones’ Damages Report.
  24           Specifically, Cone was tasked with figuring out what the M15 Data and the Seller
  25   Central Data represented and comparing his analysis to Ashworth’s, identifying points
  26   where they reached different conclusions. To do this, Cone reverse engineered Ashworth’s
  27   conclusions back to the original data source. Although Cone testified they had different
  28   numbers in some instances and could not recall the specifics, he did recall they had the

                                                   45

Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19          Desc
                             Main Document Page 45 of 145
   1   same number for Receipts.
   2          Cone further analyzed inventory status reports and inventory activity reports from
   3   Seller Central to understand general background information regarding Debtor’s
   4   inventory levels and activity. These reports were not the primary source for Morones’
   5   calculation but supported Morones and her team’s position regarding adjustments. Cone
   6   testified that he confirmed the M15 Data and Seller Central Data had not been modified.
   7          Lastly, during his deposition, Cone acknowledged gaps in their analyses were
   8   caused by missing Settlement Reports. He stated that, even if those gaps were filled, their
   9   conclusion would have remained the same. The calculation for unremitted sales to Debtor
  10   in Morones’ Damages Report did not consider the gaps because the calculation was based
  11   on the M15 Data, not the Settlement Reports. Furthermore, the gaps were only for the time
  12   periods of January 2010 and March 2010.
  13
  14                 9.     Stephen Ashworth.
  15          (Ashworth’s direct testimony was by designated portions of his August 19, 2020,
  16   videotaped deposition plus designations from his 91-page deposition transcript.)
  17          Ashworth’s testimony was limited to foundation for exhibits and to respond as a
  18   rebuttal witness. Ashworth was employed by the Trustee as a consulting expert witness
  19   and testified as to the documents and data he collected from the Debtor as well as his
  20   coordination with Morones and Mr. Cone in the development of Morones’s Damages
  21   Report.
  22          Ashworth accessed Seller Central starting in October 2013 up until the production
  23   of the M15 Data and downloaded all available relevant data related to Debtor’s
  24   transactions and inventory. Ashworth testified about the specific information he looked
  25   for in Seller Central including inventory event detail reports, monthly ending inventory
  26   reports, individual transactions, and Settlement Reports.
  27          Ashworth explained the difference between various types of Amazon’s reports and
  28   discussed how Settlement Reports are exclusive to sales in that they show money
                                                   46

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                            Main Document Page 46 of 145
   1   exchanged between Amazon and Debtor. Inventory reports include things such as receipts
   2   and adjustments and show the inner movement of inventory in Amazon’s warehouses.
   3   Ashworth further testified about the process for retrieving Settlement Reports from
   4   different time periods. Ashworth first began by downloading Settlement Reports between
   5   January 2012 and February 2014. Next, to obtain Settlement Reports prior to January
   6   2012, Lawcock and Peeples downloaded the Settlement Reports and produced them to
   7   Ashworth. Ashworth noticed gaps only in Settlement Reports Lawcock and Peeples
   8   produced.
   9          Lastly, Ashworth testified about the information and various reports he sent to
  10   Cone and Morones. Ashworth noted that during the 2014 mediation, Amazon discussed
  11   certain sales transactions not reported in Seller Central Data and that they were uncertain
  12   whether the Debtor was paid for those transactions. This, in Ashworth’s opinion, is what
  13   led to the production of the M15 Data.
  14
  15                   10.   Sean Lawcock.
  16          (Lawcock’s direct testimony was by designated portions of his April 23, 2019,
  17   videotaped deposition plus designations of his 158-page deposition transcript.)
  18          Lawcock’s testimony was limited to foundation for exhibits and to respond as a
  19   rebuttal witness. Lawcock was Debtor’s former inventory manager. He testified as to the
  20   Debtor’s inventory management practices, the Debtor’s internal inventory tracking
  21   difficulties, and the December 2012 inventory audit that serves as the basis for Amazon’s
  22   fraud claims.
  23          Lawcock began his career with Debtor as a purchaser on the merchant side and
  24   switched to a software specialist/inventory manager around 2011-2012.
  25          Prior to Debtor’s bankruptcy, while Lawcock was a purchaser, he created an
  26   internal tracking system for his own personal inventory. This system was built specifically
  27   for the Merchant Program, not the FBA Program. Post-bankruptcy, Lawcock started
  28   tracking the Debtor’s Settlement Reports so he would know when Amazon reversed a
                                                   47

Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19            Desc
                             Main Document Page 47 of 145
   1   sale. Amazon would reverse sales if a product was unsuccessfully shipped to the customer
   2   or returned. The Settlement Reports had a column listed as “Other,” which included a
   3   lump sum dollar amount for various items such as reimbursements and fees, making it
   4   difficult to independently track reimbursements. Eventually the Settlement Reports put
   5   reimbursements into its own category. Lawcock testified he had a poor experience in
   6   getting reimbursements from Amazon because he was consistently told by Amazon it was
   7   against their policy to refund for certain products, but he never received a reference to the
   8   actual policy stating this. He also testified that there were hundreds of instances where
   9   Amazon would state products were shipped to the Debtor’s warehouse even though he
  10   had the packing slips, and the products were not there.
  11          Lawcock discussed the Removal process implemented at Debtor and specifically
  12   the automated Removal program which Amazon offered to sellers. Lawcock noted the
  13   Debtor switched to a manual Removal program from an automated Removal program
  14   because, under the automated Removal program, products were randomly sent to Debtor
  15   and packaging slips were included less than 25% of the time. Without packaging slips,
  16   Debtor was unsure where the original product came from and why it was coming back.
  17   The automated Removal program also did not include reporting, which resulted in Debtor
  18   having to pull the return report from Seller Central and review each product to see if there
  19   was an item related to the order. If Debtor was unable to find a related item, Debtor would
  20   contact Amazon seller support group and request a reason for the returned product, a
  21   Removal order, and the original SKU. Under the manual Removal program, Debtor was
  22   able to implement a process and track which units were coming back to Debtor and why.
  23          In December 2012, Lawcock conducted an historical audit of Debtor’s entire
  24   inventory based on inventory data available in Seller Central for the years 2008 to 2011
  25   to determine the amount of inventory which should have then existed. As part of the
  26   auditing process, Lawcock identified discrepancies and then worked with seller support
  27   to resolve the discrepancies by either correcting the inventory count or receiving a
  28   reimbursement. At the end of the audit, Lawcock concluded there were 151,871 missing
                                                    48

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19             Desc
                            Main Document Page 48 of 145
   1   units from 2010 through 2012 and submitted this to Amazon for reimbursement at
   2   Bellino’s direction. In his deposition, Lawcock explained the 151,871 missing units were
   3   “gross missing units” that excluded the positive overages from Amazon. Lawcock
   4   believed Amazon misreported 151,871 units of Debtor’s inventory and these units were
   5   unaccounted for in Debtor’s inventory, regardless of the overages being taken into
   6   account. When asked how 151,871 units could have gone missing from 2010 through 2012
   7   without the Debtor’s knowledge, Lawcock explained it was because the auditing process
   8   had not begun until 2012.
   9
  10                 11.    Daniel A. Bellino
  11          (Bellino’s direct testimony was by designated portions of his April 22, 2019,
  12   videotaped deposition plus designations from his 265-page deposition transcript.)
  13          Bellino’s testimony was limited to foundation for exhibits and to respond as a
  14   rebuttal witness. Bellino was the Debtor’s former CEO. He testified as to the Debtor’s
  15   business practices; the Debtor’s participation in the FBA Program; the Debtor’s lack of
  16   inventory tracking, management, and organization; and the Debtor’s reimbursement
  17   claims.
  18          Bellino was the founder and Chief Executive Officer of Debtor. The designated
  19   portions of his depositions include situations in which Bellino could not answer a question
  20   based on lack of information or inability to recall the exhibit or fact. This testimony was
  21   not particularly revealing.
  22
  23          C.     Motion for Directed Verdict
  24          At the conclusion of Plaintiff’s case on trial day 3 at 11:35 am, Amazon moved for
  25   a directed verdict arguing that since the M15 Data was not admitted into evidence in
  26   Plaintiff’s case, there was insufficient data to support Plaintiff’s damage claims on Counts
  27
  28

                                                   49

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19            Desc
                            Main Document Page 49 of 145
   1   1 and 3 of the Complaint. The Court denied Amazon’s motion. Exhibits 131 200 and 161201
   2   were admitted into evidence.
   3
   4           D.       Amazon’s Witnesses
   5                    1.       Tasha Bachand
   6           (February 18, 2021, at 10:45 am to 11:27 am (Video) and February 18, 2021 at
   7   1:05 pm to February 19, 2021 at 1:40 pm (Live))
   8           Plaintiff introduced portions of Bachand’s videotaped deposition 202 in his case in
   9   chief. Defendant called Bachand as a live witness in its case and designated portions of
  10   her March 26, 2019, 76-page deposition. Bachand discussed Amazon’s FBA Programing
  11   inventory processes, inventory codes used by Amazon, the Deep Dive, the Seller Central
  12   Data and the M15 Data.
  13           Bachand began working for Amazon in 2015, well after Amazon terminated
  14   Debtor’s access to amazon.com and well after Plaintiff commenced this Adversary
  15   Proceeding. Bachand has been an Amazon manager for two years. She first became
  16   involved in Debtor’s inventory issues in August 2016, over three years after this
  17   Adversary Proceeding was commenced.
  18           Bachand described an ASIN Merge as a consolidation of two or more ASIN’s into
  19   one ASIN. She talked about having done a deep dive on some products. She indicated
  20   the M15 Data cannot be used to draw some of the conclusions Morones drew about
  21   Adjustments, Reimbursements and amounts unpaid by Amazon to the Debtor. Some
  22   Adjustments duplicate the coding of certain units. M15 Data does, however, show the
  23   total quantity of units “Adjusted.”
  24           In discussing the nature of Code Q designations for a given unit, Bachand
  25   confirmed that every single Code Q unit is accounted for somewhere else as a Code D
  26
       200
           M15 Data.
  27   201
           Seller Central Data.
       202
           Attachment 6 is a list of all the deposition designations by Amazon from the depositions of Azzarelli, Bachand,
  28   Ice, Lawcock, Moore, Bellino, Ashworth, Soder, and Cone.

                                                              50

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 50 of 145
   1   (destroyed), 5 (unrecoverable), M (misplaced) or Removed (destroyed or shipped back to
   2   Debtor per Debtor’s request). For these reasons, Amazon contends Code Q does not
   3   signify Amazon liability to Debtor. 203
   4              Bachand indicated that Code Q was inaccurately described on Seller Central so, in
   5   2018, Amazon revised the description in its Inventory Adjustments web page. 204
   6              Bachand discussed Ex. 245 and how when the Debtor on October 17, 2013, turned
   7   off the auto-Removal setting for its inventory account with Amazon. Any Removal
   8   requests would need to be made manually by Debtor thereafter. If a unit is useless for
   9   more than 90 days and Debtor has not asked that it be removed, Amazon would thereafter
  10   destroy that unit.
  11              Bachand indicated that, while M15 Data stops at month end, Settlement Data does
  12   not. This is one more reason these two data sets are not an exact match.
  13              Bachand agrees with the following data in the Morones’ Declaration:
  14                        1. Expected Ending Inventory                                     Units
  15                        Receipts                                                   6,316,429
                            Sales                                                     -5,978,113
  16                        Customer Returns                                             +63,445
  17                        Removals                                                   (344,906)
                            Adjustments                                                 (17,524)
  18                        Inventory as of January 31, 2014                              39,331
  19
  20              What Bachand does not agree with from Morones’ Declaration is her numbers
  21   concerning:
  22                        (a): 2. Reimburseable Adjustments:                                       72,357 Units
  23              Bachand noted there is some overlap of an unknown quantity between this line item
  24   from Morones and Adjustments or Removals referenced in the M15 Data or Seller Central
  25   Data.
  26                        (b): 3. Unpaid Refund Reimbursements                             $186,247
  27
       203
             DE 364, February 18, 2021, trial transcript at pg. 112.
  28   204
             See n.17 above. The Court will not factor these 2018 revisions in this Order.

                                                                  51

Case 2:13-ap-00799-DPC              Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                    Main Document Page 51 of 145
   1            This information cannot be accurately surmised from the M15 Data, and
   2                     (c): 4. Proceeds Not Remitted                                  $172,851 205
   3            Just because the M15 Data does not exist to refute this number 206 does not mean
   4   Debtor has proven a shortfall in sales proceeds remitted by Amazon to Debtor.
   5
   6                     2.       E. Weiant Williams
   7            (February 19, 2021, from 1:43 pm to 4:00 pm)
   8            E. Weiant Williams’ (“Williams”) direct testimony at trial was via his ten-page
   9   Declaration 207 (“Williams Declaration”). Williams’ Rebuttal Report dated September 14,
  10   2020, 208 is attached to his Declaration as Exhibit A. The Court will first address Williams’
  11   Rebuttal Report then his Declaration and, finally, his trial testimony.
  12
  13                              a)       Williams’ Rebuttal Report of September 14, 2020
  14            Williams is an Illinois certified public accountant and managing director of The
  15   Claro Group. His career has largely been focused on forensic accounting and accounting
  16   consultancy, especially in claims and disputes. His curriculum vitae is attached to this 36-
  17   page Rebuttal Report 209 as Exhibit 1. He charged $375 per hour for this engagement. A
  18   list of the information reviewed and considered in preparation of the Rebuttal Report is
  19   attached to that Report as Exhibit 2.
  20            Williams agrees with Morones in several respects. He agrees the data shows
  21   Amazon received 6,316,429 units from Debtor of which 5,978,113 units were sold. He
  22   also agrees that Morones is essentially right in determining that Returns 210 total 63,445
  23   units. That’s about the sum total of their consensus.
  24
  25
       205
           § VI(B)(2)(c) above.
  26   206
           Id.
       207
           Ex. 259.
  27   208
           Ex. 5. The “Rebuttal Report.”
       209
           Ex. 5.
  28   210
           A Return is defined as the reversal of a sale upon a customer’s refund request. See Attachment 1.

                                                               52

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                              Desc
                                 Main Document Page 52 of 145
   1           Williams’ presents six opinions, two related to unaccounted inventory, two related
   2   to proceeds unremitted to Debtor, one concerning prejudgment interest and one
   3   concerning stay violation damages. These opinions are discussed in order below.
   4           Williams breaks Unaccounted Inventory Damages down into two categories,
   5   Expected Ending Inventory and Reimbursement Adjustments.
   6           Opinion 1 – Expected Ending Inventory. Morones’ Damages Report calls for
   7   damages of $641,521 for unaccounted inventory. 211 Williams says the correct measure of
   8   such damages is between $0 and $137,516. The difference is, in part, because Morones
   9   used January 31, 2014, as the last date she considered inventory transactions. However,
  10   after that date, Amazon removed 19,890 units. 212 Williams contends the maximum
  11   unaccounted units total 20,405 but that Amazon gave Debtor Reimbursements for 28,541
  12   units 213 leaving Amazon having over-Reimbursed Debtor by 8,136 units. Williams finds
  13   Defendant owes nothing to Debtor for unaccounted units.                          If Adjustments are not
  14   considered, Williams says unaccounted units are, at most, 8,431 units which, at $16.31
  15   per unit, brings damages for unaccounted units to $137,516.
  16           Opinion 2 – Reimbursement Adjustments. Continuing with his discussion of
  17   unaccounted inventory, Williams’ second opinion is that Morones incorrectly added to
  18   her damage calculation $1,180,202 214 for Reimbursable Adjustments. In his view the data
  19   does not reliably show how many lost or damaged units Amazon is responsible for and
  20   which are not otherwise accounted for by Reimbursements Inventory transferred by
  21   Amazon into Debtor’s account and units which are already tallied as Unaccounted
  22   Inventory.
  23
  24
       211
           This number is the same in both the Morones Report and Morones Declaration.
  25   212
           Valued at $324,406 (19,890 units x $16.31/unit). 12,107 units were shipped back to Debtor while 7,783 units
       were destroyed per Debtor’s request. Exhibit 5 attached to trial Ex. 5 at page 73 is a chart that has two columns
  26   marked as “Post 1/31/2014.” The Court assumes the first of these two columns was meant to be identified as “Pre
       1/31/2014.”
  27   213
           Williams’ states that the M15 Data shows Amazon actually reimbursed Debtor for 41,911 units but only the
       “Warehouse Lost/Damage” amount of reimbursed units should be included here.
  28   214
           72,357 units.

                                                             53

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 53 of 145
   1           Adjustments are made through a series of codes such as Code F (unit Found), Code
   2   D (unit Destroyed), etc. These Adjustments can increase or decrease the Debtor’s
   3   inventory balance, or they can change a unit status from sellable to unsellable without a
   4   change to the overall inventory balance.
   5           Williams contends Amazon’s Adjustments codes cannot be used to determine the
   6   quantity of units that have been damaged, lost or stolen and for which Amazon is liable.
   7   There is not a 1:1 correlation between Adjustments transactions and discrete units. His
   8   reasons for this contention are:
   9           (a) A given unit of inventory cannot be traced from Receipt to disposition through
  10   the M15 Data. Morones used the M15 Data to attempt this tracing. 215
  11           (b) A given unit can have several coding events while in Amazon’s possession.
  12   That unit could be booked as a Receipt, but later coded as mis-placed (Code M), then
  13   found (Code F), then damaged in Amazon’s fulfillment center (Code E), and finally
  14   Removed (i.e. sent back to Debtor or destroyed). If the total amount of mis-placed
  15   inventory is added to the total number of units destroyed there will be some overlap. The
  16   extent of that overlap cannot be ascertained through the M15 Data.
  17           (c) Numerous codes do not signify a final disposition which would increase or
  18   decrease the number of Debtor’s inventory units. Codes P, E, H, K, Q, U, 6 and 7 result
  19   in a re-characterization between sellable and unsellable units. Using any of the M15 Data
  20   pertinent to units bearing these codes will incorrectly increase or decrease Morones’
  21   damage calculations.
  22           (d) Some coded data does not necessarily reveal who is responsible for the changed
  23   status of a given unit. A Code D (destroyed unit) could be Debtor’s loss (if, for example,
  24   it was destroyed because the unit was defective) or could be a loss for which Amazon is
  25   responsible (i.e. a unit damaged at Amazon’s warehouse). 216
  26
  27   215
           Morones herself noted this same problem and indicated she worked with total unit counts not individual units.
       See Trial Ex. 7 at Bates No. 700006.
  28   216
           See DE 310, Williams’ December 21, 2020, Declaration at page 6, ¶ 16e which further discusses this scenario.

                                                              54

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 54 of 145
   1            (e) The final disposition of a unit may not be reflected in Adjustments. If a unit is
   2   given a Code E it will likely be Removed but that Removal will not alter the number of
   3   units which were given a Code E. Some of those Code E units may remain in Ending
   4   Inventory, albeit as an unsellable unit.
   5            (f)   Morones assumes that a Lost/Damages Adjustment must give Debtor a
   6   reimbursement, but Amazon could simply replace the misplaced unit (Code M) with an
   7   identical unit owned by Amazon (Code N). Morones did not account for Code N units.
   8   The M15 Data indicates there were 16,585 Code N units. 217
   9            At bottom, Williams contends that Morones’ claim that Amazon is liable to Debtor
  10   for 72,357 units of Reimbursable Adjustments is based on unreliable assumptions
  11   pertaining to the three components of her Reimbursable Adjustments. 218
  12            Williams Rebuttal Report next focuses on two components of proceeds unremitted
  13   to Debtor by Amazon. Those components are sales proceeds not remitted to Debtor and
  14   Unpaid Refund Reimbursements.
  15            Opinion 3 - Sales Proceeds Not Remitted to Debtor. Generally Williams asserts
  16   that Morones’ analysis “regarding the unremitted proceeds are fraught with false
  17   assumptions and based on incomplete data, both of which lead to incorrect and unreliable
  18   conclusions.” 219 Williams notes Morones reliance on the Settlement Data to determine the
  19   $1,156,495 amount of sales proceeds not remitted to Debtor failed to account for six data
  20   gaps of 48 hours. 220 Morones and Cone were aware of these Data Gaps, but she did not
  21   disclose this in Morones’ Damage Report.                       When Amazon retrieved some of the
  22   information that could help fill the Data Gaps, it accounted for 87% of the so-called
  23
  24   217
           Williams’ Declaration at DE 310 also discussed Code 6 adjustments (damage by inbound carrier). Note that a
       Code 6 damage could be an Amazon responsibility (if Amazon’s carrier was used) or a Debtor responsibility (if a
  25   non-Amazon carrier was used). This further highlights the problem with using a given code as applicable to
       universally lay the damage responsibility on one party or the other. The Trustee reveals that only 2 units were coded
  26   6. See DE 396, p. 62, citing Trial Ex. 5, Williams’ Rebuttal Report at Ex. 5.
       218
           Those three components are (1) Warehouse Damage Adjustments (Codes D, E, 5, 6, and 7), (2) Lost/Found
  27   Adjustments (Codes M and F) and (3) Mis-Received Adjustments (Code X).
       219
           Trial Ex. 5, ¶ 46.
  28   220
           Defined by the Court as the Data Gaps. See Attachment 1.

                                                               55

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                             Desc
                                 Main Document Page 55 of 145
   1   unremitted sales proceeds. 221 Williams did not focus specifically on the $172,851 which
   2   Morones’ Declaration indicates would remain if the Data Gaps are filled.
   3            Opinion 4 - Unpaid Refund Reimbursements. Williams points out that Morones’
   4   calculated Unpaid Refund Reimbursements as $237,706 yet she failed to account for
   5   $41,985 of refunds reflected as “miscellaneous order adjustments.” Seeing this error,
   6   Morones’s Declaration corrected her damage number down to $195,721. 222 Williams
   7   points out that Morones appears to assume all Refund Reimbursements would appear in
   8   the Settlement Data as “refund reimbursal” but ignores the data showing some “refund
   9   reimbursements” are captured in “miscellaneous order adjustments.”
  10            Opinion 5 – Prejudgment Interest. Williams recounts how much of Morones
  11   damage amounts are incorrect. Then he calculates interest from the Complaint date 223 at
  12   the same 12% 224 used by Morones. He also criticizes Morones’ use of the “mid-point of
  13   Debtor’s relationship with the FBA Program.”
  14            Opinion 6 - Stay Violation Damages.                      Williams Rebuttal Report calculates
  15   Debtor’s stay violation damages to be, at most, $47,497. 225 He notes the period of the stay
  16   violation was 15 days 226 not 21 days as reported by Morones. He criticizes her for her use
  17   of a five-month damage period following the stay violation, suggesting there is no proof
  18   of such continued damage. Next, Williams contends Morones’ use of a baseline period
  19   from November 2012 to March 2013 is wrong because the Debtor’s sales had stabilized
  20   by July 2012. The average sales for those four earlier months were 14% less than the
  21   November to March sales. Finally, Williams claims Morones erred by assuming a sales
  22   growth rate from April through October 2014, while sales topped out several months
  23   before the stay violation. Using a July 2012 to March 2013 baseline period, Williams
  24   calculates Debtor’s April 2013 revenue at $1,495,357. The contribution margin would be
  25   221
           Morones declared that, if 87% of the Data Gaps were filled by this new information, the sales proceeds unremitted
       would drop to $172,851.
  26   222
           See Morones’ Declaration (Ex. 172) at page 4 but then her chart at page 6 states this number should be $186,247.
       223
           July 9, 2013.
  27   224
           12% is the legal rate under Washington law. The parties’ Contract is governed by Washington law.
       225
           See Exhibit 10 attached to his Report.
  28   226
           April 11, 2013 to April 25, 2013.

                                                               56

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                  Main Document Page 56 of 145
   1   9.8% or $147,165. Since Debtor’s actual April 2013 contribution margin was $99,668,
   2   he calculates that Debtor’s stay lift damages would not exceed $47,497. 227 Williams finds
   3   insufficient support for any damages after Amazon re-opened its online platform to Debtor
   4   after April 25, 2013.
   5           In summary, Williams finds Plaintiff’s damages could not exceed:
   6           (1) Unaccounted inventory - $0, if Adjustments are factored in. If Adjustments are
   7   not factored in it would produce a number for damages based on unaccounted inventory,
   8   of $137,516. Prejudgment interest on that amount would be $118,602,
   9           (2) Proceeds unremitted to Debtor - $0, 228 and
  10           (3) Stay violation damages - $47,497 resulting in total maximum damages of
  11   $303,615. 229
  12
  13                            b)       Williams Declaration
  14           Williams’ direct evidence at trial was presented in the form of his ten-page
  15   February 4, 2021, Declaration/Direct Testimony of E. Weiant Williams (“Williams
  16   Declaration”). 230 Attached as Exhibit A to the Williams Declaration is his Rebuttal Report
  17   from September 14, 2020. 231
  18           Williams Declaration is broken down into the same six opinions stated in his
  19   Rebuttal Report. His Declaration does not address changes made to Morones’ Damages
  20   Report in her February 5, 2021, Declaration because, of course, Williams’ Declaration
  21   was filed a day before Morones’ Declaration.
  22           Williams includes Table 1 232 which summarizes his calculations with and without
  23   Adjustments applied. Williams also corrects his Rebuttal Report to clarify that units
  24   designated with a Code E (damaged at Amazon’s fulfillment center) are not Removed but,
  25
       227
           $147,165 less $99,668 = $47,497.
  26   228
           But this seems to omit the $186,247 of Unpaid Refund Reimbursements.
       229
           This would become $489,862 if the unremitted proceeds number is $186,247.
  27   230
           Ex. 259.
       231
           See Ex. 5.
  28   232
           DE 259 at ¶ 31.

                                                            57

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19       Desc
                                Main Document Page 57 of 145
   1   rather destroyed (Code D) or transferred out of inventory (Code O). Next, Williams offers
   2   two hypotheticals that explain why his inventory accounting methodology is correct and
   3   compares it to how he believes Morones’ methodology would produce an incorrect tally
   4   of units handled by Amazon. Finally, Williams declares that, from January 2013 through
   5   June 2013, the Debtor paid Amazon fees of $2,206,369. 233
   6
   7                             c)      Williams’ Cross and Re-Direct Examinations
   8           (February 19, 2021, at 1:43 pm to 4:00 pm)
   9           Williams’ direct examination was exclusively done by his Declaration. His cross-
  10   examination revealed the following:
  11           Williams noted he had never testified in court as an expert, nor had he ever before
  12   done work for Amazon. Williams billed his time in preparing his Report at $375 per hour.
  13   Through October 2020 he and his group at Claro had billed $382,000 for the Rebuttal
  14   Report work.
  15           Williams interviewed none of the 14 people listed by Amazon as likely to have
  16   discoverable information. 234          He did, however, interview three Amazon employees
  17   (principally Bachand) but none of them worked for Amazon from 2008 to 2013. His first
  18   interview was on June 14, 2019. 235
  19           Williams indicated one must read the Inventory Adjustment document to
  20   understand how Amazon reconciles inventory it held for the Debtor. He also pointed to
  21   the Seller Central inventory policy, 236 which policy was periodically updated or revised.
  22   Williams described the Seller Central Data as going to the financial data of the parties’
  23   relationship whereas the M15 Data is about the Debtor’s inventory held by Amazon.
  24   Williams described the M15 Data as an “extremely, extremely large data set.” He
  25
  26   233
           Williams does not explain why that time frame is relevant or what data he relied upon to conclude the amount
       paid to Amazon.
  27   234
           Ex. 104.
       235
           Ex. 105.
  28   236
           Ex. 148.

                                                             58

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                Main Document Page 58 of 145
   1   acknowledged Amazon had a duty to maintain contemporaneous data records but does not
   2   know whether that duty extends to preservation of that data.
   3            Williams acknowledged his Rebuttal Report was incorrect concerning Code E
   4   (damaged at Amazon fulfillment center) implications. He corrected this error in his
   5   Declaration. Code E is not a code signifying Removal of a unit. Not all unsellable units
   6   (like Code E units) are subject to Removal. Not all of the 10,000 Code E units correspond
   7   to one unit per Code E designation.
   8            Williams indicated Code O (Out) units are unrelated to Code N (In) units. He says
   9   Code Q (Damaged-Miscellaneous) units are unsellable but are not chargeable to Amazon.
  10   A “Q” coding does not reduce units in Debtor’s inventory count. Amazon is not liable for
  11   a Code Q unit he says. Code Q was the most heavily used Inventory Adjustment code in
  12   the M15 Data at 168,526 237 units. Williams thinks the Code Q definition was poorly
  13   written by Amazon.
  14            Williams discussed the M15 Data’s reporting of software corrections identified as
  15   Code 1 (at 125,661 units), Code 2 (at (79,892) units), and Code J (at 30,897 units). These
  16   software correction codes do not refer to physical units but, rather are used to plug the
  17   difference between actual physical units and the virtual or electronic accounting of units.
  18   Williams says Software Code Adjustments are extremely complicated and are not
  19   susceptible for use in calculating Debtor’s inventory units.
  20            On October 17, 2013, Debtor changed its choice on how its inventory was to be
  21   Removed by Amazon. Prior to that date, Amazon automatically returned unsellable units
  22   to Debtor so long as the unit was not damaged in Amazon’s warehouse. After October 17,
  23   2013, Debtor had to manually request that Amazon return such unsellable units to the
  24   Debtor. 238 Bachand testified that if Debtor did request that such units be returned to
  25   Debtor, Amazon would destroy the unit 90 days after the unit was identified as
  26   unsellable. 239
  27   237
           Ex. 5, page 73.
       238
           February 18, 2021, Trial Transcript at 159:12 – 160:4. See also Ex. 245.
  28   239
           Id. at 160:5-8.

                                                                59

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19     Desc
                                  Main Document Page 59 of 145
   1           Although Debtor ceased its operations on January 31, 2014, Amazon either
   2   destroyed, sent back to Debtor or continued to retain Debtor’s units. Of the19,850 units
   3   removed after January 31, 2014, 9,500 were sellable as of January 31, 2014. A total of
   4   19,890 units were Removed (destroyed or shipped back to Debtor) after January 31, 2014,
   5   12,107 units were shipped to Debtor, and 7,783 units were destroyed. 240 Additionally, as
   6   of March 2015, the M15 Data showed Amazon continued to retain 20,405 241 units. No
   7   evidence was presented to indicate whether, after March 2015, Amazon returned these
   8   units to Debtor, destroyed the units, or otherwise compensated Debtor for those units. 242
   9           Code D (destroyed units) could be destroyed as unsellable units due to Amazon’s
  10   fault (Code E) or at Debtor’s responsibility (Code Q) so Code D is not a fair Adjustment
  11   to lay off on Amazon alone. 243
  12           Williams was not subjected to re-direct examination by Amazon’s counsel.
  13
  14                    3.       Timothy Shaffer
  15           (Defendant introduced Shaffer’s direct testimony by designating portions of his
  16   depositions from April 24, 2019, and July 3, 2019.)
  17           Shaffer was designated as a Fed. R. Civ. P. 30(b)(6) witness for Debtor in the July
  18   deposition.
  19           In his Rule 30(b)(6) Deposition, Shaffer testified about Debtor stabilizing its
  20   revenues after he became Trustee. Shaffer also reviewed the automatic stay violation
  21   damages in Morones’ Damages Report. Shaffer acknowledged Morones’ Damages Report
  22   stated the automatic stay violation period was 21 days while the Complaint alleged 14
  23   days. However, Shaffer was unable to testify as to which timeframe was accurate. Shaffer
  24   was also unable to testify as to Morones’ source in stating lost profits calculations
  25
       240
           DE 310, Williams Declaration of December 21, 2020.
  26   241
           DE 310, page 3, ¶ 12.
       242
           The Debtor could not, of course, have made a request to Remove these units because this data was not produced
  27   to the Trustee until his lawyers received the M15 Data, two years after the commencement of this Adversary
       Proceeding.
  28   243
           See Ex. 5, page 73, Code D line.

                                                              60

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 60 of 145
   1   extended to 21 days. Schaffer stated that his personal damage calculation for the stay
   2   violation would have been higher but acknowledged Morones’ estimate was reliable.
   3         In his April deposition, Shaffer discussed Bellino’s involvement in the bankruptcy
   4   proceeding and his expectations that Bellino would continue operating the business and
   5   carry out any directives requested by him. Shaffer testified that Bellino seemed
   6   straightforward, honest, and provided accurate information to him. Shaffer also testified
   7   about his limited relationship with Lawcock during the Debtor’s bankruptcy.
   8         At his April deposition, Shaffer reviewed the Complaint and tried to explain the
   9   basis of his allegations, including allegations as to why or how Amazon failed to account
  10   for inventory worth more than $1.5 million. Shaffer further discussed his understanding
  11   of what led Debtor to file for bankruptcy and noted there were lots of unanswered
  12   questions about Debtor’s inventory. Ultimately, Shaffer believed Debtor’s inability to
  13   rectify inventory issues led to significant working capital restraints. Schaffer also
  14   discussed Debtor’s consignment program through the FBA Program post-bankruptcy.
  15   The consignment program addressed Debtor’s issue with getting products and the
  16   vendors’ worries about not getting paid once their product was sold. Under the
  17   consignment program, a vendor’s product remained property of a vendor while that
  18   property was in Amazon’s fulfillment center. Shaffer also discussed Debtor’s inventory
  19   control systems prior to filing bankruptcy and explained Debtor relied mostly on Seller
  20   Central Data for information. After bankruptcy, however, Schaffer testified Debtor tried
  21   to internally implement better practices to track its inventory. Finally, Shaffer reviewed
  22   various Reimbursement claims submitted to Amazon by Bellino and Lawcock and
  23   discussed the reason and process for submitting the claims.
  24
  25                4.     Justin Ice
  26         (Defendant introduced Ice’s direct examination through designations from his
  27   deposition conducted on July 28, 2107.)
  28

                                                  61

Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                           Main Document Page 61 of 145
   1          Ice was hired by Amazon as an Investigation Specialist in 2013. In response to a
   2   seller’s request, Ice would research Amazon’s databases for information. Ice testified that
   3   he was frequently selected to conduct intensive reviews of high-volume sellers, including
   4   Debtor.
   5          Ice testified about Code M, which indicates a product is missing. A Code M
   6   automatically starts a 30-day timer. Unless the inventory is offset by a Code F, Amazon
   7   will issue a reimbursement within 30 days. If the reimbursement is of high value, upper-
   8   level management will review the reimbursement before it is processed. Ice also testified
   9   about how Amazon’s reimbursement liability can be offset by a Code N. A Code N is
  10   used when inventory, previously found and placed in an Amazon holding account, is
  11   transferred to the seller’s account as a replacement for the missing product. A product is
  12   placed in the Amazon holding account when Amazon’s ownership determination engine
  13   cannot identify where a product belongs.
  14          Ice further testified about the Deep Dive and reconciliation process he and
  15   Francisco Quintana performed. The Deep Dive was an attempt to look at Debtor’s top 100
  16   ASIN’s, review their accuracy, and determine trending issues. Ice testified that he believed
  17   the range selected was statistically relevant in terms of valuation and how it impacted
  18   Amazon’s potential liability. However, he ended up looking at more than just 100 ASIN’s.
  19          Ice also detailed what all that went into the Deep Dive. The crux of the Deep Dive
  20   involved tracking the potential changes or shifts in identifiers and seeing how many
  21   different identifiers existed. Ice explained the importance of knowing all the identifiers
  22   associated with a product to look at a product from a reconciliation standpoint. Ice
  23   testified that Debtor had multiple FNSKUs and MSKUs tied to a single ASIN, and it was
  24   apparent Debtor created multiple identifiers for either the same item or items which were
  25   merged into the same ASIN. Once Ice had collected all the identifiers, step 2 involved
  26   putting the data together and looking for things that did not make sense. Ice primarily
  27   relied on Seller Central Data and other tools that allowed him to track ASIN movement.
  28

                                                   62

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19            Desc
                            Main Document Page 62 of 145
   1   During this process, Ice noticed Debtor’s claim overlooked information in Seller Central
   2   Data, including reimbursements that occurred on order IDs.
   3         Ice also testified about Debtor’s claim that was submitted to Amazon. Ice
   4   acknowledged that he knew Flores worked on the claim. Ice reiterated Flores’ conclusions
   5   that the claim was conducive to errors and potentially offsetting or compensating events
   6   were not being used to resolve discrepancies across inventory items. Ice clarified that he
   7   never made conclusions about where Debtor’s data supporting its claim came from but
   8   was mostly concerned with checking the data’s validity.
   9
  10                5.     Jeff Moore
  11         (Defendant introduced Moore’s direct testimony by designating portions of his
  12   depositions from December 5, 2017.)
  13         Moore was designated as a Fed. R. Civ. P. 30(b)(6) witness for Amazon. During
  14   his deposition, Moore provided general background information on the FBA Program.
  15   Moore also testified about the differences between Amazon’s distribution centers and
  16   Amazon’s fulfillment centers and discussed Amazon’s inventory processes. Once a
  17   shipment arrived at an Amazon fulfillment center, Amazon associates (employees) would
  18   count items one by one and place them into a tote or cart. A tote is a plastic bin Amazon
  19   used to transport products to their designated shelf, where another associate would store
  20   the products. At the time products are counted associates are also to inspect for damage.
  21   If a product is damaged, the product is placed into a damaged tote. If the product arrived
  22   damaged, the product would be placed in the seller’s inventory and the seller could have
  23   the product Removed. Moore next explained Amazon’s Inventory Reconciliation formula,
  24   which helped sellers understand how much inventory they had on hand. Moore also
  25   explained that between 2008 and 2013 Debtor could check the inventory it had at an
  26   Amazon fulfillment center at any given time under a website link in Seller Central called
  27   Manage Your Inventory.
  28

                                                  63

Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                           Main Document Page 63 of 145
   1          Moore explained how Amazon allocates inventory events or damages among
   2   commingled products. Based on his recollection, Moore believed only one seller’s
   3   inventory would be in a tote at a time if products in the tote were commingled. Moore
   4   further explained how Amazon could ship another seller’s product to fulfill a customer
   5   order so long as the product was the same as the seller whose product was sold. The seller
   6   whose inventory made the sale would be reduced, and the seller whose product was
   7   shipped would be credited a unit.
   8          Moore further discussed how Amazon processes Reimbursements if a customer
   9   returns a product. When a customer returns a product, Amazon will run questionnaires
  10   and determine who is at fault for the return—the Debtor or Amazon. If Amazon is at fault,
  11   a Reimbursement is issued to Debtor, which is typically the sales price minus Amazon’s
  12   fees associated with the transaction. Moore also explained what happens when a product
  13   is not sold because of damage caused by Amazon. Amazon uses an Inventory Valuation
  14   System    that     searches   a    product’s   sale   history   to   determine   what     the
  15   replacement/reimbursement value is. Lastly, Moore discussed Code M and how Amazon
  16   has an obligation to reimburse Debtor typically within 30-days for missing products.
  17
  18                 6.      Eric Soder
  19          (Defendant introduced Soder’s direct examination through designations from his
  20   deposition conducted on July 27, 2017.)
  21          Soder was a Product Manager for Amazon in 2009. Soder testified about Amazon’s
  22   fulfillment center processes in 2009. When a package arrived at the Amazon fulfillment
  23   center it was placed on the receiver line. Next, an associate would look for a label
  24   identifying the seller and a unit barcode identifying the number of units in the shipment.
  25   The associate would ensure the seller and unit count matched the virtual shipment
  26   notification already in Amazon’s system. If Amazon’s system did not recognize the
  27   shipment, the shipment was flagged for a “problem solve” and set aside. Once a product
  28   was successfully “checked-in,” it was placed in a tote or on a designated shelf.

                                                      64

Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19             Desc
                             Main Document Page 64 of 145
   1          Soder testified about how and when missing codes and found codes were assigned.
   2   A Code M is typically assigned when units are cycle-counted, and a product is missing
   3   from its designated location. A Code F is only assigned if a problem-solving agent is
   4   unable to figure out where the missing unit came from. Whether a product gets a Code M
   5   or Code F, it is assigned a damaged adjustment code, which is reported in Seller Central.
   6   To determine what specific code should be assigned, a problem solver would offer
   7   different inputs into Amazon’s system. Based on the summation of inputs, Amazon’s
   8   system would determine the specific code. Soder also explained the hierarchy of Amazon
   9   warehouse employees. The basic pyramid structure, starting from the bottom, included
  10   receivers, pickers, packers, and problem-solving agents. Receivers simply received the
  11   shipments as they arrived and performed the check-in process. Pickers would search and
  12   find inventory when it was requested for removal. Packers packed inventory for shipment,
  13   and problem-solving agents evaluated inventory if there were issues.
  14          Lastly, Soder testified about his time visiting Debtor in Phoenix and Debtor’s
  15   operations. Soder went to Phoenix because Debtor was experiencing listing errors,
  16   meaning Debtor had products in Amazon’s fulfillment center that were not offered on the
  17   amazon.com for sale. Soder believes Debtor experienced listing errors because it would
  18   create an inbound shipment for Amazon to fulfill, send the inventory to Amazon, but then
  19   change the inventory back to merchant fulfilled and ship the product from Debtor’s
  20   warehouse. Soder testified about other issues Debtor faced, like products not showing as
  21   listed on Amazon’s website and a product’s ASIN listed on Amazon’s website resulting
  22   in a 404-page error. Soder also stated Debtor had issues with listing the same product at
  23   different price points and struggled to have inventory returned to Debtor’s warehouse.
  24   Soder testified that he thought Debtor’s overall operations were unorganized and that there
  25   was internal confusion.
  26
  27
  28

                                                   65

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                            Main Document Page 65 of 145
   1                 7.     Jeffrey Cone
   2          (Defendant introduced Cone’s direct examination through designations from his
   3   deposition conducted on August 17, 2020.)
   4          Cone testified regarding the scope of his engagement with Morones and his
   5   analysis, which informed Morones’ Damages Report. Specifically, Cone took data from
   6   different Seller Central Data, including Inventory Activity Reports and Inventory Status
   7   Reports, and imported the data into database tables to prepare summaries. However,
   8   Cone’s summaries were not the basis of Morones’ Damages Report. Cone also testified
   9   regarding the software programs he created to process the Excel file settlement data.
  10   Although he preserved the codes that the software program relied on, he did not preserve
  11   the software in a way in which Amazon could run it.
  12          Cone gave detailed testimony on information he relied on in his analysis and
  13   information he used for general background knowledge. For his analysis, Morones
  14   instructed Cone to focus only on the M15 Data and Seller Central Data. However, he did
  15   incorporate information from Amazon’s Amended Responses and Objections to the
  16   Trustee’s third set of discovery request and Amazon’s adjustment reason codes, which
  17   explains how Amazon defines the M15 Data adjustment codes. Cone also clarified he used
  18   all raw data for his analysis and not Ashworth’s analysis. Because Cone could not get a
  19   clear understanding from Ashworth on how he reached his conclusions, Cone used Power
  20   Builder to reverse engineer Ashworth’s work back to the original data source. Cone’s
  21   reverse engineering process was not reflected in Morones’ Damages Report.
  22          Cone further testified in detail about Settlement Reports he reviewed from 2003
  23   through 2013 and confirmed he tested the Settlement Reports for completeness at some
  24   point in 2018. This is how he noticed gaps in time where nothing was reported. Cone
  25   acknowledged that the gaps (Data Gaps) in the Settlement Reports were not disclosed in
  26   Morones’ Damages Report but confirmed he did notify Morones about the gaps. Cone
  27   testified no one looked for the missing information because they were previously told they
  28   had all the data that was available. Thus, Cone treated the gaps in his analysis as if Debtor

                                                    66

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19             Desc
                            Main Document Page 66 of 145
   1   did not receive any cash from Amazon during those periods. Although Cone testified he
   2   reviewed one of Debtor’s bank deposit statements and it matched cash transfers in the
   3   Settlement Report for that period, Cone claimed Debtor’s bank statements were
   4   unavailable for the periods of the Data Gaps.
   5
   6                       8.       Stephen Ashworth
   7              (Defendant introduced Ashworth’s direct examination through designations from
   8   his deposition conducted on August 19, 2020.)
   9              Ashworth is a technology consultant and the owner of Ashworth Consulting, LLC.
  10   Ashworth was originally engaged by the Trustee to assist in the perseveration of Debtor’s
  11   2013 records. Ashworth discussed how he preserved the Debtor’s records, and how he
  12   used a cloning tool to convert Debtor’s PCs into VHDs. 244 Ashworth testified that he
  13   believed, “electronic-record wise,” all Debtor’s records were preserved. He also
  14   confirmed he personally oversaw the collection of Debtor’s PCs.
  15              Ashworth explained what he accessed and downloaded from Seller Central
  16   including Settlement Reports, Inventory Event Detail Reports, Inventory Transaction
  17   Reports, and Monthly Ending Inventory Reports. The purpose of searching Seller Central
  18   was to track the final disposition of Debtor’s 6.5 million product units which were
  19   submitted to Amazon.
  20              Ashworth specifically testified about the Settlement Data in Seller Central. He was
  21   unable to retrieve the Settlement Data prior to January 2012 because Seller Central only
  22   had a 2-year look-back time limit. However, a former Amazon employee, Dewberry,
  23   instructed Debtor towards the end of 2011 and before Debtor’s full audit to download the
  24   Settlement Data from before 2012. Ashworth testified that he did notice gaps in the
  25   Settlement Data the Debtor’s employees downloaded and was told the gaps occurred
  26   because of problems with Seller Central timing out. He informed Morones and Cone of
  27   the gaps (the Data Gaps).
  28   244
             Defined in Attachment 1 as Virtual Hard Drives.

                                                               67

Case 2:13-ap-00799-DPC             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19       Desc
                                   Main Document Page 67 of 145
   1          Lastly, Ashworth testified about his initial engagement with the Trustee, whether
   2   he knew he would possibly be called as a testifying expert, as well as his relationship with
   3   Morones and Cone. Ashworth acknowledged that he thought he might provide expert
   4   testimony about inventory claims. However, once Morones became more involved,
   5   Ashworth became more of a secondary expert.
   6
   7                 9.      Thomas Reilly
   8          (Defendant introduced Reilly’s direct testimony by designating portions of his
   9   deposition from May 1, 2019.)
  10          Reilly was a former employee of Debtor and testified about his professional
  11   relationship with Bellino and Debtor’s operations. Reilly formed a professional
  12   relationship with Bellino while working at United Natural Foods and Lone Star
  13   Distribution. Bellino and Reilly’s professional relationship led to Reilly working for
  14   Debtor. After six to nine months of working for Bellino, Reilly quit working for Debtor.
  15   Reilly explained that he quit for multiple reasons, including his unhappiness with Debtor’s
  16   business practices. Reilly also testified that Bellino’s integrity played a role in his decision
  17   to leave Debtor. Reilly could not recall the specific point and time he started questioning
  18   Bellino’s integrity and business choices.
  19          Reilly testified about Debtor’s general operations and practices while he worked
  20   there. Regarding Debtor’s inventory tracking system, Reilly stated Debtor’s tracking was
  21   “not what [he] thought it would be” and it was “extremely low quality.” Further, Reilly
  22   testified that there seemed to be a disconnect between the buyers managing the inventory
  23   in Seller Central and the warehouse team managing the physical inventory in the building.
  24   Reilly further testified about Amazon’s FBA Program at the time he worked with Debtor,
  25   which FBA Program was still evolving. Reilly testified Amazon reached out to Debtor
  26   and helped Debtor get set up with the FBA Program.
  27          During his deposition, Reilly reviewed the Debtor’s Disclosure Statement and
  28   disagreed/agreed with certain statements. Reilly disagreed with the statement that Debtor

                                                     68

Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19               Desc
                             Main Document Page 68 of 145
   1   “changed its operating model from an Amazon fulfillment method to . . . merchant self-
   2   fulfillment.” He recalls while he was working for Debtor, the Debtor only shipped smaller,
   3   lighter items through the Merchant Program. However, Reilly agreed with statements
   4   blaming Debtor’s inventory tracking and internal processes for causing difficulty.
   5         Lastly, Reilly testified about Debtor selling expired products and how Bellino
   6   would sell products below Debtor’s cost because he wanted to win the “buy box.” By
   7   clicking the “buy box,” a customer automatically purchases from the seller with the
   8   cheapest price. Furthermore, Reilly described issues the Debtor had with tracking its
   9   products because employees would create new listings on Amazon without creating the
  10   item information in OMX, Debtor’s inventory tracking system.
  11
  12                10.    Sean Lawcock
  13         (Defendant introduced Lawcock’s direct testimony by designating portions of his
  14   deposition from April 23, 2019.)
  15         As part of his deposition, Lawcock testified Debtor did not entirely transition its
  16   operating model in 2010 from the FBA Program to the Merchant Program. Lawcock
  17   explained that under the Merchant Program, Debtor kept low inventory on the shelf
  18   because it could get most items directly from the merchants and still get orders out on
  19   time, rendering high volumes of inventory pointless. Because of this policy, Debtor did
  20   not have a procedure in place to keep track of products in its warehouse. Lawcock
  21   described the Debtor’s storing and tracking process of products in the warehouse as a
  22   “quick visual,” meaning a walk through the stored items would easily show what was
  23   available and what needed to be ordered.
  24         Debtor also did not track its sold inventory through the FBA Program prior to
  25   bankruptcy because the Debtor had faith in Amazon’s tracking systems. However, Debtor
  26   did use Seller Central Data to view the amount of inventory in Amazon’s fulfillment
  27   centers, what was available for sale, and the amount of inventory inbound to Amazon.
  28   Lawcock testified that he was not sure Debtor recorded any information Amazon provided

                                                  69

Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                           Main Document Page 69 of 145
   1   to Debtor. However, he maintained his own records through Microsoft Excel from 2010
   2   through 2011. After filing bankruptcy, Debtor created its own internal audit processes for
   3   tracking inventory.
   4          During his deposition, Lawcock testified about an email chain between Soder,
   5   Reilly, and himself with the subject line “Item Not In Catalog” regarding a 404 error
   6   message. In one email response, Soder explained the reason for the 404 error was because
   7   Debtor had “2 new SKUs mapped to the new ASIN.” Lawcock explained that this
   8   sometimes occurred when Amazon would merge two ASIN listings that seemed to be the
   9   same product ASIN Merge. The result of the ASIN Merge was multiple SKUs being
  10   assigned to the same ASIN, which impacted Debtor’s ability to track inventory.
  11   Responding to Soder’s email, Lawcock recommend that one of the SKUs be deleted.
  12   However, Lawcock clarified in his deposition that a SKU could never be deleted.
  13          Lawcock also testified about other situations that made Debtor’s ability to track its
  14   inventory difficult. For example, Amazon incorrectly formatted SKUs and there were
  15   “Dot Missing SKUs.” A “Dot Missing SKU” happened when Amazon would just choose
  16   a SKU for inventory it received if it did not know which SKU it belonged to. Without
  17   reaching out to Amazon, Debtor could not track its inventory because it was uncertain
  18   what was listed on the “Dot Missing SKU.”
  19
  20                 11.     Daniel A. Bellino
  21          (Defendant introduced Bellino’s direct testimony by designating portions of his
  22   deposition from April 22, 2019.)
  23          Bellino was an owner and founder of the Debtor. Bellino testified about the
  24   beginnings of Debtor’s operations in 2006 and what led the Debtor to file for bankruptcy.
  25   When the Debtor first used the FBA Program in 2007, Amazon’s reporting and data
  26   generation capabilities were limited. However, Amazon’s reporting improved over time.
  27   Bellino also testified about Debtor’s process for shipping products to Amazon. The Debtor
  28   would receive products from distributors, label the products with printed stickers provided

                                                   70

Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                             Main Document Page 70 of 145
   1   by Amazon, and ship the product to Amazon. Bellino further discussed Debtor’s
   2   consignment program process, where vendors would ship the product directly to Amazon,
   3   rather than Debtor.
   4             A large portion of Bellino’s deposition was dedicated to discussing his
   5   understanding of Debtor’s operations, the FBA Program, Amazon’s processes, and
   6   tracking inventory through Seller Central. Debtor relied on Seller Central Data and an
   7   internal SQL program to track inventory. Bellino explained the roles Lawcock, Reilly,
   8   Peeples, and Schmidt played in managing Debtor’s operations. Bellino also discussed the
   9   Debtor’s process for managing Aged Inventory, which is inventory that has not been sold
  10   within 90 days. Debtor had different processes for managing Aged Inventory under the
  11   FBA Program and the Merchant Program. Under the FBA Program, Debtor would try to
  12   either lower the price or call it back for a return. Bellino further testified about Debtor’s
  13   reorganization process and the steps Debtor took to improve its operations, like
  14   restructuring management to be more efficient. Debtor also hired SP Express, a third-party
  15   company, to outsource its supplier receiving and product shipment process to Amazon.
  16             During his Deposition, Bellino reviewed multiple emails between Bellino and
  17   Debtor’s other managers and emails from Amazon. The emails regarded Debtor’s
  18   operations through the FBA Program and primarily pertained to issues with inventory.
  19   However, Bellino did not remember any of the email communications and could not
  20   answer substantive questions. Bellino also reviewed multiple documents related to
  21   Debtor’s bankruptcy and operations during the deposition and, similarly, could not
  22   remember anything of substantive value.
  23
  24             E.    Post-Trial Proceedings
  25             Post-trial briefs were submitted by the Trustee on issues concerning burden of
  26   proof 245 and pre-judgment interest. 246 Amazon filed its briefs on the burden of proof
  27
       245
             DE 370.
  28   246
             DE 371.

                                                    71

Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19            Desc
                             Main Document Page 71 of 145
   1   issues 247 and pre-judgment interest issues. 248 Oral argument on these briefs was conducted
   2   on April 19, 2021, after which this matter was taken under advisement.
   3
   4           F.       Tentative Under Advisement Order
   5           On September 30, 2021, this Court issued its Tentative Under Advisement
   6   Order 249 and invited the parties “to supply their criticisms, corrections, and comments no
   7   later than October 29, 2021.
   8           The Court assumed both parties would find fault with the Court’s Tentative
   9   Under Advisement Order. The parties did not disappoint.
  10           By stipulation of the parties 250 comments were required by January 12, 2022, and
  11   responses by February 9, 2022. Oral argument was rescheduled. 251 The Trustee’s
  12   comments were timely filed 252 as were Amazon’s. 253 Amazon’s response 254 and
  13   Trustee’s reply 255 were also timely filed. Oral argument was held via Zoom.gov on
  14   February 24, 2022, after which the Court again took this matter under advisement.
  15
  16   VII.    ANALYSIS OF TRUSTEE’S CAUSES OF ACTION
  17           A.       Count 1: Failure to Turnover Estate Property Pursuant to § 542(a)
  18                    1.    Legal Analysis
  19           Section 542(a) states:
                  Except as provided in subsection (c) or (d) of this section, an entity, other
  20
                  than a custodian, in possession, custody, or control, during the case, of
  21              property that the trustee may use, sell, or lease under section 363 of this
                  title, or that the debtor may exempt under section 522 of this title, shall
  22
                  deliver to the trustee, and account for, such property or the value of such
  23
  24   247
           DE 376.
       248
           DEs 371 and 383.
  25   249
           DE 390.
       250
           DE 391.
  26   251
           DE 394.
       252
           DE 396.
  27   253
           DE 397.
       254
           DE 398.
  28   255
           DE 399.

                                                     72

Case 2:13-ap-00799-DPC        Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19             Desc
                              Main Document Page 72 of 145
                    property, unless such property is of inconsequential value or benefit to
   1
                    the estate.
   2
   3           The United States Supreme Court held that turnover was appropriate only “when
   4   the evidence satisfactorily establishes the existence of the property or its proceeds, and
   5   possession thereof, by the defendant at the time of the [turnover] proceeding.” 256 § 542(a)
   6   does not have a “present possession” requirement. 257
   7           Plaintiff’s turnover claim rises or falls with Plaintiff’s Count 3 breach of contract
   8   claim. If Plaintiff’s breach of contract claim is not proven, there would be nothing for
   9   Defendant to turnover to Plaintiff.
  10
  11                    2.       Conclusion on Turnover Claims
  12           Plaintiff’s turnover cause of action is closely intertwined with Plaintiff’s Count 3
  13   breach of contract claim. These two causes of action will be discussed together in the
  14   breach of contract section below.
  15
  16           B.       Count 2: Violation of the Automatic Stay Pursuant to § 362
  17                    1.       Legal Analysis
  18           Under the Bankruptcy Code, “[a]n individual injured by any willful violation of a
  19   stay … shall recover actual damages, including costs and attorneys' fees, and in
  20   appropriate circumstances, may recover punitive damages.” 258 While a corporate entity
  21   can be a person, it cannot be an individual for purposes of § 362 because “individual” is
  22   not synonymous with “person” under relevant provisions of the Bankruptcy Code. 259
  23   Nonetheless, a corporation may be entitled to recovery for a stay violation under § 105(a)
  24
  25   256
           Maggio v. Zeitz, 333 U.S. 56, 63–64, 68 S. Ct. 401, 405 (1948).
       257
           In re Newman, 487 B.R. 193, 201 (B.A.P. 9th Cir. 2013).
  26   258
           § 362(k)(1).
       259
            Johnston Environmental Corp. v. Knight (In re Goodman), 991 F.2d 613 (9th Cir. 1993). See also In re
  27   Chateaugay Corp., 920 F.2d 183 (2d Cir. 1990) (Corporation could not recover compensatory damages for creditor's
       willful violation of automatic stay; Bankruptcy Code provision authorizing award of damages was applicable only
  28   to natural persons).

                                                             73

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                Main Document Page 73 of 145
   1   as a sanction for civil contempt. 260 Under § 105(a), the Court may impose civil sanctions
   2   sua sponte for a stay violation. 261
   3            Generally, monetary civil sanctions are imposed to either compensate the
   4   complainant for their losses caused by the contemptuous conduct or to coerce the
   5   contemnor’s compliance with a court order. 262 When the purpose of sanctions is
   6   compensatory, a fine, payable to the complainant, must be based on evidence of actual
   7   loss. 263
   8            The Trustee need not prove by a preponderance of the evidence that Amazon’s
   9   actions caused a specific amount of damages or lost profits. It need only show Amazon’s
  10   actions caused the Debtor to lose profits. 264 Here, Amazon “should not profit from the
  11   difficulty in proving exact damages.” 265
  12            Plaintiff is not required to prove Debtor’s lost profits with “mathematical
  13   certainty.” 266 Rather, Plaintiff must demonstrate lost profits with reasonable certainty, in
  14   other words the “existence of damages must be taken out of the realm of speculation.” 267
  15   Moreover, Plaintiff is not required to prove that Amazon’s stay violation was the exclusive
  16   cause of Debtor’s lost profits. Rather, in proving Debtor’s lost profits, “all that is required
  17   is a probability” that Amazon’s actions caused Debtor’s loss. 268
  18            At a hearing on April 26, 2013, the Court found Amazon willfully violated the
  19   automatic stay. 269 At trial, the Court heard evidence from the Trustee and Azzarelli about
  20
       260
           In re H Granados Commc'ns, Inc., 503 B.R. 726, 733 (B.A.P. 9th Cir. 2013) (Citing Johnston Envtl. Corp. v.
  21   Knight (In re Goodman), 991 F.2d 613, 620 (9th Cir. 1993)). See also In re Dyer, 322 F.3d 1178, 1191 (9th Cir.
       2003) (for civil contempt purposes, the automatic stay under § 362 “qualifies as a specific and definite court order.”).
  22   261
           § 105(a) (“No provision of this title providing for the raising of an issue by a party in interest shall be construed
       to preclude the court from, sua sponte, taking any action or making any determination necessary or appropriate to
  23   enforce or implement court orders or rules, or to prevent an abuse of process.”).
       262
           Int'l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 829, 114 S. Ct. 2552, 2558 (1994).
  24   263
           U.S. v. United Mine Workers of America, 330 U.S. 258, 303, 67 S. Ct. 677, 701 (1947).
       264
           HSS Enters., LLC v. Amco Ins. Co., 2008 WL 1787127, at *13 (W.D. Wash. Apr. 16, 2008).
  25   265
           Milgard Tempering, Inc. v Selas Corp. of America, 902 F.2d 703, 710 (9th Cir. 1990).
       266
           In re Visser, 660 Fed. Appx. 553, 538 (9th Cir. 2016) quoting the Idaho Supreme Court case of Trilogy Network
  26   Systems, Inc. v Johnson, 172 P.3d 1119, 1121 (2007). This Court presumes the 9th Circuit cites to the Idaho Court
       in general approval of this proposition as well as the proposition referenced in the next footnote below.
  27   267
           Id. Quoting the Idaho Court in the case of Anderson & Nafziger v GT Newcomb, Inc., 595 P.2d 709-716 (1979).
       268
           Ranger Enterprises, Inc. v Leen & Associates, 1998 WL 668380 at *2 (9th Cir. Sept 21, 1998).
  28   269
           Admin DE 262.

                                                                 74

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                Desc
                                  Main Document Page 74 of 145
   1   the fallout that occurred following the 15 days in April 2013 where Amazon violated the
   2   stay by denying Debtor access to its only sales outlet, namely the amazon.com online
   3   platform. Even after this Court ordered Amazon to open its platform to Debtor, Debtor’s
   4   sales never recovered or even came close to pre-stay violation levels. 270 Moreover,
   5   Debtor’s vendors and Plan supporters were “spooked” by Amazon’s actions and Debtor’s
   6   vulnerability to the actions of Amazon, Debtor’s sole online access provider. Debtor had
   7   no other platform where it could sell its products besides amazon.com.
   8           This Court finds that reviewing testimony by Azzarelli and the Trustee as well as
   9   reviewing the Debtor’s monthly operating reports 271 and Morones’ Damages Report
  10   reveals that Amazon’s stay violations did cause Debtor to lose significant profits. Even if
  11   other market factors were at play in Debtor’s business between April 2015 and October
  12   21, 2015, this Court finds Amazon’s stay violation was far and away the precipitating
  13   cause of Debtor’s lost profits. Evidence of Debtor’s track record of profitability and
  14   precipitous decrease in profitability during and after Amazon’s stay violations support this
  15   Court’s conclusions. Amazon suggests other factors created headwinds against Debtor’s
  16   financial performance but has not persuaded this Court that such challenges were either
  17   material or should reduce Debtor’s lost profits in any event.
  18           Amazon’s stay violation not only denied Debtor’s ability to sell products from
  19   April 11 through April 26, 2013, 272 but Debtor’s sales were dramatically diminished
  20   thereafter until October 22, 2013, when Amazon once and for all shut down Debtor’s
  21   access to its platform. Williams calculated Debtor’s stay violation damages only in the
  22   month of the stay violation. The Court rejects this approach as Debtor’s damages caused
  23   by Amazon’s violation of the stay extended through to the date Amazon terminated
  24   Debtor’s access to Amazon’s online platform. The Court finds Amazon is liable to Debtor
  25
  26
       270
           See Ex. 7, Table 6a.
  27   271
           See Trial Ex. 160 as well as the Debtor’s monthly operating reports for July 2012 (Admin DE 179), August 2012
       (Admin DE 180), September 2012 (Admin DE 198), and October 2012 (Admin DE 199).
  28   272
           DE 332, page 16, ¶ 20.

                                                              75

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 75 of 145
   1   for the contribution margin on Debtor’s reduced sales from April 11, 2013 to October 22,
   2   2013.
   3           While cross-examination also revealed that some of Debtor’s sales may have been
   4   of products which Amazon prohibited to be sold on its platform, the Court will not reduce
   5   Plaintiff’s stay violation damages due to those sales because, prohibited by Amazon or
   6   not, those sales were a part of Debtor’s revenues and those revenues dropped precipitously
   7   when Amazon wrongfully denied Debtor access to Amazon’s platform for 15 days in April
   8   2013. The fact that Debtor also reduced sales prices of some of its products from April
   9   2013 to October 2013 does not aid Amazon’s defense to the stay violation damages.
  10   Debtor’s reduced prices highlight Debtor’s desperate cash flow predicament occasioned
  11   by Amazon’s stay violation. Amazon may not now profit by reducing Debtor’s stay
  12   violation damages by the difference between (1) what those units would ordinarily sell for
  13   and (2) what those units sold for during this April to October 2013 cash crisis caused by
  14   Amazon.
  15           Morones testified that the stay violation damages suffered by Debtor should be
  16   measured by expected revenues from April 2013 through October 22, 2013, multiplied by
  17   a 9.7% contribution margin less the actual contribution margin realized by Debtor during
  18   this time frame. Morones gauged expected revenues by using average monthly sales from
  19   November 2012 through March 2013 273 to which she then added a 0.2% expected monthly
  20   sales growth. The April 2013 expected revenue number was $1,591,877 274 but every
  21   month thereafter Morones increases expected revenue by the 0.2% projected sales growth.
  22           This Court discerns two flaws in Morones’ projected revenue numbers. First, the
  23   Court finds Morones’ 0.2% projected sales growth was not supported by the data
  24   regarding Debtor’s sales from July 2012 to March 2014. The Court will not apply a
  25   growth factor to the revenue projections from May through October 2013. Second, the
  26   Trustee testified that Debtor’s revenues were stabilized beginning in July 2012. Morones
  27   273
           Exhibit 240. Here, Amazon’s counsel tells Morones to use November – March 2013 numbers for stabilized gross
       income.
  28   274
           Ex 7, Tables 6 and 6A contain Morones’ calculations of Debtor’s stay violation damages.

                                                             76

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                         Desc
                                Main Document Page 76 of 145
   1   should have used average monthly sales from July 2012 through March 2013, not
   2   November 2012 through March 2013. This produces an average gross monthly sales
   3   amount of $1,495,357 over this nine-month period, not the $1,591,877 amount used by
   4   Morones to project April 2013 sales. 275 Using this nine-month period also produces a
   5   9.8% contribution margin percentage.
   6           Applying the margin of 9.8% to the stabilized monthly gross sale number of
   7   $1,495,357 produces a contribution margin of $147,165 per month. From this, the actual
   8   contribution margin must be subtracted, and the month of October 2013 must be prorated.
   9   The Court’s calculations produce total lost profits of $668,484. 276
  10
  11                    2.       Conclusion on the Stay Violation Claims
  12           Amazon is liable to Plaintiff for loss profit damages of $668,484 plus interest from
  13   the date of judgment, until paid, at the federal rate. 277
  14
  15           C.       Count 3: Breach of Contract
  16                    1.       Legal Analysis
  17           The Parties’ Contract specifies application of Washington law in the event of a
  18   dispute. 278 Under Washington law, a breach of contract is actionable only if the contract
  19   imposes a duty, the duty is breached, and the breach proximately causes damage to the
  20   claimant. 279 The Trustee asserts in Count 3 of the Complaint that Amazon breached the
  21   FBA Agreement by: (1) not sending a Notice of Material Default to the Debtor before
  22   terminating the FBA Agreement, as required by the terms of the FBA Agreement; (2)
  23   improperly and wrongfully purporting to terminate the FBA Agreement and denying the
  24   Debtor access to the Amazon Platform; and (3) failing to store, maintain, preserve, and
  25
       275
           See Attachment 7 to this Order.
  26   276
           The aggregate monthly lost profits from May 2013 through October 22, 2013. See Attachment 8.
       277
           See 28 U.S.C. § 1961.
  27   278
           Ex 1 at PDF page 10 of 38.
       279
           C 1031 Props., Inc. v. First Am. Title Ins., 301 P.3d 500, 502 (Wash. Ct. App. 2013) (quoting Nw. Indep. Forest
  28   Mfrs. v. Dep't of Labor & Indus., 899 P.2d 6, 9 (Wash. Ct. App. 1995)).

                                                              77

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 77 of 145
   1   account for the Debtor’s inventory and failing to compensate the Debtor for “Lost
   2   Inventory.” 280
   3
   4                    2.       Burden of Proof
   5           Under Washington law, the claimant must prove damages with reasonable
   6   certainty, meaning by a preponderance of the evidence. 281 The “doctrine respecting the
   7   matter of certainty, properly applied, is concerned more with the fact of damage than with
   8   the extent or amount of damage.” 282 Once the claimant establishes the fact of loss with
   9   certainty, uncertainty regarding the amount of loss will not prevent recovery. 283 Thus, a
  10   plaintiff “will not be required to prove an exact amount of damages, and recovery will not
  11   be denied because damages are difficult to ascertain… Generally, whether the plaintiff
  12   has proved his loss with sufficient certainty is a question of fact.” 284 Any doubts about
  13   certainty are generally resolved against the party who breached the contract. 285
  14           Although the exact amount of damages need not be shown with mathematical
  15   certainty, a claimant must come forward with sufficient evidence to support a damages
  16   award. 286 Evidence of damages “is sufficient if it affords a reasonable basis for estimating
  17   loss and does not subject the trier of fact to mere speculation or conjecture.” 287 The
  18   damages must be susceptible of ascertainment in some manner and by reference to some
  19   definite standard, such as “market value, established experience, or direct inference from
  20
       280
           DE 1, ¶¶ 39–47.
  21   281
           Greensun Grp., LLC v. City of Bellevue, 436 P.3d 397, 409 (Wash. Ct. App. 2019); Lewis River Golf, Inc. v. O.M.
       Scott & Sons, 845 P.2d 987, 990 (Wash. 1993).
  22   282
            Columbia State Bank v. Invicta L. Grp. PLLC, 402 P.3d 330, 342 (Wash. 2017) (quoting Gaasland Co. v.
       Hyak Lumber & Millwork, Inc., 257 P.2d 784 (Wash. 1953)).
  23   283
           Mut. of Enumclaw Ins. Co. v. Gregg Roofing, Inc., 315 P.3d 1143, 1150 (Wash. Ct. App. 2013) (quoting Lewis
       River Golf, Inc. v. O.M. Scott & Sons, 845 P.2d 987, 990 (Wash. 1993)).
  24   284
           Id.
       285
           Larsen v. Walton Plywood Co., 390 P.2d 677 (Wash. 1964), adhered to, 396 P.2d 879 (Wash. 1964); Northwest
  25   Land & Inv., Inc. v. New West Federal Sav. and Loan Ass'n, 786 P.2d 324 (Wash. Ct. App. 1990); Restatement
       (Second) of Contracts § 352, comment a. See also Moore v. Health Care Auth., 332 P.3d 461, 468 (Wash. 2014), en
  26   banc (The breaching party bears “the risk of the uncertainty which his own wrong has created.”).
       286
           Fed. Signal Corp. v. Safety Factors, Inc., 886 P.2d 172, 188 (Wash. 1994); Mut. of Enumclaw Ins. Co. v. Gregg
  27   Roofing, Inc., 315 P.3d at 1150 (citing O'Brien v. Larson, 521 P.2d 228 (Wash. Ct. App. 1974)).
       287
           Mut. of Enumclaw Ins. Co. v. Gregg Roofing, Inc., 315 P.3d at 1150 (quoting Clayton v. Wilson, 227 P.3d 278
  28   (Wash. 2010)).

                                                              78

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 78 of 145
   1   known circumstances.” 288 The factfinder does not commit speculation when, “once the
   2   fact of damage is established, it is permitted to make reasonable inferences based upon
   3   reasonably convincing evidence indicating the amount of damage.” 289 On a challenge as
   4   to the sufficiency of evidence, “all evidence must be taken in the light most favorable to
   5   the plaintiff, and he is entitled to all reasonable inferences.” 290 The amount of damages
   6   generally is a question of fact. 291
   7
   8                              a)       Burden Shifting
   9            Generally, a plaintiff bears the burden of proving all elements of their claim. 292 A
  10   plaintiff establishing a prima facie case does not shift the burden of proof or require the
  11   defendant to prove the negative by a preponderance of the evidence. 293 Instead, it merely
  12   requires the submission of the issue to the factfinder to determine the preponderance of
  13   the evidence. 294 Additionally, a plaintiff’s lack of proof on a vital fact may not be cured
  14   by the defendant’s failure to prove the negative. 295
  15            Trustee asserts that once he has met his burden, the burden then shifts to Amazon
  16   to persuade the Court to the contrary with admissible evidence. 296 Specifically, the Trustee
  17   asserts: (A) once the Trustee met its burden of proving inventory shrinkage through the
  18   inventory adjustment reports, the burden shifted to Amazon to disprove such; 297 (B) for
  19
       288
           Gaasland Co. v. Hyak Lumber & Millwork, Inc., 257 P.2d 784, 788 (Wash. 1953) (emphasis supplied) (quoting
  20   15 AM. JUR., Damages, 414, § 23)).
       289
           Gaasland Co. v. Hyak Lumber & Millwork, Inc., 257 P.2d 784, 788–89 (Wash. 1953) (“Once such a prima facie
  21   showing is made, there is sufficient evidence in the record to permit reasonable inferences to be drawn therefrom as
       to the extent of damage.”).
  22   290
           O'Brien v. Larson, 521 P.2d 228, 231 (Wash. Ct. App. 1974) (citing Couie v. Local 1849, United Brotherhood of
       Carpenters & Joiners of America, 316 P.2d 473 (Wash. 1957)).
  23   291
           Mut. of Enumclaw Ins. Co. v. Gregg Roofing, Inc., 315 P.3d at 1150.
       292
           Cedar River Water & Sewer Dist. v. King Cnty., 315 P.3d 1065, 1073 (Wash. 2013).
  24   293
           Gillingham v. Phelps, 119 P.2d 914, 919 (Wash. 1941) (“[T]he burden of proof, meaning the obligation to establish
       the truth of the claim by a preponderance of the evidence, rests throughout upon the party asserting the affirmative
  25   of the issue, and unless he meets this obligation upon the whole case [,] he fails.”).
       294
           Gillingham v. Phelps, 119 P.2d 914, 919 (Wash. 1941).
  26   295
           Emerick v. Bush, 220 P.2d 340, 342 (Wash. 1950) (“The lack of affirmative proof of a vital fact may not be cured
       by the opposing litigant’s failure to prove the negative thereof.”).
  27   296
           DE 370, pg. 3, lines 11–13. See also pg. 6, lines 24–25, “Amazon had the burden to produce competent evidence
       to refute the trustee’s evidence.”
  28   297
           DE 370, pg. 10, lines 21–22

                                                               79

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                  Main Document Page 79 of 145
   1   Amazon to avoid liability for Code Q units, Amazon had the burden to present admissible
   2   evidence showing that Code Q units had not been damaged while being stored and its
   3   failure to do so means Amazon is liable for them; 298 (C) Amazon failed to meet its burden
   4   showing Morones double-counted inventory under certain adjustment codes through the
   5   use of Bachand’s testimony and the demonstrative chart illustrating three hypothetical
   6   scenarios; 299 (D) Amazon failed to meet its burden to provide sufficient admissible
   7   evidence supporting their maximum liability was limited to the loss of 36,792 units;300
   8   and (E) Amazon failed to meet its burden to prove that some of the Debtor’s inventory
   9   fell into one of the four exceptions outlined in the FBA Reimbursement Policy that limit
  10   Amazon’s duty to pay. 301
  11            If Amazon were raising an affirmative defense, then the burden-shifting and
  12   preponderance of the evidence standard would be required. 302 However, Amazon is not
  13   raising an affirmative defense; it merely argues the Trustee failed to meet its burden of
  14   proof on the element of damages being shown by reasonable certainty and with sufficient
  15   evidence. 303 An affirmative defense is distinguishable from an attack on a plaintiff’s case-
  16   in-chief: “A defense which demonstrates that plaintiff has not met its burden of proof is
  17   not an affirmative defense.” 304 Likewise, a defense that negates an element that a plaintiff
  18
  19
  20
  21   298
           DE 370, pg. 9, lines 6–8.
       299
           DE 370, pg. 12–13.
  22   300
           DE 370, pg. 13, lines 21–24.
       301
           DE 385, Trustee’s Reply, pg. 1, lines 26–28, pg. 2, lines 1–8.
  23   302
           Lake Hills Invs. LLC v. Rushforth Constr. Co., Inc., 472 P.3d 337, 344 (Wash. Ct. App. 2020), review granted, 481
       P.3d 546 (Wash. 2021) (explaining a defendant bears the burden of proving an affirmative defense and that an
  24   affirmative defense pleads matters extraneous to the plaintiff’s prima facie case, which deny plaintiff’s right to
       recover even if all allegations set forth in the complaint are true) (first quoting Erickson v. Biogen, Inc., 417 F. Supp.
  25   3d 1369, 1386 (W.D. Wash. 2019); then citing Fed. Deposit Ins. Corp. v. Main Hurdman, 655 F. Supp. 259, 262
       (E.D. Cal. 1987) (“[A]n affirmative defense puts the plaintiff on notice that matters extraneous to his prima facie
  26   case are in issue and ordinarily allocates the burden of proof on the issue.”)).
       303
           DE 376, Amazon’s Response on Burden of Proof, pg. 2, lines 23–24, “The Trustee is trying to shift the burden of
  27   proof because the evidence does not support his claims ….”
       304
           Zivkovic v. S. California Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002) (citing to Flav–O–Rich v. Rawson Food
  28   Service, Inc. (In re Rawson Food Service, Inc.), 846 F.2d 1343, 1349 (11th Cir. 1988)).

                                                                  80

Case 2:13-ap-00799-DPC             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                Desc
                                   Main Document Page 80 of 145
   1   was required to prove is not an affirmative defense. 305 Such defenses are merely rebuttal
   2   against the evidence presented by the plaintiff. 306
   3            Trustee asserts Amazon was in possession of the inventory and had a duty to keep
   4   track of that inventory. Because Amazon was in a better position to know and produce
   5   facts concerning Debtor’s inventory and what happened, Trustee controls the burden shifts
   6   to Amazon. 307
   7            Plaintiff cites to the King County case for the proposition that a party in exclusive
   8   control of damage evidence bears the shifting burden to disprove by a preponderance of
   9   the evidence that Plaintiff has not been damaged.                         King County holds that when
  10   information necessary to proof is “exclusively within the knowledge of one or the other
  11   of the parties, the burden would be upon the party possessed of that knowledge to make
  12   the proof.” 308 Exclusive means “shutting out all others from a part or share.” 309 Unlike
  13   King County, here Debtor had access to information regarding its inventory through the
  14   Seller Central Data, at least prior to October 22, 2013. 310 Furthermore, even if Amazon
  15   had exclusive knowledge of relevant information regarding Debtor’s inventory, this was
  16   largely cured when Amazon produced the M15 Data, depositions of its employees, and
  17   other discovery requests submitted by the Trustee. Because this Court finds that relevant
  18   information regarding the Debtor’s inventory was not exclusively in the hands of Amazon,
  19   the Court also finds the burden of proof does not shift to Amazon.
  20   305
           Zivkovic v. S. California Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002) (“[Defendant’s] attempt to prove that
       it provided a reasonable accommodation merely negates an element that [Plaintiff] was required to prove and
  21   therefore was not an affirmative defense …”).
       306
           LL B Sheet 1, LLC v. Loskutoff, 362 F. Supp. 3d 804, 818 (N.D. Cal. 2019) (quoting Zivkovic v. S. California
  22   Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002)).
       307
           DE 370, pg. 6, lines 9–13, “The same principle applies here: because Amazon was in possession of the inventory
  23   and had a duty to keep track of it, it was in a better position than the trustee to explain what happened. The Court
       should thus place the burden on Amazon to prove the precise amount of inventory that was lost, damaged, or
  24   destroyed, and if Amazon can’t do so, then the Court should accept the trustee’s evidence of damages, even if it’s
       only approximate.” See also pg. 7, lines 16–18, “Amazon had the duty under the contract to keep track of [Debtor’s]
  25   inventory, and Amazon was ‘in position to know and to produce the most probative facts concerning that inventory.”
       See also pg. 2, lines 4–6, “[I]n which the defendant – Amazon – had sole access to and control of the facts relating
  26   to [Debtor’s] inventory.”
       308
           Cedar River Water & Sewer Dist. v. King Cnty., 315 P.3d 1065, 1073 (Wash. 2013) (quoting Jolliffe v. N. Pac.
  27   Ry., 100 P. 977 (Wash. 1909)).
       309
           Exclusive, Dictionary.com, https://www.dictionary.com/browse/exclusive (last visited May 17, 2021).
  28   310
           Defined in Attachment 1 as the Termination Date.

                                                               81

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 81 of 145
   1            The Washington Constitution assigns to the factfinder the ultimate power to weigh
   2   the evidence and determine the amount of damages to be awarded, if any. 311 If the Trustee
   3   fails to meet its burden of proof, the failure cannot be cured by the Court placing the
   4   burden on Amazon to prove the negative and Amazon’s failure to do so. 312 Likewise, if
   5   the Trustee does meet his burden of establishing a prima facie case, the burden does not
   6   shift to Amazon, nor does it require Amazon to prove the negative by the preponderance
   7   of the evidence.
   8
   9                              b)       Conclusions Regarding Burden of Proof
  10            An important component of the theory of Plaintiff’s damages claim is that Debtor’s
  11   Contract with Amazon, in effect, called for a “Black Box” into which Debtor shipped its
  12   inventory. Plaintiff contends that only Amazon controlled the inventory in the Black Box
  13   and any reporting on what was happening in the Black Box was controlled by Amazon.
  14   The Trustee suggests that if he could not fully or accurately prove damages then the master
  15   of the Black Box (Amazon) should bear the burden of demonstrating all of what Amazon
  16   did with Debtor’s inventory. In effect, the Trustee suggests Amazon had the responsibility
  17   to show it was not liable to Debtor and did not cause damage to Debtor rather than Plaintiff
  18   having the burden of proving Amazon’s breach of contract and the damages flowing from
  19   the breach.
  20            Plaintiff’s Black Box theory reminds the Court of the tort concept of res ipsa
  21   loquitur 313 where “the mere fact of an accident’s occurrence raises an inference of
  22   negligence that establishes a prima facie case.” 314 Plaintiff has not cited a case applying
  23   this concept to a breach of contract case and the Court will not do so now to either find a
  24   breach by Amazon or impose upon Amazon a burden to disprove Plaintiff’s damages.
  25   311
           Columbia Park Golf Course, Inc. v. City of Kennewick, 248 P.3d 1067 (Wash. Ct. App. 2011) (trial court properly
       submitted damages claim to jury).
  26   312
           DE 370, pg. 6, lines 11–13, “The Court should thus place the burden on Amazon to prove the precise amount of
       inventory that was lost, damaged or destroyed, and if Amazon can’t do so, then the Court should accept the trustee’s
  27   evidence of damages, even if it’s only approximate.”
       313
           A Latin phrase which translates as “the thing speaks for itself.”
  28   314
           Black’s Law Dictionary, 9th Ed.

                                                               82

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 82 of 145
   1   Among other things, Amazon did not alone control all the data in the Black Box. The data
   2   was always shared with Debtor. Testimony at trial 315 suggested that Debtor maintained
   3   poor inventory records and Debtor often operated in a chaotic state. It is not clear to this
   4   Court that the Debtor preserved all the Seller Central Data or that the information stored
   5   by the Debtor was accurate. 316 However, even if this Seller Central Data or the Settlement
   6   Data was fully preserved by the Debtor, it was not introduced into evidence at trial by the
   7   Trustee. The Court rejects the Trustee’s “Black Box” theory of shifting the burden it bears
   8   to prove Amazon’s breach and/or Plaintiff’s damages.
   9
  10                    3.       Findings Regarding Breach of Contract and Damages
  11                             a)       Calculating Replacement Value
  12           Under the Contract, Amazon is to pay Debtor the Replacement Value of a product
  13   unit for which Amazon destroys, loses, etc. The Replacement Value calculated by
  14   Morones is consistent with the FBA Lost and Damaged Inventory Reimbursement Policy.
  15   This Contract provision specifically requires Amazon to reimburse Debtor the “estimated
  16   proceeds of the sale of that same item.” 317 The “estimated proceeds” is the amount of
  17   money that the Debtor would have received if someone had purchased the item.318
  18   Amazon considers several factors when determining the reimbursement amount, including
  19   “your sales history, the average FBA selling price on Amazon, the sales history of the
  20   specific ASIN.” 319 If there is not enough information to calculate the reimbursement
  21   amount for an item, Amazon uses default reimbursement values broken down by product
  22   category. 320
  23           Morones’ calculation of the Replacement Value looked at the Debtor’s sales
  24   history and the average FBA selling price on Amazon, both of which are factors Amazon
  25   315
           For example, testimony by Soder.
       316
           Bachand testified the Settlement Data portion of the Seller Central Data regularly rolled so that the initial
  26   Settlement Data presented to Debtor may not be accurate at a later date. See § VII(c)(4).
       317
           FBA Lost and Damaged Inventory Policy.
  27   318
           FBA Lost and Damaged Inventory Policy.
       319
           FBA Lost and Damaged Inventory Policy.
  28   320
           FBA Lost and Damaged Inventory Policy.

                                                              83

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                 Main Document Page 83 of 145
   1   uses to determine the reimbursement value. However, the FBA Lost and Damaged
   2   Inventory Reimbursement Policy is unclear whether the “average FBA selling price”
   3   refers to all products or the specific product that was lost or damaged. Morones used the
   4   average sales price of all Debtor products. The Court agrees with Morones’ approach
   5   concerning Replacement Value.
   6           In calculating the Replacement Value, Morones relied on the M15 Data and
   7   Settlement Reports. Morones stated the M15 Data may not be complete or accurate with
   8   respect to every Debtor unit because not all inventory records were maintained in the
   9   currently used data warehouse. 321 Amazon contends the M15 Data is the most complete
  10   set of data it could produce to account for units in the FBA Program.
  11           Relying on the Settlement Reports and M15 Data, Morones calculated the average
  12   gross unit sales price for all Debtor’s products sold to determine an average sales price of
  13   $22/unit. Morones then subtracted Amazon’s fees, costs, and other credits and charges to
  14   determine an average price of $5.69/unit paid to Amazon from sales of Debtor’s units.
  15   Finally, Morones arrives at the net average sales price to Debtor of $16.31. 322 Morones
  16   uses the net average sales price of $16.31 as the Replacement Value, which is the amount
  17   Amazon is required to pay the Debtor under the FBA Agreement. 323 Amazon does not
  18   meaningfully challenge these numbers.                  The Court finds these average figures are
  19   appropriate under the circumstances of this case. These numbers shall be applied by the
  20   Court to the units for which Amazon must pay the Plaintiff.
  21
  22                             b)       Cutoff Date of January 31, 2014
  23           In determining damages, Morones used a cutoff date of January 31, 2014 because
  24   the Trustee or his lawyers told her that was when the Parties’ business relationship
  25   321
           Morones’ Damages Report, ¶ 10. In concluding the M15 Data is incomplete or inaccurate, Morones relied on the
       deposition of Bachand, a FRCP Rule 30(b)(6) witness for Amazon, where she states Amazon did not keep reliable
  26   records regarding the exact purpose or amounts of reimbursements and that some of the data was backfilled from
       older data sources. Morones’ Damages Report, ¶ 51; Deposition of Bachand, pg. 92, lines 6-16, pg. 142, lines 6-12,
  27   pg. 145, line 23, pg. 147 line 12.
       322
           Morones Damages Report, ¶ 32 & Schedule 1b.
  28   323
           Ex. 1, § F-4.

                                                              84

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                           Desc
                                 Main Document Page 84 of 145
   1   terminated. 324 Amazon terminated the FBA Agreement with the Debtor by sending the
   2   Termination Letter. 325 At the end of the Termination Letter, there were instructions to the
   3   Debtor, which stated:
   4               Please create a Removal Order for your existing Fulfillment by
                   Amazon inventory as soon as possible. Under the FBA Service
   5               Terms, we may elect to dispose of these products at your expense if
   6               you do not submit a Removal Order within 90 days of the date your
                   account was terminated. Information on how to submit a Removal
   7               Order is located in the Create Removal Orders section of Seller
   8               Central.
   9           The 90-day period mentioned in the Termination Letter ended on January 20, 2014.
  10   The Trustee states an additional 11 days was given to Amazon to complete the requested
  11   removals the Debtor made through submission of the Removal Orders, allegedly making
  12   the cutoff date to determine damages January 31, 2014. 326
  13           The Trustee’s contention that the Termination Letter creates a cutoff date of
  14   January 31, 2014, is incorrect. The language of the Termination Letter explicitly states
  15   that the Debtor had to submit a Removal Order within 90 days, not that Amazon had 90
  16   days to complete the requested Removals. FBA Agreement, § F-7.2, states, “We may
  17   dispose of any Unit we are entitled to dispose of in the matter we prefer.” § F-7.1 of the
  18   FBA Agreement says, “We may return Units to you for any reason, including upon
  19   termination of these Service Terms.” Pursuant to the Termination Letter and the FBA
  20   Agreement, Amazon was under no obligation to complete the requested Removals within
  21   the 90-day period mentioned in the Termination Letter.
  22           In Williams’ Rebuttal Report, he states the data which Amazon produced shows
  23   that Amazon removed 19,890 units after January 31, 2014. 327 These units, and other
  24   transactions occurring after January 31, 2014, are omitted from Morones’ calculations and
  25   her Damages Report. Before the trial commenced, Morones’ January 31, 2014, inventory
  26
       324
           Morones’ Damages Report, pg. 19 n.37 & Schedule 1.
  27   325
           Termination Letter, Trustee’s Trial Exhibit 120.
       326
           DE 266, Trustee’s Motion for Summary Judgment, pg. 13.
  28   327
           Williams’ Rebuttal Report, ¶ 11.

                                                            85

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19         Desc
                                Main Document Page 85 of 145
   1   analysis end point was found by this Court to be improper because Amazon continued to
   2   return inventory to Debtor (or to destroy it as the case may be) well after January 31, 2014.
   3   Amazon proved to the Court’s satisfaction that 19,980 units were returned or destroyed
   4   after January 31, 2014. The Court finds that Amazon must be given credit at $16.31/unit
   5   for the 19,890 units Removed after January 31, 2014. That sum is to be applied against
   6   any inventory breach of Contract damages owed by Amazon to Debtor through January
   7   31, 2014. However, as noted below, the Court is not awarding Plaintiff breach of Contract
   8   inventory damages for time periods prior to February 1, 2014.
   9
  10                    4.       Amazon’s Contract Breach
  11           The Contract calls for Amazon to care for and keep track of inventory placed in its
  12   hands by Debtor. If Amazon fails to do so, it is in breach of the Contract and is liable to
  13   Plaintiff for unreimbursed damages. Debtor apparently never challenged Amazon’s
  14   accounting until the Trustee in December 2012 directed Bellino to make a demand for $1
  15   million of inventory received by Amazon but for which Debtor then claimed Amazon
  16   never paid for or returned to Debtor. 328
  17                             a)       The Settlement Data Was Not Introduced Into Evidence.
  18           It is worth mentioning a few items gleaned by this Court in reviewing Attachment
  19   C to Morones’ Damages Report. First, the Seller Central Data was produced from
  20   frequent, or perhaps daily, reports Amazon created and provided to Debtor over the eight-
  21   year course of their relationship. The Settlement Data was a subset of the Seller Central
  22   Data and included such information as sales of inventory, payments to Debtor, fees paid
  23   to Amazon, etc. This information was made available to Debtor via Amazon’s Seller
  24   Central website. Amazon did not preserve all the Seller Central Data 329 and the Trustee
  25   328
           However, Azzarelli testified that, prior to the Petition Date, Debtor did ask Amazon questions about Debtor’s
       perception that its inventory in Amazon’s hands was reported to be lower than Debtor thought it should be. See Ice
  26   Deposition, page 129, lines 1-18.
       329
            DE 378, Bachand’s testimony at p. 93:3-12; Trial Day February 19, 2021. Although the Trustee vehemently
  27   contends the Debtor and Trustee preserved the Seller Central Data, including the Settlement Data (see DE 396, p. 2,
       ll. 13-15), Williams’ Rebuttal Report notes Morones’ Report relied on Settlement Data in her damages analysis, yet
  28   her data had certain Data Gaps which Williams largely filled in with information retrieved from Amazon. (See Trial

                                                              86

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 86 of 145
   1   did not introduce it at trial. This Court finds nowhere in the Contract that Amazon was
   2   contractually bound to retain all the Seller Central Data. Had the Trustee introduced all
   3   the Settlement Data at trial it presumably could have fully and accurately identified at trial
   4   all elements of its claims against Amazon and with precision could have demonstrated the
   5   amount of damages it suffered due to Amazon’s alleged breach of the Contract. Instead,
   6   the Trustee’s discovery demands resulted in Amazon producing the M15 Data, a gigantic
   7   data dump which Amazon has confirmed to be “the most complete information known to
   8   be available to account for the Debtor’s units in the Fulfillment by Amazon Program.”
   9   However, all acknowledged that the M15 Data is not a complete set of the data once
  10   generated by the Seller Central Data. The M15 Data, while massive, is nevertheless
  11   incapable of fully explaining all the parties’ transactions or all of the damages allegedly
  12   suffered by Debtor. This is particularly true because the M15 Data does not include sales
  13   information. The Trustee knew or should have known of this information gap as it was
  14   spelled out in Amazon’s September 20, 2016 Discovery Response. 330 The Trustee’s
  15   counsel also apparently understood that the M15 Data did not include the Settlement Data
  16   and the Trustee would need to review Settlement Data to understand all sales
  17   transactions. 331 While this Court finds Amazon’s September 20, 2016 Discovery
  18   Responses adequately alerts the Trustee to the limitations of the M15 Data, Amazon
  19   further clarified the M15 Data’s limitations when it declared the “M15 [D]ata are the most
  20   complete information known to be available to account for [Debtor’s] ‘Lost
  21   Inventory’.” 332 Knowing the M15 Data did not account for the Settlement Data, the
  22   Trustee could have introduced the Settlement Data into evidence at trial. He did not. As a
  23   consequence, this Court cannot conclude what sales proceeds were paid to Debtor by
  24   Ex. 5, ¶¶ 19-20 and 49-51. See also § VI(D)(2) above.) The Court need not determine whether Debtor or the Trustee
       did preserve all this Settlement Central Data as it was never admitted into evidence at trial.
  25   330
           See DE 396, pp. 24-25 at n.55 where the Trustee quotes Ashworth’s deposition testimony where he said the M15
       Data “was described to us – to us being the trustee and his legal team – as the end-all, be-all record for those
  26   transactions [i.e. inventory transactions] . . . and so we had enough data as it was and we struck to the [M15 Data].
       The one area that we did not have any other format were the settlement records.” (Emphasis supplied.) “Settlement
  27   records’ are also known as Settlement Data.”
       331
           See Trial Ex. 118 at Bates page No. 118.0036.
  28   332
           DE 332, Joint Pretrial Statement, p. 7 of 122, ll. 1-2.

                                                               87

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                             Desc
                                 Main Document Page 87 of 145
   1   Amazon or what inventory units were transferred by Amazon to Debtor in lieu of cash
   2   payments.
   3           The Trustee takes Amazon to task by suggesting “Amazon refuses to respond to
   4   discovery directed to differences between M15 Data and Seller Central Data.” 333 Trustee
   5   cites to three portions of Bachand’s testimony in support of this proposition. 334 A close
   6   review of Bachand’s testimony, however, reveals that she was not refusing (on behalf of
   7   Amazon) to explain the differences between the M15 Data and Seller Central Data. Rather,
   8   she tried to explain to Trustee’s counsel that these documents exist for different reasons
   9   and that, in any event, Jeff Moore played a bigger role than her in Amazon’s
  10   September 20, 2016 Discovery Responses.
  11           The Trustee points to the FJC Manual for Complex Litigation which “advises that
  12   where complex computerized data is at issue, the [i]dentification of computerized data
  13   may lead to agreement on a single data base on which all expert and other witnesses will
  14   rely in their testimony.” 335 In this Court’s view, this is exactly what Amazon did to the
  15   extent possible. The M15 Data was admittedly the best data set available “to account for
  16   Debtor’s units” in Amazon’s hands “to account for [Debtor’s] ‘Lost Inventory.’” But the
  17   M15 Data did not (and apparently could not) also account for all sales transactions. That
  18   was available to all parties via the Settlement Data. Amazon complied with the spirit of
  19   the FJC’s Manual by agreeing the M15 Data, together with the Settlement Data, supplied
  20   the two data sets for the parties’ experts to rely upon in their Excel reports and expert
  21   testimony.
  22           The Trustee’s Comments to the Court’s Tentative Under Advisement Order 336
  23   warns that this Court would commit clear error if it were to find that the Debtor and
  24   Trustee failed to preserve the Seller Central Data. Trustee points to testimony from
  25
  26
       333
           DE 396, p. 28 of 71, § 5 Heading.
  27   334
           Id. at nn.56, 57 and 58.
       335
           DE 396, p. 25 of 71; see n.50 citing the Manual For Complex Litigation (Fourth) § 30.2 (2004).
  28   336
           DE 396.

                                                              88

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                           Desc
                                 Main Document Page 88 of 145
   1   Ashworth and contends the Debtor or Trustee did preserve the Seller Central Data 337 and
   2   then twice produced that information on two separate hard drives delivered to Amazon’s
   3   counsel. 338 It is, however, not at all clear to this Court that the Trustee, through Ashworth
   4   and/or Cathy Cameron, preserved all pertinent Settlement Data. Ashworth testified that he
   5   downloaded the Settlement Data in pieces and did so from 2013 to 2015. He accomplished
   6   these downloads directly from Amazon’s Seller Central and not from the Settlement Data
   7   earlier downloaded by Debtor’s employees. This is problematic because, as Bachand
   8   testified at trial:
   9                     Q. So has Amazon ever produced any data in this case that
  10
                         would be adequate to make those determinations?

  11                     A. No, I don’t think it exists.
  12
                         Q. It doesn’t – you don’t think it exists? Would that have been
  13                     Seller Central data?
  14
                         A. Both Seller Central and the underlying systems that Seller
  15                     Central pulls from, there are certain reports that are only
                         existing on a rolling basis. So, by the time the information was
  16
                         requested, they would have already not existed anymore and
  17                     those are what I would use to do some of the cross-checking.
  18   In other words, the sales data 339 initially input by Amazon into Seller Central to reveal the
  19   Settlement Data would not necessarily be the information that remained in Amazon’s
  20   computer system, even shortly after the initial input, much less years later when Ashworth
  21   downloaded the Settlement Data on his two hard drives. For this reason, it is not clear to
  22   this Court that the Trustee saved all the Settlement Data. More importantly, the Settlement
  23   Data the Trustee or Debtor did maintain and transmit to Amazon was not introduced into
  24   evidence at trial. This resulted in a failure of proof of the Trustee’s damages because no
  25   evidence of sales data (Settlement Data) was introduced at trial.
  26   337
           DE 332, Joint Pretrial Statement at ¶ 4, p. 53 of 122, ¶18, p. 58 of 133, and ¶ 37, pp. 73-4 of 122. See also DE
       396, pp. 8-21.
  27   338
           There was concern that one hard drive was corrupted so a second was sent to Amazon’s lawyers. Ashworth
       Deposition at 26:15 – 28:9. See also DE 396, n.46.
  28   339
           DE 378, p. 93, ll. 3-12. February 19, 2021, Trial Testimony by Bachand.

                                                               89

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 89 of 145
   1                            b)       Plaintiff’s Proven Inventory Damages.
   2            Morones’ Damages Report contends that, as of January 31, 2014, Debtor’s
   3   inventory should have contained 39,331 units for a Replacement Value of $641,521.
   4   Williams’ Rebuttal Report notes that January 31, 2014, is not the correct end date, that
   5   20,405 units were held by Amazon as of March 31, 2015 and, in any event, Morones
   6   misapplied inventory adjustment data so that either Amazon owed Debtor nothing or, at
   7   most, $137,516.
   8            Morones demonstrates that Amazon’s December 31, 2013, ending inventory
   9   cannot be correct because, when the January 2014 inventory transactions are factored in,
  10   it would leave Debtor with only 16,335 units in Amazon’s hands which, of course, cannot
  11   be true since Amazon later returned 19,980 units to Debtor. Moreover, the March 31,
  12   2015, M15 Data indicates Amazon held 20,405 units of Debtor’s inventory at that date.
  13            Most surprising of all, Exhibits 181 and 182 demonstrate that, after all Removals
  14   were effectuated by Amazon, as of March 31, 2015, Amazon’s M15 Data still indicated it
  15   held 20,405 units of Debtor’s product. Debtor had no access to the M15 Data until May
  16   2015 so it could not have known to ask Amazon for Removal of those 20,405 units and,
  17   of course, it was by then long out of business so it could not monetize those inventory
  18   units.
  19            No evidence was presented to indicate Amazon returned these retained units to
  20   Debtor or otherwise compensated Debtor for these units after March 31, 2015. Amazon
  21   contends that it indisputably reimbursed Debtor for over $300,000 and that these
  22   reimbursements should be applied against the 20,405 units held by Amazon as of March
  23   31, 2015. 340 None of Amazon’s reimbursements to Debtor occurred after March 31, 2015.
  24   Moreover, Amazon does not contend that Debtor owed it money as of March 31, 2015. 341
  25   While this Court (and the Trustee) recognizes that Amazon reimbursed Debtor over
  26   $300,000 over the course of the parties’ relationship, none of those reimbursements can
  27   340
          DE 397, pgs. 1-11.
       341
          Amazon’s set off and recoupment counterclaims were withdrawn in the Joint Pretrial Statement. See DE 332 at
  28   pg. 9 and DE 397 at pg. 5.

                                                            90

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                        Desc
                                Main Document Page 90 of 145
   1   be nor will they be applied to the damages sustained by Debtor due to Amazon retaining
   2   and not compensating Debtor for the 20,405 units held by Amazon as of March 31, 2015.
   3   Again, March 31, 2015, was nearly two years after this Adversary Proceeding
   4   commenced.
   5              The Court finds that Debtor’s “Ending Inventory” was 20,405 units. The Court
   6   rejects the Ending Inventory calculations of Morones and Williams for the reasons more
   7   fully discussed below. The Court further finds Amazon breached the Contract with
   8   respect to these units. The Court finds Plaintiff has proven his damage in the amount of
   9   the Replacement Value of 20,405 units. Amazon is liable to Debtor for $332,806. 342 By
  10   this ruling, the Court is not shifting the Amazon the burden of proving it reimbursed
  11   Debtor for units of inventory. The fact that Amazon held 20,405 units of Debtor’s
  12   inventory as of March 31, 2015, and the fact that all of Amazon’s reimbursements to
  13   Debtor occurred long before that date and the fact that Debtor owes no money to Amazon
  14   necessarily means Amazon owes Debtor for 20,405 units. The parties’ Contract compels
  15   this result.
  16              What Morones does not convince this Court of in her Declaration, or her testimony
  17   is why the Debtor’s damage amount should include the full $22/unit gross sales price.
  18   $5.69/unit is an amount which Debtor would not be entitled to if these units were fully
  19   paid for by a customer because Amazon would be entitled to receive the entire $5.69/unit.
  20   Under any scenario, at most, Debtor would be entitled to receive only its due, i.e.,
  21   $16.31/unit. In effect, Morones is encouraging the Court to punish Amazon by forfeiting
  22   its claim to fees and costs totaling $5.69 per unit of loss, damage, etc. While the Court
  23   assumes the Trustee would gladly accept such punishment damages, the Court has already
  24   denied Trustee’s claim for punitive damage. 343 Assessing Amazon for $5.69/unit would
  25   not be a measure of Debtor’s compensatory damages but, rather, a form of punitive
  26   damages. In any event, the Court was not supplied with evidence suggesting Amazon
  27
       342
             20,405 units x $16.31/unit.
  28   343
             See DE 91. See also DE 390 at 16.

                                                      91

Case 2:13-ap-00799-DPC             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19      Desc
                                   Main Document Page 91 of 145
   1   obtained any fees on units not sold. More specifically, the Court received no evidence
   2   indicating Amazon sold any of the 20,405 units or was paid a fee of 25% (or any amount)
   3   on any of these 20,405 units. The Court rejects Morones’ suggestion that Debtor’s
   4   inventory damages could or should be increased by $5.69/unit.
   5
   6                            c)       The Court’s Analysis of Codes Used by Amazon and the
   7   Impact on Claimed Damages.
   8           After discussing her Ending Inventory analysis, Morones’ Damages Report
   9   addresses the other three components of her damage calculations and then reduces overall
  10   damage by $305,611, the amount she finds Amazon Reimbursed back to Debtor. The
  11   Court now reviews these components of Morones’ damages calculations and discusses the
  12   flaws in her findings as well as flaws in Williams’ Rebuttal Report.
  13           Morones identifies three categories of Reimbursable Adjustments: Warehouse
  14   Damage Adjustments, Lost/Found Adjustments, and Mis-Received Adjustments. 344 Units
  15   in the Warehouse Damage Adjustments category were placed there by Morones when she
  16   saw Amazon’s application of Codes 5, 6, 7, D or E. 345 This methodology is faulty because,
  17   for example, a unit damaged by Amazon at its fulfillment center 346 will also likely be
  18   assigned another Code or two, like destroyed 347 or paid to Debtor.
  19
  20                                     (1)     Code M.
  21           Units in Morones’ Lost/Found category were placed there because she saw these
  22   units had an assigned Code of M (misplaced) or F (found). M and F Codes were offset
  23   against one another by Morones because M is a negative unit and F is a positive unit.
  24   Again, this methodology is defective because a unit marked M could later be found (F) or
  25   sold or destroyed (D), etc. A Code M unit would not necessarily be given a Code F when
  26   344
           Morones reviews a number of Amazon’s inventory codes but neither she nor Williams provided data indicating
       the number of units bearing a given assigned code to this Court.
  27   345
           See the Amazon Code descriptions at Exs. 2 and 147 which is also attached hereto as Attachment 3.
       346
           Code E.
  28   347
           Code D.

                                                            92

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                        Desc
                                Main Document Page 92 of 145
   1   it is found because it might be a unit whose useful life had expired and would therefore
   2   be destroyed (Code D) or sent back to Debtor or a found unit (F) could go straight to a
   3   sale and not first logged in as a Code F.
   4               Code M units cannot simply be offset by Code F units to determine Amazon’s net
   5   liability to Debtor. Trustee contends “… a unit given a Code M is no longer in the virtual
   6   inventory, so that unit can’t be given more codes.” 348 Trustee is incorrect. A Code M unit
   7   is still in the “virtual inventory” maintained by Amazon. It just is in the inventory roster
   8   as “missing.” When that “M” unit is found, it could, contrary to Trustee’s contention,349
   9   be given a different code (e.g., F (found), D (destroyed), O (transferred to another owner),
  10   N (reimbursed by a transfer to Debtor’s inventory from another owner, etc.). The tally for
  11   units coded M does not increase or decrease based on subsequent events. Once an M,
  12   always an M. But that M coded unit could be subject to a whole host of other coding
  13   events after the unit was first coded M. This is why Morones (and the Trustee) take too
  14   simplistic a view by saying one need only take Code M units (102,341 says Morones) and
  15   subtract Code F units (63,088) to get a damage suffered by Debtor in the amount of 39,253
  16   units.
  17               Trustee takes aim at Amazon for identifying theoretically possible double-counting
  18   scenarios without admitting into evidence any actual units which were double counted.
  19   However, the Court has been presented with evidence of units bearing many of the
  20   possible double-counting codes (Q, D, N, etc.). Trustee has not and cannot show all the
  21   codes ever attributed to a single unit because any given unit is not assigned a series of
  22   codes through the life of that unit. Rather, a Code M is given to a unit which Amazon
  23   realizes is missing but many codes could later be assigned to that particular unit as events
  24   give occasion for another code assignment. That is why each code has a gross number of
  25   units assigned that particular code. One cannot, as Trustee suggests, just say M minus F =
  26   the number of units for which Amazon is liable to Debtor and that we can ignore all other
  27
       348
             DE 396, p. 41, ll. 16-17.
  28   349
             Id., p. 40, ll. 15-17.

                                                        93

Case 2:13-ap-00799-DPC               Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19      Desc
                                     Main Document Page 93 of 145
   1   codes. We cannot ignore other codes because those net M minus F units (38,371) may
   2   well be assigned other codes after they receive an “M” coding.
   3            Amazon does not bear the burden of proving which “M” units received a
   4   subsequent code or codes. Trustee has the burden of proving its damages. Amazon does
   5   not bear the burden of proving Debtor was not damaged. Amazon is not, as Trustee
   6   maintains, “strictly liable” 350 for the difference between units coded M and F. Amazon
   7   has provided proof of a reasonable likelihood that a material number of “M” coded units
   8   could have subsequently been coded with one or more of a number of codes.
   9            The Court finds Amazon has demonstrated that it cannot be liable for the entirety
  10   of the missing units (M) which were later found (F) and therefore is not “strictly liable”
  11   to reimburse Debtor for these 38,371 units. 351 These multiple code designations cast a big
  12   shadow upon Morones’ Damages Report calculations.
  13
  14                                        (2)      Code D.
  15            As to Morones’ analysis of Mis-Received Adjustments, the Court notes a given
  16   unit can have several coding events while in Amazon’s possession. That unit could be
  17   booked as a Receipt, but later coded as mis-placed (Code M), then found (Code F), then
  18   damaged in Amazon’s fulfillment center (Code E), and finally Removed (i.e. sent back to
  19   Debtor or destroyed (Code D)). If the total amount of mis-placed inventory is added to
  20   the total number of units destroyed there will be some overlap. The extent of that overlap
  21   cannot be ascertained through the M15 Data.
  22
  23   350
          DE 396, p. 40 of 71, l. 1.
       351
          Trustee contends code N units are a “red herring” because the description of Code N was not applied to lost units
  24   and in any event were only 171 that would need to be netted against Code O units. Amazon hotly contests Trustee’s
       contention that “during the entire existence of Amazon’s relationship with [Debtor] Amazonly only transferred 171
  25   inventory units to [Debtor] as reimbursement for warehouse damaged and lost inventory.” (See Trustee’s Brief at
       DE 396, pp. 46 of 71, ll. 11-13). Amazon notes that the “reason those 171 units appear in the adjustments file (Code
  26   N) as well as the reimbursement file (Reimbursement Inventory Quantity) is because, as Bachand testified, Amazon
       in 2013 began transitioning its tracking process for unit reimbursements and Amazon accurately tracked these
  27   transactions in both data sets.” DE 398, p. 15 of 21, ll. 7-10. Even if the Trustee is right as to application of N, the
       netting of O against N and the de minimus number of units implied there are many other codes at play, not the least
  28   of which are units denoted with Codes D and Q.

                                                                 94

Case 2:13-ap-00799-DPC            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                               Desc
                                  Main Document Page 94 of 145
   1           Some coded data does not necessarily reveal who is responsible for the changed
   2   status of a given unit. A Code D (destroyed unit) could be Debtor’s loss (if, for example,
   3   it was destroyed because the unit was defective or expired and not removed but destroyed)
   4   or could be a loss for which Amazon is responsible (i.e., a unit damaged at Amazon’s
   5   warehouse). 352 While units coded D may be “the end of the line,”                    353
                                                                                                  that may not be the
   6   beginning of the line for that unit. For example, that D unit could also bear an earlier Code
   7   M (missing), F (found), H (damage via customer return), K (damaged as a result of item
   8   defect), U (damaged by merchant) or 6 (damaged by inbound carrier). Trustee has not
   9   carried his burden of proving the 17,924 354 units coded D must all (or even mostly) be
  10   paid for by Amazon.
  11           Morones did not account for Code N units. The M15 Data indicates there were
  12   16,585 Code N units. 355 The Court finds the flaws in Morones’ Damages Report calls into
  13   question the validity of her Reimbursable inventory adjustments and Unpaid Refund
  14   Reimbursements.
  15           Based on these problems with Morones’ analysis of these three “Reimbursable
  16   Adjustments,” the Court finds her damage calculations unreliable and unpersuasive. The
  17   Court finds Plaintiff has not sustained its burden of proving “Reimbursement Adjustment”
  18   damages by a preponderance of the evidence.
  19
  20                                      (3)      Code Q.
  21           Morones’ Damages Report does not mention Code Q related damages and her
  22   Declaration does not explicitly opine as to whether Code Q units, sellable or otherwise,
  23   are properly counted as damages to Debtor’s inventory. Although Trustee’s expert did not
  24   point to Debtor being entitled to damages based on units coded “Q,” her trial testimony
  25   352
           See DE 310, Williams’ December 21, 2020, Declaration at page 6, ¶ 16e which further discusses this scenario. s
       353
           DE 396, p. 46, l. 5.
  26   354
           See DE 396, pp. 45-48.
       355
           Williams’ Declaration at DE 310 also discussed Code 6 adjustments (damage by inbound carrier). Note that a
  27   Code 6 damage could be an Amazon responsibility (if Amazon’s carrier was used) or a Debtor responsibility (if a
       non-Amazon carrier was used). This further highlights the problem with using a given code to universally lay the
  28   damage responsibility on one party or the other.

                                                              95

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                           Desc
                                 Main Document Page 95 of 145
   1   did discuss Code Q damages and now the Trustee argues he is entitled to recover damages
   2   for unsellable 84,000 Code Q units. 356 A total of 150,092 to 166,279 units were given a
   3   Code Q designation. 357 From testimony by Bachand, Morones and Williams, the Court
   4   concludes Amazon heavily used Code Q as a dumping ground when an Amazon employee
   5   could not find anything else to do within a given unit. Over 40% of all units given a Code
   6   Q were assigned that code within one month, July 2013. 358
   7           Cross-examination of Morones demonstrated that Code Q units could also be
   8   designated as Code D (destroyed) or Code E (damaged at Amazon fulfillment center) and,
   9   therefore, would be valueless. This, therefore, calls into serious question whether the
  10   147,968 Code Q units referred to as “sellable” by Morones are indeed sellable. This Court
  11   rejects Trustee’s blanket demand that Amazon be held liable for any sellable units which
  12   have been given a Code Q designation. First, units given a Code Q will also be given
  13   other codes and are, in such cases, duplicative codes for the same unit. Bachand testified
  14   that all Code Q units will also be coded as D (destroyed), M (missing), 5 (stolen/theft) or
  15   would be removed to the seller. 359
  16           Bachand acknowledges that during Debtor’s eight-year relationship with Amazon,
  17   Code Q was poorly defined. 360 In the Inventory Adjustments section of Amazon’s Help
  18   section (part of Amazon’s “Program Policies” incorporated into the parties’ Contract,
  19   Code Q is identified as “damaged-miscellaneous” and is defined as “[a] decrease of your
  20   sellable inventory when damages cannot be attributed to a source.” 361 Trustee reads this
  21   to mean if there is a sellable unit that is given a Code Q, Amazon owes the Debtor for that
  22   unit because the Contract notes (and even Bachand and Williams agree) 362 that where
  23   Amazon cannot put their finger on who or what caused harm to Debtor’s units, Amazon
  24
       356
           DE 396, pp. 48-58.
  25   357
           DE 396, p. 49. See also DE 396 at p. 59, ll. 4-5.
       358
           DE 396, p. 59, l. 5. 67,920 ÷ 166,279.
  26   359
           Bachand Trial testimony (DE 364), February 18, 2021, p. 113, l. 3- p. 114, l. 14.
       360
           Id. at 116, l. 6.
  27   361
           Trial Exs. 2 and 147.
       362
           Bachand Trial testimony (DE 364), February 18, 2021; Williams’ Rebuttal Report, Ex. 5 at Bates page No. 5.0020,
  28   n.43.

                                                              96

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 96 of 145
   1   will be responsible for payment to Debtor. However, this Court is persuaded by Bachand’s
   2   testimony to the effect that, at all times, Amazon consistently managed Code Q units in a
   3   manner that would always result in at least one of four other codes being applied to a Code
   4   Q unit. Because all Code Q units ultimately had a different disposition (D, M, 5 or
   5   Removal), Code Q cannot be a reliable measure of damage to a unit for which Amazon is
   6   contractually liable to Debtor. Application of one or more of these four codes to a given
   7   unit may give rise to a damage claim but coding a unit with a “Q” cannot be relied upon
   8   as an accurate measure of Debtor’s damage, even if the unit remained sellable. This fact
   9   will affect the damage count. More importantly, Code Q is a code for which Amazon is
  10   not necessarily liable because all Code Q units also bear another code designation. 363 For
  11   example, Amazon contends 86 to 91% of the units coded Q were products with expiration
  12   dates suggesting that expired units may have initially been coded Q and later destroyed
  13   (D) or removed to the Debtor. 364 To grant the Trustee damages for all Code Q units, even
  14   just as to sellable units (assuming the number of “sellable units” could be accurately
  15   ascertained), would be contrary to the terms of the parties’ Contract. The Court finds
  16   Morones’ measure of Code Q damages at $2,413,470 365 is unpersuasive. The Court finds
  17   Plaintiff has not carried his burden of proof on this measure of Plaintiff’s inventory
  18   damages. The Court rejects Debtor’s claim that all sellable units bearing a Code Q should
  19   be paid to Plaintiff at the rate of $16.31/unit. 366
  20
  21                             d)       Unpaid Refunds.
  22           Morones next discusses damages identified as “Unpaid Refund Reimbursements.”
  23   When discussing her measure of “Unpaid Refund Reimbursements,” Morones’ cross-
  24
       363
           See Bachand testimony.
  25   364
           DE 398, p. 16 of 21, ll. 8-9. In this, Amazon cites to Trial Ex. 131.
       365
           147,974 x $16.31/unit.
  26   366
           Bachand contends Code Q signals a unit designation for which Amazon cannot be held responsible. The Court is
       not finding this to be so because Ice testified Code Q signified that the seller [Debtor] or Amazon or someone else
  27   could have caused damage to a unit assigned a Code Q. See Ice Deposition at page 129, lines 1-18. In any event,
       since Q units will later bear another code designation, Amazon may or may not ultimately be liable for damages
  28   pertinent to a Code Q unit.

                                                              97

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                 Main Document Page 97 of 145
   1   examination revealed that some (maybe many) purchase refunds were paid to customers
   2   because the products they received were defective, damaged, or expired. A customer
   3   would not necessarily return such units to Amazon and, if they did, the unit would be
   4   valueless to Debtor as it could not be resold. Therefore, Debtor would not be damaged by
   5   receiving no refund Reimbursement from Amazon in this instance. This calls into
   6   question the entire $186,247 367 of damages Morones tallied up as “Unpaid Refund
   7   Reimbursements.” The Court finds Plaintiff has not carried its burden of proof on the
   8   “Unpaid Refund Reimbursements” portion of his claimed inventory damages.
   9
  10                             e)      Sales Proceeds Not Remitted to Debtor.
  11           Morones’ final damage category is sales proceeds not remitted to Debtor. Sales
  12   proceeds not remitted are acknowledge by Morones as not totaling $1,156,495 as first
  13   reported by her if the Court finds the Data Gaps have been closed by data authenticated
  14   by Amazon. The Court finds Amazon did authenticate no less than 87% of the Data Gaps.
  15   Given this finding, Morones conceded her damage calculations attributable to sales
  16   proceeds not remitted to Debtor by Amazon total $172,851. 368 As to remaining $172,851
  17   identified by Morones as Sales Proceeds not remitted to Debtor, Williams contends
  18   reliance upon the M15 Data is misplaced because it does not address the financial
  19   transactions of the parties and that Morones has not provided reliable evidence as to how
  20   many units were lost or damaged or not otherwise accounted for in Ending Inventory or
  21   Code N adjustments. The Court agrees with Williams and finds Morones’ Damages
  22   Report does not reliably or sufficiently substantiate Plaintiff’s damages for sales proceeds
  23   unpaid to Debtor. Failing in his proof on this issue, the Court finds Plaintiff’s demand for
  24   damages of $172,851 for Sales Proceeds Not Remitted to the Debtor are not proven by a
  25   preponderance of the evidence.
  26
  27   367
           In any event, this $186,247 amount referenced in Morones’ Declaration corrects her Damages Report which said
       this amount of damages totaled $197,721 per ¶ 9 of Ex. 172 or $237,706 per ¶ 11 of Ex. 172.
  28   368
           Ex. 172, table at page 6.

                                                             98

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                          Desc
                                Main Document Page 98 of 145
   1                        f)     Trustee Did Not Carry Its Burden of Proof on the Basis of
   2   Amazon’s Motivation for Termination of the Contract.
   3          Through (1) testimony by Azzarelli to the effect that “lots” of Debtor’s inventory
   4   was unaccounted for by Amazon and (2) testimony by Shaffer to the effect that Debtor
   5   brought this discrepancy to Amazon’s attention and then found its access to the
   6   amazon.com platform was terminated, the Trustee suggests Amazon terminated the
   7   Contract because it was retaliating against Debtor. While the Trustee may well be justified
   8   in his suspicions, this Court finds Plaintiff did not prove by a preponderance of the
   9   evidence that Amazon’s termination was linked to the Debtor challenging Amazon’s
  10   inventory data or methods. This Court lifted the Bankruptcy Stay to enable Amazon’s
  11   termination because Amazon satisfied the Court that Debtor was in breach of the Contract
  12   in 2013. This finding was not contradicted by evidence at trial. The Court will not now
  13   find Amazon breached the Contract by basing its platform access termination upon
  14   Debtor’s challenge to Amazon’s accountings or inventory control methods.
  15
  16                        g)     Unclean Hands.
  17          In its Answer and through some of the evidence presented at trial, Amazon suggests
  18   Debtor has unclean hands and the Trustee should be denied recovery in this case due to
  19   Debtor’s allegedly unclean hands. For example, Amazon made much of the fact that the
  20   Trustee in December 2012 asked Bellino to make a $1 million demand on Amazon for
  21   claimed inventory shortages, but Bellino instead made a demand for $10.5 million. This
  22   Court’s decision does not stand on the veracity or character of Bellino so this Court makes
  23   no findings as to whether his testimony is credible or not. Neither does this Court find
  24   Amazon sustained its burden of proving its unclean hands defense.
  25
  26                        h)     Money Claimed Owing by Debtor to Amazon.
  27          To the extent Williams’ Rebuttal Report suggests the M15 Data and/or Settlement
  28   Data indicate Debtor owed Amazon anything as of March 31, 2015, this Court finds
                                                   99

Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                            Main Document Page 99 of 145
   1   Amazon withdrew its counterclaims including counterclaims for setoffs or recoupment.
   2   The data is confusing, yes, but it is also not as conclusive as Williams would have this
   3   Court find. Both the M15 Data and the Settlement Data are incomplete data sets. Even if
   4   Amazon did assert claims against Debtor, such claims could not be fairly ascertained by
   5   this Court from the data provided.
   6
   7                      5.       Conclusion on Breach of Contract Claims
   8              The Contract calls for Amazon to pay Debtor for lost, destroyed, and unaccounted
   9   for units. Amazon breached the Contract by failing to fully live up to this duty with respect
  10   to the 20,405 units of Debtor’s inventory in Amazon’s hands as of March 31, 2015.
  11   Amazon is liable for this Contract breach for damages in the amount of $332,806 plus
  12   interest at 12% from April 1, 2015, until paid. All other inventory related damages sought
  13   by Plaintiff are hereby denied as Plaintiff failed to sustain his burden of proof with respect
  14   to such additional claimed damages. To the extent Morones recognized and Williams
  15   confirms that Amazon reimbursed Debtor through the course of their relationship
  16   ($305,611 says Morones), this Court finds those Reimbursements were fully accounted
  17   for long before March 31, 2015, through the morass of coded data supplied in the Seller
  18   Central Data (including the Settlement Data) and are offset by all but the remaining 20,405
  19   units. In other words, Amazon’s Reimbursements to Debtor cannot now be offset against
  20   or recouped from the $332,806 damages awarded in this Order.
  21
  22              D.      Prejudgment Interest on Damages
  23              The Trustee seeks $2,261,347 in prejudgment interest. 369 Under Washington law,
  24   if a Plaintiff is entitled to pre-judgment interest, that interest accrues at the rate of 12% per
  25   annum simple (not compounded) interest. Morones was instructed by the Trustee to apply
  26   prejudgment interest to the inventory damages at 12% simple interest. 370 Prejudgment
  27
       369
             Morones Expert Report, Schedule 1.
  28   370
             Morones Expert Report, ¶ 54.

                                                       100

Case 2:13-ap-00799-DPC             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19          Desc
                                  Main Document Page 100 of 145
   1   interest was calculated from January 11, 2011, the mid-point of the Debtor’s involvement
   2   in the FBA Program, 371 through May 10, 2019, the date of Morones Damages Report. 372
   3
   4                            a)       Legal Analysis
   5           When addressing the question of Plaintiff’s claim to pre-judgment interest this
   6   Court must look to Washington law. Washington courts generally favor prejudgment
   7   interest based on the premise that a party that retains money it should have paid to another
   8   should be charged interest. 373 Awarding pre-judgment interest compels a party that
   9   wrongfully holds money to disgorge the benefit. 374 It may be safely said that the tendency
  10   has been in favor of allowing interest rather than against it, and that the degree of certainty
  11   or ease with which the approximate amount can be ascertained has grown less and less
  12   stringent. 375
  13           Prejudgment interest can be awarded if the claim upon which recovery is based is
  14   “liquidated.” 376 A claim is “liquidated” where the evidence furnishes data which, if
  15   believed, makes it possible to compute the amount with exactness, without reliance on
  16   opinion or discretion. 377 The rationale for this rule is that it would be unfair to hold a
  17   defendant accountable for interest on an amount that is unquantifiable and unforeseeable
  18   prior to a jury verdict. 378
  19           A claim is unliquidated if the factfinder must exercise discretion to determine the
  20   measure of damages. 379 The fact that an amount is disputed does not render the amount
  21
  22   371
           Morones assumed a beginning date of January 1, 2008, and an end date of January 31, 2014. Morones Expert
       Report, ¶ 54.
  23   372
           Morones Expert Report, ¶ 54.
       373
           Rekhter, 323 P.3d at 1050 (quoting Pierce County v. State, 185 P.3d 594 (Wash. Ct. App. 2008)).
  24   374
           Rekhter, 323 P.3d at 1050 (quoting Mahler v. Szucs, 957 P.2d 632 (Wash. 1998)).
       375
           Rekhter, 323 P.3d at 1050 (quoting Prier v. Refrigeration Eng'g Co., 442 P.2d 621 (Wash. 1968)).
  25   376
           Car Wash Enters., Inc. v. Kampanos, 874 P.2d 868, 875 (Wash. Ct. App. 1994) (citing Hansen v. Rothaus, 730
       P.2d 662 (Wash. 1986)). See also OTR Wheel Engineering, Inc. v. West Worldwide Services, Inc., 743 F.App’x 771
  26   (2018) (9th Cir. Memorandum Decision).
       377
           King Cy. v. Puget Sound Power & Light Co., 852 P.2d 313, 315 (Wash. Ct. App. 1993) (citing Prier v.
  27   Refrigeration Eng’g Co., 442 P.2d 621 (Wash. 1968), review denied, 863 P.2d 1352 (Wash. 1993)).
       378
           Rekhter v. State, Dep't of Soc. & Health Servs., 323 P.3d 1036, 1047 (Wash. 2014).
  28   379
           Aker Verdal A/S v. Lampson, Inc., 828 P.2d 610 (Wash. Ct. App. 1992).

                                                           101

Case 2:13-ap-00799-DPC          Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                        Desc
                               Main Document Page 101 of 145
   1   unliquidated. 380 A claim may be liquidated even if a dispute exists over all or part of the
   2   claim. 381 It is the character of the original claim, rather than the court's ultimate method
   3   for awarding damages, that determines whether prejudgment interest is allowable. 382
   4            The 20,405 units held by Amazon on March 31, 2015, appear to be a matter of fact
   5   not in dispute between the parties yet Morones did not focus on this amount as she was of
   6   the belief that Plaintiff’s damages were much larger and could be ascertained from a
   7   different view of the data. Williams, on the other hand, mentions these 20,405 units more
   8   to demonstrate Morones’ assumptions and methodology were faulty as opposed to
   9   conceding Amazon must pay Plaintiff for these units. The complexity of the data, the
  10   shortcomings in the data and the hot contest over what the data could and could not prove
  11   are all givens in this case. That said, the M15 Data demonstrated that 20,405 units of
  12   Debtor’s inventory were held by Amazon as of March 31, 2015. Plaintiff’s inventory
  13   damages of $332,806 were liquidated damages upon which Plaintiff shall be awarded
  14   prejudgment interest. Plaintiff’s prejudgment interest on its $332,806 damage award shall
  15   run from April 1, 2015, at the rate of 12% (Washington statutory rate), until paid.
  16
  17
  18
  19
       380
           Bishop v. Baublits, No. 53142-9-II, 2021 WL 876939, at *3 (Wash. Ct. App. Mar. 9, 2021) (citing Forbes v.
  20   American Bldg. Maintenance Co. West, 240 P.3d 790 (Wash. 2010)).
       381
           25 DAVID K. DEWOLF ET AL., WASHINGTON PRACTICE SERIES, CONTRACT LAW AND PRACTICE § 14:14 (3d ed.
  21   2020) (citing Spradlin Rock Products, Inc. v. Public Utility Dist. No. 1 of Grays Harbor County, 266 P.3d 229 (Wash.
       Ct. App. 2011) (sufficient evidence supported contractor's claim for lost profits resulting from public utility district's
  22   alleged breach of contract); Forbes v. American Bldg. Maintenance Co. West, 198 P.3d 1042 (Wash. Ct. App. 2009),
       judgment aff'd in part, rev'd in part on other grounds, 240 P.3d 790 (Wash. 2010) (trial court properly awarded
  23   prejudgment interest on attorney's fees claim even though parties disputed method of calculation); Polygon
       Northwest Co. v. American Nat. Fire Ins. Co., 189 P.3d 777 (Wash. Ct. App. 2008) (trial court properly applied
  24   prejudgment interest to equitable indemnity claim for settlement even though formula for allocation was
       disputed); Bostain v. Food Exp., Inc., 153 P.3d 846 (Wash. 2007) (trial court properly awarded prejudgment interest
  25   on claim for overtime wages wrongly withheld); Scoccolo Const., Inc. ex rel. Curb One, Inc. v. City of Renton, 145
       P.3d 371 (Wash. 2006) (claim was liquidated even though defendant successfully challenged portions of plaintiff's
  26   damage claim); Aker Verdal A/S v. Neil F. Lampson, Inc., 828 P.2d 610 (Wash. Ct. App. 1992); Pederson's Fryer
       Farms, Inc. v. Transamerica Ins. Co., 922 P.2d 126 (Wash. Ct. App. 1996) (since the character of the underlying
  27   claim—in this case the cost of pollution cleanup—was liquidated, prejudgment interest was appropriate)).
       382
           Spradlin Rock Products, Inc. v. Public Utility Dist. No. 1 of Grays Harbor County, 266 P.3d 229 (Wash. Ct. App.
  28   2011) (citing Prier v. Refrigeration Eng’g Co., 442 P.2d 621 (Wash. 1968), rev. den’d, 863 P.2d 1352 (Wash. 1993)).

                                                                 102

Case 2:13-ap-00799-DPC             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                Desc
                                  Main Document Page 102 of 145
   1                              b)       Conclusion on Prejudgment Interest
   2            Plaintiff’s inventory damages awarded by this Court were liquidated as of March
   3   31, 2015. The Trustee previously stipulated to his damages being approximate 383 and that
   4   Plaintiff’s evidence is admittedly not precise. 384 Nevertheless, this Court has fixed
   5   Plaintiff’s inventory damages at $332,806 based on the unaccounted-for inventory of
   6   20,405 units. This amount was quantified and foreseeable before trial. The Court finds
   7   Plaintiff’s inventory damages of $332,806 were liquidated so Plaintiff is entitled to
   8   prejudgment interest on such amounts from April 1, 2015, at 12% simple interest per
   9   annum.
  10
  11   VIII. SUMMARY OF CONCLUSIONS
  12            This Adversary Proceeding concerns the Trustee’s claims against Amazon (1) for
  13   breach of the Contract and turnover of the damages owed by Amazon and (2) for stay
  14   violation damages. Amazon’s stay violation itself was ascertained by the Court long
  15   before trial so the trial was simply a matter of trying Plaintiff’s claimed damages. The
  16   Court rejects Amazon’s efforts to contain the stay violation damages to the 15 days when
  17   Amazon was violating the Bankruptcy Stay. Amazon’s harm to Debtor reverberated
  18   throughout Debtor’s business right until the day its business was effectively obliterated
  19   by Amazon’s ultimately lawful termination of Debtor’s access to amazon.com. While the
  20   Court agrees with Morones view that the stay violation damages continued through
  21   October 22, 2013, the Court disagrees that Debtor’s correct financial baseline was
  22   established between November 2012 and March 2013 or that Debtor’s sales could be fairly
  23
  24   383
           DE 370, Trustee’s Brief on Burden of Proof, pg. 7, lines 21-22, “The trustee met his burden of proof with
       admissible evidence showing at least the approximate amount of missing or damaged inventory.” (Emphasis added).
  25   See also pg. 6, lines 11-13, “The Court should thus place the burden on Amazon to prove the precise amount of
       inventory that was lost, damaged or destroyed, and if Amazon can’t do so, then the Court should accept the trustee’s
  26   evidence of damages, even if it’s only approximate.”
       384
           DE 370, pg. 3, line 27, pg. 4, lines 1-4, “Although [Debtor] has presented admissible evidence from which
  27   damages can be quantified, the evidence is admittedly neither perfect nor precise. Sometimes evidence seems in
       conflict, the effect of some facts remains unclear, and some facts simply don’t ‘add up,’ both literally and
  28   metaphorically.”

                                                              103

Case 2:13-ap-00799-DPC           Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                            Desc
                                Main Document Page 103 of 145
   1   projected to grow after April 2013. The Court awards Plaintiff stay violation damages of
   2   $668,484 plus interest from the entry of this Court’s judgment, until paid.
   3            Plaintiff’s inventory damage claims were handicapped by inadequacies in both the
   4   M15 Data and available Seller Central Data or Settlement Data. Plaintiff blames Amazon
   5   for not providing all the data from which damages could be fully and clearly established.
   6   However, the Trustee did not introduce at trial all the Seller Central Data which Debtor
   7   had been supplied by Amazon over the course of this eight-year relationship or even the
   8   Settlement Data which reflected sales transactions concerning Debtor’s inventory.
   9   Plaintiff contends all this data was preserved by Plaintiff, yet it was not introduced into
  10   evidence. Moreover, Plaintiff has not shown this Court that Amazon had a duty to
  11   preserve what unquestionably would be a colossal data set, especially where that data was
  12   not questioned by Plaintiff until years into their business relationship. The burden of proof
  13   on Amazon’s Contract breach and the burden of proving Plaintiff’s damages will not be
  14   shifted to Amazon. Plaintiff was required to prove by a preponderance of the evidence
  15   both Amazon’s breach and Plaintiff’s resulting damages.
  16            At the end of the day this Court finds that, despite the game efforts of his damages
  17   expert Morones, Plaintiff failed to prove by a preponderance of the evidence that Amazon
  18   breached the parties’ Contract beyond Amazon’s failure to compensate Plaintiff for the
  19   20,405 units held by Amazon as of March 31, 2015. Since Plaintiff’s breach of Contract
  20   claims and damages were liquidated as of March 31, 2015, Plaintiff is entitled to
  21   prejudgment interest on Plaintiff’s inventory damages of $332,806 at 12% per annum
  22   from April 1, 2015, until paid.
  23
  24   IX.      ORDER
  25            Plaintiff’s attorneys are directed to lodge a form of judgment consistent with this
  26   Order.
  27
  28

                                                    104

Case 2:13-ap-00799-DPC        Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                             Main Document Page 104 of 145
                                     Attachment 1

                                       Definitions
 The following terms either have been defined by the parties in this litigation or are
 described in the manner in which they are used in the Court’s Under Advisement Order:
 ABSA: Amazon Services Business Solutions Agreement. The ABSA is also referenced
 as the FBA Agreement.
 Admin. DE: Docket entries in the Debtor’s bankruptcy filed with the District of Arizona
 at Case NO. 2:11-bk-28944-DPC.
 Adversary Proceeding: Case No. 2:13-ap-00799-DPC filed in the chapter 11
 bankruptcy of the Debtor.
 Adjustments: Inventory record changes by Amazon when an event impacted Debtor’s
 inventory in Amazon’s hands.
 Adjustment Codes: Codes that describe inventory events impacting a seller’s inventory
 account, such as damaged, missing, found, and transferred. See Trial Ex. 2.
 Affirmative Expert Report: Serena Morones’ Affirmative Expert Report dated May 10,
 2019.
 AFTT: Amazon Fulfillment Technology Team.
 Aged Inventory: Inventory that has not been sold within 90 days.
 Amazon: Amazon Services, LLC
 Amazon’s September 20, 2016 Discovery Response: See Trial Ex. 118, in particular at
 Bates No. 118.0036.
 Answer: The Amended Answer filed by Amazon at DE 5 in response to Plaintiff’s
 Complaint.
 Ashworth: Stephen Ashworth, a consulting expert witness employed by the Trustee.
 ASIN: Amazon Standard Identification Number.
 ASIN Merge: The combination of two or more ASIN’s.
 Azzarelli: Thomas Azzarelli, Debtor’s one-time Chief Financial Officer.
 Bachand: Tasha Bachand, an Amazon employee.
 Bankruptcy Case or Bankruptcy Proceeding: Debtor’s administrative bankruptcy
 proceeding, 2:11-bk-28944-DPC.
 Bankruptcy Code: U.S. Bankruptcy Code, 11 U.S.C. §§ 101-1532.


                                          1
Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19        Desc
                           Main Document Page 105 of 145
                                        Attachment 1

 Bellino: Daniel A. Bellino, a founder of Debtor.
 Code 1: Indicates software correction of inventory discrepancies.
 Code 2: Indicates software correction of inventory discrepancies.
 Code 3: Indicates product redefinition and transfer in from original inventory item.
 Code 4: Indicates product redefinition and transfer out to new inventory item.
 Code 5: Indicates unrecoverable inventory.
 Code 6: Indicates unit damaged by inbound carrier.
 Code D: Indicates unit is destroyed.
 Code E: Indicates unit is damaged at Amazon fulfillment center.
 Code F: Indicates unit is found.
 Code H: Indicates unit is damaged - customer return.
 Code J: Indicates software correction of inventory discrepancies.
 Code K: Indicates unit is damaged as result of item defect.
 Code M: Indicates unit is misplaced.
 Code N: Indicates receipt of unit from another owner.
 Code O: Indicates transfer of unit to another owner.
 Code P: Indicates unsellable inventory.
 Code Q: Signifies damage – miscellaneous.
 Code U: Indicates unit damaged by merchant.
 Code X: Indicates correction for inbound shipment receiving discrepancies.
 Complaint: Plaintiff’s Complaint filed in the Adversary Proceeding on July 9, 2013.
 Cone: Jeffrey Cone, a consulting expert witness employed by the Trustee.
 Contract: Ex. 2. The Merchants@Amazon.com Program Agreement and the Amazon
 Services Business Solutions Agreement collectively referred to as the Contract.
 Creditors Committee: Official Committee of Unsecured Creditors appointed by the
 United States Trustee on November 9, 2011.
 Cutoff Date: January 31, 2014—the date after which Morones disregarded M15 Data at
 the direction of the Trustee’s counsel.


                                          2
Case 2:13-ap-00799-DPC      Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19            Desc
                           Main Document Page 106 of 145
                                      Attachment 1

 CSV: Comma Separated Values.
 DAB: An alternative name of the Debtor. The initials of David A. Bellino.
 Data Gaps: Time periods within the Settlement Reports produced by the Trustee where
 no Debtor activity was included. The identified gaps are at least six 48-hour periods that
 occurred in January and March 2010.
 DE: Docket entry in the Adversary Proceeding.
 Debtor: Potential Dynamix, LLC
 Deep Dive: See testimony of Justin Ice at page 61 of the Order.
 Defendant: Amazon Services, LLC
 Dewberry: Dustin Dewberry, an Amazon employee.
 Disclosure Statement: The Disclosure Statement filed at Admin. DE 219.
 Dot Missing SKU: Debtor incorrectly formatted SKUs and there were “dot missing
 SKUs.” A “Dot Missing SKU” happened when Amazon would just choose a SKU for
 inventory it received if it did not know which SKU it belonged to.
 Ex.: Trial Exhibits.
 Expected Ending Inventory: The Debtor’s inventory expected to be remaining in
 Amazon’s possession at the end of the Debtor’s relationship with Amazon.
 FBA: Fulfillment By Amazon, which is an Amazon service in which Debtor paid
 Amazon to receive its inventory and pick, pack, ship, and provide customer service for
 that inventory.
 FBA Agreement: Also known as the ABSA.
 FBA Program: Amazon’s Fulfillment by Amazon Program
 First Motion in Limine: Trustee’s Motion in Limine to Preclude the Admission of
 “Deep Dive” Documents into Evidence.
 FJC: The Federal Judicial Center.
 Flores: Diana Flores, an Amazon employee.
 FNSKU: Fulfillment Network Stock Keeping Unit.
 Ice: Justin Ice, a former employee of Amazon.
 Joint Pretrial Statement: Joint Pretrial Statement: DE 332.



                                           3
Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19           Desc
                            Main Document Page 107 of 145
                                      Attachment 1

 Lawcock: Sean Lawcock, Debtor’s former inventory manager.
 Limitations Clause: ¶ 8, page 5 of 28, of the Contract (Ex. 1).
 Lost/Found Adjustment: As used in Morones’ Damages Report this term represents
 inventory identified in the M15 Data as misplaced (Code M) or found (Code F).
 M15 Data: Inventory transaction data that Amazon produced in May 2015. Amazon
 described the M15 Data as follows: “Amazon has made reasonable efforts to identify and
 produce in the May 2015 Production transaction-level data for the Debtor’s Units in the
 Fulfillment By Amazon Program but ... the files may not be complete or accurate with
 respect to every Debtor Unit. The May 2015 Production consists of multiple data streams
 compiled across multiple Amazon teams and also likely includes some erroneous entries
 as a result of employee transcription error. During the period in which the Debtor was
 selling its products through Amazon’s website, not all inventory in the currently used
 data warehouse. There may be incomplete information in the May 2015 Production from
 transcribing older inventory tracking resources to the currently used system. Nonetheless,
 the May 2015 Production is the most complete information known to be available to
 account for the Debtor’s Units in the Fulfillment By Amazon Program.”
 May 2015 Data Production: Also known as M15 Data.
 Merchant Program: Amazon Merchant Fulfilled Network
 Moore: Jeff Moore, an Amazon employee.
 Morones: Serena Morones, Plaintiff’s damages expert.
 Morones’ Damages Report: Ex. 7, Serena Morones’ Affirmative Expert Report dated
 May 10, 2019.
 Morones Declaration: Ex. 172.
 Net Average Price per Unit: The unit price Morones developed and applied in her
 report, defined as follows: “I calculated the average gross unit sales price for all PD
 products sold, and then subtracted Amazon’s fees, costs, and other credits and charges, to
 arrive at the net average sales price of $16.31.”
 Net Sales: Customer Sales, less Customer Returns.
 OMX: An Amazon inventory tracking system. See Reilly’s deposition testimony.
 Order: The Under Advisement Order of this Court entered at DE __.
 Payment Report: See Settlement Data, Settlement Report and Settlement Record.
 Peeples: Josh Peeples, an employee of Debtor.


                                           4
Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19          Desc
                            Main Document Page 108 of 145
                                       Attachment 1

 Petition Date: October 13, 2011.
 Plaintiff: Timothy H. Shaffer, Chapter 11 Trustee for Debtor.
 Plan: Joint Plan of Reorganization filed at Admin. DE 217.
 Reason Codes: A letter or number assigned to identify Adjustments. For example, Code
 “M” represents a missing inventory unit, and Code “F” represents a found inventory unit.
 Receipt: Inventory units shipped from Debtor to Amazon and received into Amazon’s
 fulfillment centers. A Receipt increases Debtor’s inventory balance.
 Refund Reimbursements: Payments or inventory transfers to compensate Debtor for
 certain customer Returns. If a customer initiates a Return but does not return the full item
 or if Amazon is responsible for the reason generating the return, Amazon issues a refund
 reimbursement.
 Reilly: Thomas Reilly, Debtor’s former Chief Operating Officer.
 Reimbursements: Compensation provided by Amazon to Debtor, either in the form of
 payment or inventory replacement from Amazon.
 Removed or Removal: At Debtor’s request, the act of Amazon either sending inventory
 units back to Debtor or destroying inventory units (typically so that Debtor does not have
 to pay shipping or long-term storage fees). Debtor may choose to have certain Removals
 automated and they may manually request Removals. Removals decrease Debtor’s
 inventory balance.
 Return: The reversal of a customer sale, upon the request of a refund by a customer.
 Returns increase Debtor’s inventory balance.
 Sales: Inventory units shipped by Amazon to a customer after that customer purchases
 the inventory from Debtor. Sales reduce Debtor’s inventory balance.
 Sales Proceeds Not Remitted: Net proceeds from a sale by the Debtor that Morones
 asserted had not been remitted to the Debtor.
 Schmidt: Matthew Schmidt, a co-founder of Debtor.
 Second Motion in Limine: Amazon’s Motion in Limine to Exclude Unpleaded and
 Untimely Claims and Damages Theories
 Seller Central: A web-based interface displaying for sellers inventory reports and
 information about their participation in the FBA program.
 Seller Central Data: The information disseminated on Seller Central is referred to as the
 Seller Central Data. The Trustee notes this is a “very broad term that encompasses many


                                           5
Case 2:13-ap-00799-DPC       Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19            Desc
                            Main Document Page 109 of 145
                                              Attachment 1

 reports Amazon made available to FBA Sellers through the Seller Central portal to track
 and management [sic] their inventory.” 1 Settlement Data is but one of the reports
 contained in the Seller Central Data.
 Settlement Data: The information disseminated on Seller Central reflecting “payments
 to FBA Sellers.” 2 The Trustee appears to use the term “Settlement Data” interchangeably
 with “Settlement Report,” Settlement Record” and “Payment Report.” 3
 Settlement Records: See Settlement Data.
 Settlement Reports: See Settlement Data.
 Shacklock: Susan Shacklock, Debtor’s accounting manager.
 SKU: Stock-Keeping Units.
 Soder: Eric Soder, a former Amazon employee.
 State Court: Arizona Superior Court, Maricopa County
 Termination Date: October 22, 2013.
 Third Motion in Limine: Amazon’s Motion in Limine to Exclude the Testimony of
 Expert Serena Morones
 Trustee: Timothy H. Shaffer, Chapter 11 Trustee of Debtor.
 UST: United States Trustee
 Unaccounted Inventory: Debtor’s inventory which Amazon has not accounted to
 Debtor.
 Unpaid Refund Reimbursements: Referenced reimbursements due Debtor but which
 have not been paid by Amazon or for which Amazon has not transferred product to
 Debtor.
 VHD: Virtual hard drives.
 Warehouse Damage Adjustments: As used in the Morones’ Damages Report, this term
 represents inventory identified in the M15 Data as damaged pursuant to the following
 reason codes: 5, 6, 7, D or E.
 Williams: E. Weiant Williams, Amazon’s rebuttal expert.
 Williams’ Rebuttal Report: Trial Ex. 5, dated September 14, 2020.

 1
   DE 396, p. 5, n.14.
 2
   DE 396, p. 5, n.14.
 3
   See DE 396, p. 17: 1-3 and ns.38 and 39.


                                                  6
Case 2:13-ap-00799-DPC              Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                                   Main Document Page 110 of 145
                                                                  Attachment 2

Admitted   No.        Joint Exhibits           Bates/Identifier
                 FBA Agreement
02/16/21    1                                PD005574
                 ("ASBSA")
02/16/21         DAB Inventory
            2    Adjustments from            AMAZON0008429
                 Seller Central
02/16/21         Email from Diana
                 Flores to Seat L et al re   AMAZON0002551-
           3     Inventory                   0002552
                 Reconciliation
02/16/21
                 Email from Diana Flores
            4    to Sean L dated March AMAZON0002585
                 28, 2013 re Inv
                 Reconciliation

                 Rebuttal Report of E.
02/16/21    5                                N/A
                 Weiant Williams
02/16/21         Merchants@Amazon.
            6    com Program                 N/A
                 Agreement
                 Morones 5/10/19
02/16/21    7                                N/A
                 Expert Report
                 12/7/10 Lawcock             AMZ DABP
02/16/21    8
                 Email Re: 404 SKUs          00154608 / DX 159
02/16/21         3/1/19 Schian Email
                 Re: Pot Dynamix Ch. 11
           9     Disclosure                  DX 189
                 Statement
02/16/21
                 4/2/13 Flores Email Re:
           10    Inv Reconciliation -        AMAZON0002593
                 Update - DAB

02/16/21
                 4/15/13 Seller Central      SHAFFER0287 / DX
           11
                 Case Details Report         182

02/16/21
                 5/7/13 Bellino Email Re:
           12    Another Graph            DX 155
                 Restricted Product




     Case 2:13-ap-00799-DPC                            Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                                                      Main Document Page 111 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 112 of 145
                                                                                   Attachment 2

02/16/21   151   Internet Archive Wayback Machine                            Foundation. FRE 602.     The Trustee has not authenticated the "Internet
                                                           N/A
                 capture of FBA Lost and Damaged                             Authenticity. FRE 901.   Archive" document or disclosed a trial witness who can
                 Inventory Reimbursement Policy dated                        Hearsay. FRE 801, 802.   do so. He also has not designated a trial witness who can
                 March 5, 2013                                                                        provide a proper foundation for the document. This
                                                                                                      document is an out of court statement from the Internet
                                                                                                      Archive and, as such, it is inadmissible hearsay.

02/19/21   154   Amazon diagram of FBA reimbursement N/A                     Foundation. FRE 602.     The document contains a graphic whose source is             Moved to Trustee's list from
                                                                             Authenticity. FRE 901.   unknown. It is also cumulative of portions of other         Joint List per Amazon's
                                                                             Cumulative. FRE 403.     documents the Trustee seeks to admit.                       request
02/16/21   156   Email from Diana Flores to Cynthia         AMAZON0002499-   No objection.                                                                        Moved to Trustee's list from
                 Williams dated March 6, 2013 re            0002502                                                                                               Joint List per Amazon's
                 February 21st meeting                                                                                                                            request
02/16/21   157   Email from Diana Flores to Riley Althauser AMAZON0003737-   No objection.                                                                        Moved to Trustee's list from
                 & Kunal Kande re DAB Analysis - Feb 2013 0003738                                                                                                 Joint List per Amazon's
                 (includes attachment)                                                                                                                            request

02/16/21   160   Monthly Operating Reports from Nov        N/A               Incomplete. FRE 106.     Object to the extent the Trustee attempts to use the        Moved to Trustee's list from
                 2012 to Oct 2013                                            Relevance. FRE 401.      operating reports to prove the amounts of fees the          Joint List per Amazon's
                                                                                                      Debtor paid; the Trustee has not properly pleaded or        request
                                                                                                      disclosed claims for the disgorgement of fees paid by the
                                                                                                      Debtor. Under the rule of completeness, the Trustee
                                                                                                      must submit the entire period of monthly operating
                                                                                                      reports that Ms. Morones considered (beginning in
                                                                                                      October 2011).
02/16/21   161   Settlement data files                     N/A               Relevance. FRE 401.      The Trustee has relied on the settlement reports as         Moved to Trustee's list from
02/18/21                                                                                              evidence of damage for the Trustee's unpleaded and          Joint List per Amazon's
                                                                                                      untimely claims/damages theories. The reports are           request
                                                                                                      irrelevant because all evidence related to the Trustee's
                                                                                                      unpleaded and untimely claims must be excluded.

02/16/21   163                                             Amazon0008731     No objection.                                                                        Moved to Trustee's list from
                 Email between Gowey and Engdahl dated
                                                                                                                                                                  Joint List per Amazon's
                 May 6, 2013
                                                                                                                                                                  request
02/16/21   166   Email from Diana Flores to Diana Flores   AMAZON0000555     No objection.                                                                        Moved to Trustee's list from
                 dated May 13, 2011 re DAB – James                                                                                                                Joint List per Amazon's
                 Thomson input                                                                                                                                    request
02/16/21   167                                             AMAZON0001366     No objection.
                 Email from Diana Flores to Sean Lawcock                                                                                                          Moved to Trustee's list from
                 dated October 17, 2011 re Missing                                                                                                                Joint List per Amazon's
                 Inventory for DAB Unlimited                                                                                                                      request
02/16/21   168                                             AMAZON0008770     Relevance. FRE 401.      Aside from the reference to DAB, this document           Moved to Trustee's list from
                 Email from Brandon Haskell to Patrick
                                                                                                      describes future potential changes to FBA reconciliation Joint List per Amazon's
                 Gowey dated January 28, 2013 re FBA
                                                                                                      and reimbursement requests. It is irrelevant to the      request
                 Reconciliation Case/RMS Processing -
                                                                                                      Debtor's requests or any other issues at trial.
                 Seller Support and FBA Credit Ops Sync




           Case 2:13-ap-00799-DPC                                 Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                                      Desc
                                                                 Main Document Page 113 of 145
                                                                                Attachment 2

02/16/21   169   Email from Patrick Gowey to Paholrat      AMAZON0008771   No objection.                                                                             Moved to Trustee's list from
                 Nopsittiporn dated January 28, 2013 re                                                                                                              Joint List per Amazon's
                 DAB Unlimited                                                                                                                                       request
02/16/21   170   Email from Catia Monteiro to Diana        AMAZON0002574   No objection.                                                                             Moved to Trustee's list from
                 Flores dated March 27, 2013 re DAB                                                                                                                  Joint List per Amazon's
                 Unlimited (809441551) Reconciliation                                                                                                                request
                 Cases
02/16/21   171   FBA "Inventory Reports" document          AMAZON0008438   No objection.                                                                             Moved to Trustee's list from
                                                                                                                                                                     Joint List per Amazon's
                                                                                                                                                                     request
02/16/21   172   Declaration of Serena Morones             N/A             Improper new and undisclosed The declaration contains new and undisclosed testimony
                                                                           expert testimony. FRCP         from Ms. Morones that must be excluded because it
                                                                           26(a)(2). Cumulative. FRE 403. does not comply with Federal Rule of Civil Procedure
                                                                                                          26(a)(2). It is also not a proper supplementation of Ms.
                                                                                                          Morones' testimony under Federal Rule of Civil
                                                                                                          Procedure 26(a)(2)(E). Amazon is unclear whether this is
                                                                                                          a different declaration than the one that Ms. Morones
                                                                                                          submitted to the Court on November 20, 2020, and that
                                                                                                          Amazon understands the Trustee is planning to submit as
                                                                                                          an exhibit. To the extent it is the same declaration,
                                                                                                          Amazon objects that it is unnecessarily cumulative. To
                                                                                                          the extent this declaration is a new document, Amazon
                                                                                                          reserves the right to lodge any applicable objections
                                                                                                          once it receives the document.




02/16/21   178   Graph of PD’s post-termination removal    N/A
                 requests
02/16/21   179   Graph of Inventory in M15 not shown in    N/A
                 Seller Central
02/16/21   180   Table of post-1/31/14 removals of         N/A
                 inventory not shown in M15
02/16/21   181   Graph of post-1/31/14 removals of         N/A
                 inventory not shown in M15
02/16/21   182   Table of February 2014 to March 2015      N/A
                 inventory transactions
02/16/21   183   Table of aged requests in February 2014   N/A
                 removals




           Case 2:13-ap-00799-DPC                                 Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                                         Desc
                                                                 Main Document Page 114 of 145
                                                                                   Attachment 2


Admitted    No.             Amazon Exhibits                    Bates/Identifier           Trustee Objection   Description of Trustee Objection     Note

02/16/21   201    07/09/13 Complaint                      DX 171                     No objection
02/16/21   202    Morones Invoices                        PD008443                   No objection
02/19/21   203    12/14/10 Reilly Email Re: Listing Errors AMZ_DABP_00154436 /DX 188 Relevance. FRE 401.

02/19/21   204    1/13/11 Soder Email Re: 404 SKU's       AMZ_DABP_00155332 /DX 189 Relevance. FRE 401.

02/19/21   205    1/14/11 Azzarelli Email Re: Further Sku AMZ_DABP_00155315 /DX 110 Relevance. FRE 401.
                  Miscreation
02/19/21   206    1/21/11 Reilly Email Re: missing SKUs AMZ_DABP_00155871 /DX 190 Relevance. FRE 401.

02/19/21   207    7/15/11 Reilly Email Re:                AMZ DABP 00152661 / DX     Relevance. FRE 401.
                                                          191
02/19/21   210    5/8/12 Lawcock Email Re: Case           DX 135                     Relevance. FRE 401.
                  58103781
02/19/21   211    8/14/12 Bellino Email Re: Important: DX 145                        Relevance. FRE 401.
                  Fulfillment by Amazon Defective Units


02/19/21   212    8/22/12 Bellino Email Re: Your          DX 146                     Relevance. FRE 401.
                  Amazon.com Inventory
02/19/21   213    9/6/12 Bellino Email Re: Your           DX 147                     Relevance. FRE 401.
                  Amazon.com Inventory
02/19/21   214    12/10/12 Bellino Email Re: Full Audit   AMZ_DABP_00191117 / DX     Relevance. FRE 401.
                  Amazon                                  179
02/19/21   215    FBA Inventory Overview 2008, 2009,      AMZ_DABP_00191118 / DX     Relevance. FRE 401.
                  2010, 2011 Spreadsheet PDF              180


02/16/21   216    12/15/12 Shaffer Email Re: Full         DX 181                     No objection
                  Amazon Audit
02/19/21   217    12/20/12 Lawcock Email Re: 2012         AMZ_DABP_00191420 / DX     Relevance. FRE 401.
                  Audit Up to December 18th               165
                  Added to Case 80244611
02/19/21   218    1/2/13 Lawcock Email Re: DAB            AMZ_DABP_00007958 /DX 162 Relevance. FRE 401.
                  Update 2013
02/16/21   219    1/22/13 Bellino Email Re: Remittance    AMZ_DABP_00175343          No objection
                  Advice for 1/9 and 1/10


02/16/21   220    2/12/13 Meeting with Amazon Agenda DX 154                          No objection
                  and Emails




           Case 2:13-ap-00799-DPC                             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                   Desc
                                                             Main Document Page 115 of 145
                                                                                  Attachment 2

02/19/21   221   2/13/13 DAB Email Re: Important:      DX 137                       Relevance. FRE 401.
                 Fulfillment by Amazon Defective Units


02/19/21   222   3/12/13 Disclosure Statement           DX 140                      Relevance. FRE 401.


02/19/21   223   3/13/13 Lawcock Email Re: FBA          AMZ_DABP_ 00190463 /DX    Relevance. FRE 401.
                 Inventory Summaries                    177
02/19/21   224   FBA Inventory Overview 2008, 2009,     AMZ_DABP_00190464/ DX 178 Relevance. FRE 401.
                 2010, 2011 Spreadsheet PDF


02/19/21   226   4/23/13 Bellino Email Re: Revenues,    AMZ DABP 00195389 / DX 130 Relevance. FRE 401.
                 Actual and Projected, Feb - Apr 2013


02/19/21   227   Revenues 2013 Spreadsheet PDF          DX 131                      Relevance. FRE 401.


02/16/21   228   4/23/13 Azzarelli Email Re: Revenues, AMZ DABP 00195392 / DX 132 Relevance. FRE 401.
                 Actual and Projected, Feb - Apr 2013


02/19/21   229   5/7/13 Notice of Filing Chapter 11     SHAFFER0013 / DX 6 / DX 143 Relevance. FRE 401.
                 Trustee's Report
02/19/21   230   7/9/13 Azzarelli Email Re: Aged        DX 121                      Relevance. FRE 401.
                 Inventory Project Summer Clean


02/16/21   233   4/14/17 Trustee Response to Amazon N/A                             No objection
                 Second Discovery Requests

02/19/21   234   3/13/18 Cone Retention Letter          N/A                         Relevance. FRE 401.


02/19/21   240   8/10/18 Goldberg Email Re: Monthly     Shaffer19002100             Relevance. FRE 401.
                 Operating Reports for Stay Violation
                 Damages

02/19/21   243   5/9/19 Ashworth Email Re: Settlement PD008304 / DX 201             Relevance. FRE 401.
                 Report Question
02/18/21   245   Auto Unsellable Removal Setting      N/A                           Relevance. FRE 401.
                 Screenshot                                                         Foundation. FRE 602. FRE 408.
                                                                                    Authenticity. FRE 901.


02/17/21   247   Settlement Report Txt File             AMAZON00010990              Foundation. FRE 602. Failure to
                                                                                    disclose. FRCP 26(a).




           Case 2:13-ap-00799-DPC                              Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19       Desc
                                                              Main Document Page 116 of 145
                                                                          Attachment 2

02/17/21   248   Settlement Report Txt File             AMAZON00010992     Foundation. FRE 602. Failure to
                                                                           disclose. FRCP 26(a).


02/17/21   249   Settlement Report Txt File             AMAZON00010991     Foundation. FRE 602. Failure to
                                                                           disclose. FRCP 26(a).


02/17/21   250   Settlement Report Txt File             AMAZON00010993     Foundation. FRE 602. Failure to
                                                                           disclose. FRCP 26(a).

02/17/21   251   Settlement Report Txt File             AMAZON00010994     Foundation. FRE 602. Failure to
                                                                           disclose. FRCP 26(a).


02/17/21   252   Settlement Report Txt File            AMAZON00010995      No objection
02/16/21   253   Settlement Reports Screenshot Exhibit DX 202              Foundation. FRE 602. Failure to
                                                                           disclose. FRCP 26(a).

02/16/21   259   Trial Declaration of E. Weiant Williams N/A               Objections reserved

02/19/21   261   ACQAIAI Inventory Adjustment Item      Williams DX 20     Foundation. FRE 602.
                 Document                                                  Authenticity. FRE 901.
02/19/21   262   Declaration of Ershad Junaid           N/A

02/18/21   263   Maximum Units Exhibit                  N/A

02/19/21   264   Revised Morones Compounding Errors N/A
                 Exhibit




           Case 2:13-ap-00799-DPC                               Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                                                               Main Document Page 117 of 145
                                 Attachment 3




Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 118 of 145
                                 Attachment 3




Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 119 of 145
                                 Attachment 3




Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 120 of 145
                                        Attachment 3




          Case 2:13-ap-00799-DPC   Doc 267-14 Filed 11/20/20 Entered 11/20/20 16:18:46
                                   Desc Exhibit 14 Page 2 of 5

                                                                                         TRUSTEES Exh 147
                                                                                                        7.0001




Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19               Desc
                          Main Document Page 121 of 145
                                        Attachment 3




          Case 2:13-ap-00799-DPC   Doc 267-14 Filed 11/20/20 Entered 11/20/20 16:18:46
                                   Desc Exhibit 14 Page 3 of 5

                                                                                         TRUSTEES
                                                                                                S Exh
                                                                                                    h 147
                                                                                                        7.0002




Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19               Desc
                          Main Document Page 122 of 145
                                        Attachment 3




          Case 2:13-ap-00799-DPC   Doc 267-14 Filed 11/20/20 Entered 11/20/20 16:18:46
                                   Desc Exhibit 14 Page 4 of 5

                                                                                         TRUSTEES
                                                                                                S Exh
                                                                                                    h 147
                                                                                                        7.0003




Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19               Desc
                          Main Document Page 123 of 145
                                        Attachment 3




          Case 2:13-ap-00799-DPC   Doc 267-14 Filed 11/20/20 Entered 11/20/20 16:18:46
                                   Desc Exhibit 14 Page 5 of 5

                                                                                         TRUSTEES
                                                                                                S Exh
                                                                                                    h 147
                                                                                                        7.0004




Case 2:13-ap-00799-DPC     Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19               Desc
                          Main Document Page 124 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 125 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 126 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 127 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 128 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 129 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 130 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 131 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 132 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 133 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 134 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 135 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 136 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 137 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 138 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 139 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 140 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 141 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 142 of 145
Case 2:13-ap-00799-DPC    Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19   Desc
                         Main Document Page 143 of 145
                                                                            Attachment ϳ

         Stabilized Income July 2012 to March 2012 1

                          1                         2              3               4              5                      6                            7

                                                                                                         Actual Average 2   Actual Average 3
                                                         4              5              6               7
                                                Jul-12         Aug-12          Sep-12         Oct-12   Nov 2012 - Mar 2013 Jul 2012 - Mar 2013
         Actual/Expected Revenues              1,329,453      1,476,511       1,431,951      1,260,914            1,591,877            1,495,357
         Less: Cost of Sales                   1,180,939      1,317,276       1,268,872      1,117,129            1,404,622            1,323,036
         Gross Total                             148,514        159,235         163,079        143,785              187,256              172,321

         Less: Outside Labor                      11,117           6,218         13,489          6,428                        23,812                       17,701
         Less: Outside Fulfillment 8                   0               0              0              0                         4,368                        2,427
         Less: Outside Supplies                    6,771           5,687          3,770          6,051                         4,596                        5,029
         Contribution Margin                     130,626         147,330        145,820        131,306                       154,480                      147,165

         Contribution Margin %                                                                                                   9.7%                         9.8%




1 A version of this chart is found at Exhibit 10 to Williams’ Rebuttal Report (Ex. 5).
2 See Ex. 7, Table 6A.
3 These totals reflect (Columns 2+3+4+5 ÷ 4 months) + (Column 6 x 5 months) ÷ 9 months. This column also reflects the numbers from Exhibit 10 to Williams’ Rebuttal Report

(Ex. 5).
4 DE 179.
5 DE 180.
6 DE 198.
7 DE 199.
8 Unlike Debtor’s Monthly Operating Reports (“MOR’s”) for November 2012 through March 2013, Debtor’s July 2012 through October 2012 MOR’s do not contain an expense

line item for “Outside Fulfillment.” See Table 6 to Morones’ Damages Report (Ex. 7).




    Case 2:13-ap-00799-DPC                               Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                                       Desc
                                                        Main Document Page 144 of 145
                                                                            Attachment ϴ

    Stay Violation 2013
               1                          2                   3              4              5          6          7           8          9
                                                         Expected       Expected         Expected   Expected   Expected    Expected   Expected     Total
                                 Actual Average1          Losses         Losses           Losses     Losses     Losses      Losses     Losses    Damages 2
                                 Jul 2012 - Mar
                                 2013                      Apr-13        May-13           Jun-13     Jul-13    Aug-13       Sep-13     Oct-13
    Actual/Expected
    Revenues                             1,495,357 1,495,357 1,495,357 1,495,357 1,495,357                     1,495,357 1,495,357 1,495,357
    Less: Cost of Sales                  1,323,036 1,323,036 1,323,036 1,323,036 1,323,036                     1,323,036 1,323,036 1,323,036
    Gross Total                            172,321   172,321   172,321   172,321   172,321                       172,321   172,321   172,321

    Less: Outside Labor                       17,701         17,701         17,701         17,701     17,701      17,701     17,701     17,701
    Less: Outside
    Fulfillment                               2,427          2,427          2,427           2,427      2,427       2,427      2,427      2,427
    Less: Outside Supplies                    5,029          5,029          5,029           5,029      5,029       5,029      5,029      5,029
    Contribution Margin                     147,165        147,165        147,165         147,165    147,165     147,165    147,165    147,165

    Contribution Margin %                       9.8%

    Less: Actual Margin                                      99,668         78,989         50,784     14,783     134,254    -39,016    -28,910
    Total Lost Profits                                       47,497         68,176         96,381    132,382      12,911    186,181   124,9563    668,484




1 See Attachment 3. See also Ex. 5, Williams Rebuttal Report and his Exhibit 10.
2 The sum of lost profits from Columns 3 through 9.
3 Pro-rated lost profits calculated $176,075 divided by (22 days ÷ 31 days) = $124,956




     Case 2:13-ap-00799-DPC                             Doc 402 Filed 07/18/22 Entered 07/18/22 15:00:19                                         Desc
                                                       Main Document Page 145 of 145
